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                       Nos. 21-1355, -1356, -1390, -1391


                UNITED STATES COURT OF APPEALS
                   FOR THE FEDERAL CIRCUIT


                                  APPLE INC.,

                                                Appellant,

                                       v.

                           MPH TECHNOLOGIES OY,

                                                Cross-Appellant.


  Appeals from the United States Patent and Trademark Office, Patent Trial and
               Appeal Board, Case Nos. IPR2019-00819, -00820


                      APPLE INC.’S OPENING BRIEF


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MAY 21, 2021
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                     U.S. Patent No. 7,620,810 Claims 1 and 7

1. A method for ensuring secure forwarding of 7. A method for ensuring secure forwarding of
    a message in a telecommunication              a message in a telecommunication
    network, having at least one mobile           network, having at least one mobile
    terminal and another terminal and a           terminal and another terminal and a
    security gateway therebetween, the method     security gateway therebetween, the method
    comprising:                                   comprising:

   a)    establishing a secure connection         a)    establishing a secure connection
        between a first address of the mobile          between a first address of the mobile
        terminal and an address of the security        terminal and an address of the security
        gateway, the secure connection defined         gateway,
        by at least the addresses of the mobile
        terminal and the security gateway,        the secure connection defined by at least
                                                      the addresses of the mobile terminal
   b) the mobile terminal changing from the           and the security gateway,
       first address to a second address,
                                                  b) the mobile terminal moving from the
   c) while at the second address, the mobile         first address to a second address,
       terminal sending a request message to
       the address of the security gateway to     c) while at the second address, the mobile
       request the security gateway to change         terminal sending a request message to
       the secure connection to be defined            the address of the security gateway to
       between the second address and the             request the security gateway to change
       address of the security gateway,               the secure connection to be defined
                                                      between the second address and the
   in response to the request message from the        address of the security gateway,
       mobile terminal, the security gateway
       changing an address definition of the      the security gateway changing an address
       secure connection from the first               definition of the secure connection
       address to the second address, the             from the first address to the second
       mobile terminal sending a secure               address, and
       message in the secure connection from
       the second address of the mobile           the other terminal sending a secure
       terminal to the other terminal via the        message in the secure connection to the
       security gateway,                             second address of the mobile terminal
                                                     via the security gateway.
   the secure connection being established by
       forming a Security Association (SA)
       using IPSec protocols, and the request
       message and/or a reply message being
       encrypted and/or authenticated by
       using the same SA already established.
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                   U.S. Patent No. 7,937,581 Claims 1 and 4-8

1. A method for ensuring secure forwarding of 4. The method of claim 1, wherein the request
    a message in a telecommunication              message and/or a reply message is
    network, having at least one mobile           encrypted and/or authenticated.
    terminal and another terminal and a
    security gateway therebetween, the method 5. The method of claim 1 wherein the method
    comprising:                                   further comprises the security gateway
                                                  sending back a reply message to the mobile
    a) establishing a secure connection having    terminal at the second address to confirm
        a first address of the mobile terminal as the address change.
        a first end-point and a gateway address
        of the security gateway as a second 6. The method of claim 5, wherein the mobile
        end-point,                                terminal and the other terminal form an
                                                  end-to-end connection whereby the securre
    b) the mobile terminal changing from the      connection is an IPSec transport
        first address to a second address,        connection or IPSec tunnel connection.

   c) while at the second address, the mobile 7. The method of claim 5, wherein a tunneling
       terminal sending a request message to      protocol is used for the secure connection
       the gateway address of the security        between the mobile terminal and the
       gateway to request the security            security gateway.
       gateway to change the secure
       connection to be defined between the 8. The method of claim 5, wherein the other
       second address and the gateway             terminal is a mobile terminal.
       address of the security gateway,

   in response to the request message from the
       mobile terminal, the security gateway
       changing an address definition of the
       secure connection from the first
       address to the second address, and

   the mobile terminal sending a secure
      message in the secure connection from
      the second address of the mobile
      terminal to the other terminal via the
      security gateway.
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                        CERTIFICATE OF INTEREST

Counsel for Apple Inc. certify under Federal Circuit Rule 47.4 that the following
information is accurate and complete to the best of their knowledge:

1.    Represented Entities. Provide the full names of all entities represented by
undersigned counsel in this case.

Apple Inc.

2.     Real Party in Interest. Provide the full names of all real parties in interest
for the entities. Do not list the real parties if they are the same as the entities.

None.

3.     Parent Corporations and Stockholders. Provide the full names of all parent
corporations for the entities and all publicly held companies that own 10% or more
stock in the entities.

None.

4.    Legal Representatives. List all law firms, partners, and associates that (a)
appeared for the entities in the originating court or agency or (b) are expected to
appear in this court for the entities. Do not include those who have already entered
an appearance in this court.

STERNE, KESSLER, GOLDSTEIN & FOX P.L.L.C.: Michael D. Specht, Daniel S. Block,
Timothy L. Tang.

5.     Related Cases. Provide the case titles and numbers of any case known to be
pending in this court or any other court or agency that will directly affect or be
directly affected by this court’s decision in the pending appeal. Do not include the
originating case number(s) for this case.

MPH Technologies Oy v. Apple Inc., No. 4:18-cv-05935-PJH (N.D. Cal.)

6.    Organizational Victims and Bankruptcy Cases. Provide any information
required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases) and
26.1(c) (bankruptcy case debtors and trustees).

Not applicable.

Dated: May 21, 2021                                  /s/ Joseph R. Palmore
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                     STATEMENT OF RELATED CASES
      No appeal from these proceedings on U.S. Patent Nos. 7,620,810

(’810 patent) and 7,937,581 (’581 patent) owned by MPH Technologies Oy has

previously been before this Court or any other court. MPH has asserted claims of

the same patents in MPH Technologies Oy v. Apple Inc., No. 4:18-cv-05935-PJH

(N.D. Cal.). Counsel for Apple know of no other case pending in this Court or any

other court that will directly affect or be affected by this Court’s decision in these

appeals.

                       JURISDICTIONAL STATEMENT
      The Patent Trial and Appeal Board had jurisdiction over these inter partes

reviews under 35 U.S.C. §§ 6(b)(4) and 311. The Board issued its final written

decisions under 35 U.S.C. § 318 on September 24, 2020. Apple timely filed notices

of appeal from each decision on November 23, 2020. 21-1355, ECF No. 1; 21-1356,

ECF No. 1. This Court has jurisdiction under 35 U.S.C. § 141 and 28 U.S.C.

§ 1295(a)(4)(A).




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                                 INTRODUCTION
      The Board’s decisions violated basic claim construction principles that require

reversal on claims 1-6 of the ’810 patent and claim 4 of the ’581 patent. Both patents

address securing mobile communications. Their claims cover sending a request

message “encrypted” with common internet security protocols. The Board misread

that text to exclude encrypted messages with unencrypted outer header address

information—information that must be unencrypted to route messages through the

internet. Not surprisingly, no evidence, intrinsic or extrinsic, supports reading the

claims to require encrypting such information. Instead, the patents contradict the

Board’s construction because they make clear that every internet communication

must include such unencrypted address information to allow routing messages from

sender to receiver. And MPH’s own expert testimony shows that, like the address

information on a letter, the outer header address information must be unencrypted

for routing, even if the contents of the message (or the letter) are encrypted. It thus

is no surprise that the patents refer to messages as encrypted even though address

information is unencrypted.

      The Board committed this error of its own volition. No party argued that the

claims required encrypting a message’s outer header address information. MPH

instead primarily focused on other issues or wrongly argued no part of the alleged

request message was encrypted—a proposition the Board rejected. Because the
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Board decided to go its own way without notice or an adequate opportunity to

respond, at least a remand is required on these claims.

      Reversal or a remand is also required on ’581 patent claims 6-8 given another

simple error. Those claims each recite a single limitation and depend from claim 5,

which the Board found unpatentable for obviousness. Apple showed why each

added limitation of claims 6-8 provided no independent basis for patentability over

claim 5. MPH mostly responded by pointing only to the shared limitations of

claim 5. Given that MPH hardly defended claims 6-8 based on the limitations those

dependent claims add, the Board’s finding that claim 5 was unpatentable should have

required it to hold claims 6-8 unpatentable as well. After all, this Court has

repeatedly explained that whether a dependent claim survives a parent’s invalidation

turns on the limitations added by the dependent claim.

      Yet the Board never even addressed the limitations added by claims 6-8. It

upheld those claims based only on the limitations those claims share with claim 5—

even though it found claim 5 unpatentable in the very same order. The Board said

it was compelled to do so because of how Apple grouped claims in its petition—

Apple grouped claims 6 and 7 as part of Ground 1, claim 8 as part of Ground 3, and

parent claim 5 as part of Ground 2. The Board thought that grouping meant Apple

had to show independently that the shared limitations of claim 5 were unpatentable




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under Grounds 1 and 3 rather than rely on its showing from Ground 2. Nothing in

this Court’s precedent, the Board’s rules, or logic required such rote repetition.

      The Board’s decisions should be reversed or at least vacated.

                            STATEMENT OF ISSUES
      1.       Whether to reverse or at least vacate and remand the Board’s holding

of nonobviousness on claims 1-6 of the ’810 patent and claim 4 of the ’581 patent

because of the Board’s claim construction error, adopted without notice or

opportunity to respond.

      2.       Whether to reverse or at least vacate and remand the Board’s

nonobviousness holding on claims 6-8 of the ’810 patent because the Board upheld

those claims based solely on parent claim 5, which it had found unpatentable for

obviousness.

                           STATEMENT OF THE CASE

      After MPH sued Apple alleging infringement of the ’810 and ’581 patents,

Apple petitioned for inter partes reviews of all claims of those patents. Appx2-3;

Appx59-60. The Board instituted reviews and found claim 7 of the ’810 patent and

claims 1-3, 5, and 9 of the ’581 patent unpatentable. Appx54-55; Appx125. But the




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Board refused to hold similarly that claims 1-6 of the ’810 patent and claims 4 and

6-8 of the ’581 patent are also unpatentable. Appx54-55; Appx125.1

      A.     Before Either Patent’s Filing, The Prior Art Adopted
             Straightforward Solutions For Securing Mobile Communications

      Long before MPH’s patents, those of ordinary skill in the field of secure

internet communications recognized that mobile devices posed a potential challenge.

Appx830-833, Appx809-897. Ordinary artisans knew that initiating a new secure

connection over the internet can involve significant computational overhead and

delay. Appx830-833. That made it inefficient for a mobile device—such as a laptop

that changes from one network to another with a different network address each

time—to have to repeat that process every time it changed networks. Appx830-833;

Appx1347, Appx1345-1358. The prior art thus developed several straightforward

solutions to that problem.

      Secure internet communications themselves were nothing new at the time.

Appx821-822. The industry had developed detailed protocols, like the IP Security

(IPSec) protocol, to “provide[] the capability to secure communications between

arbitrary hosts” across networks. Appx134 (col.1:57-58); Appx825. For example,




      1
        The ’581 patent issued on a continuation of the application that led to the
’810 patent and shares a written description with that patent. Appx140. Unless
noted, this brief cites only the ’810 patent when discussing the shared description.



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the prior-art reference Murakawa2 describes the common use of IPSec to create a

“Virtual Private Network (VPN)” to “allow a personal computer outside a local area

network (LAN) to” communicate securely with computers within the local area

network:




Appx1267, Appx1272 (markup added); Appx843. In this common configuration, a

mobile “terminal,” like computer 101, communicates with terminals on the local

area network, like computers 106 and 107, using secure VPN connection 108 and

security gateway 103. Appx1272, Appx1276 (col.1:23-col.2:42); Appx843-844.

The mobile terminal and security gateway exchange information to create one or

more “Security Association[s] (SA[s])” for engaging in secure communications.


      2
          U.S. Patent No. 7,028,337 to Murakawa. Appx1267-1280.


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Appx1276 (col.1:23-col.2:42); Appx821-822. Using the security associations, the

mobile terminal can, for example, send an encrypted communication to security

gateway 103 that is intended for computer 106; security gateway 103 will likewise

use a security association to process and decrypt the communication before

forwarding to computer 106. Appx1276 (col.1:23-col.2:42); Appx826-828.

      The well-known challenge for mobile devices was that IPSec protocols were

based on computers having fixed IP addresses—the addresses used for routing

information through the internet.     Appx821.     The information in the security

associations that allowed computers to communicate securely was tied to “static

addresses.” Appx821-822, Appx826; Appx135 (col.4:47-58). As a result, when a

mobile device changed addresses, such as upon moving networks, previous security

associations tied to a prior address would no longer work. Appx830-831. Resuming

secure communications could require “full re-negotiation” of security association

information,   “lead[ing]   to   inefficiencies   and    computationally      expensive

calculations.” Appx831.

      Prior-art reference Ahonen3 discloses one solution to that problem. Ahonen

describes pre-creating multiple security associations between, for example, a mobile



      3
        U.S. Patent No. 6,976,177 to Ahonen. Appx1281-1292. This Ahonen is
different from the Ahonen international patent application at issue in companion
appeal No. 21-1387.


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device and a security gateway. Appx1287-1290 (col.3:57-col.9:5); Appx832-833.

When the mobile device changes networks, it communicates its new IP address to

the security gateway. Appx1290 (col.9:6-col.10:20). The security gateway, in turn,

modifies as needed a pre-created security association to register an active secure

connection based on the mobile device’s new IP address. Appx1290 (col.9:6-

col.10:20); Appx832-833; Appx2329-2331 (176:3-178:18).

      Several other prior-art references describe a different solution that reuses a

single security association (or a single pair of security associations) when a mobile

devices changes addresses.      Appx833-834; Appx1247-1266.          Ishiyama,4 for

example, discloses a “mobile communication scheme” that “enables easy change of

a connected location of a mobile computer on the IP network when the mobile

computer leaves its home network.” Appx1247 (abstract). If a mobile device

changes network locations after establishing a secure connection with a

“correspondent host,” the mobile device can “notify[] a change of the current

location address of the mobile computer.” Appx1257-1258 (col.2:48-col.3:14).

Annotated Figure 4 from Ishiyama depicts this setup below:




      4
          U.S. Patent No. 6,904,466 to Ishiyama and Inoue. Appx1247-1266.


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Appx1250 (markup added).

      When a mobile device like mobile computer 2 moves, it sends a “[r]equest for

changing the security association to the correspondent,” also called a “SA Gateway

Update.” Appx1262 (col.11:39-40); Appx834-841. The request identifies the

mobile device’s new address (shown as CoA2 in yellow) and is itself encrypted and

transmitted using the existing secure connection.       Appx1260-1261 (col.8:55-

col.9:10); Appx2463-2464 (Apple’s expert explaining same), Appx2429-2470;

Appx2328-2329 (175:19-176:2) (similar from MPH’s expert), Appx2154-2428. In

response, the correspondent host “updat[es] the current location address”

information of the relevant security association, as shown below:




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Appx1253, Appx1257-1258 (col.2:67-col.3:14).           The mobile device and

correspondent can then continue communicating securely without a full re-

negotiation of security information. Appx1257-1258 (col.2:67-col.3:14).

      B.    MPH Claimed A Prior-Art Solution To Securing Mobile
            Communications

      Despite the prior art’s advanced development, MPH filed two patents

claiming methods for secure mobile communications that require sending a request

message to update a secure connection.       Appx127; Appx140.        In a lengthy

background section, the patents admit they are based on well-known internet

technology, like the IPSec protocol and its use of security associations. Appx134

(col.1:57-col.2:51). They admit, for example, that IPSec could be used in a “tunnel

mode” where secure communications were sent between a remote device and a local

device via a “security gateway.”       Appx135 (col.3:10-col.4:26).        And they

acknowledge what is common knowledge in this field—IPSec protocols require,

even when applying encryption, that outer header address information remain


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unencrypted. Appx135 (col.3:44-59). That unencrypted information is needed so

“intermediate routers” between a message’s sender and receive can “examin[e]” the

“outer IP header,” including the “source IP address” and “destination address,” to

route the message. Appx135 (col.3:44-59).

      The patents explain that “IPSec is intended to work with static network

topology,” leading to a known “problem” for mobile devices. Appx135 (col.4:9-54)

(recognizing that “[t]he problem has been discussed” in a “standardization forum”).

To overcome that “problem,” the patents explain that, when a mobile device changes

addresses, the mobile device sends “a request” so that an existing secure connection

“is changed” to reflect the new address. Appx136 (col.6:54-64).

      Claim 1 of the ’810 patent recites some of these basic claimed steps. It reads:

            A method for ensuring secure forwarding of a message in
              a telecommunication network, having at least one
              mobile terminal and another terminal and a security
              gateway therebetween, the method comprising:

                a) establishing a secure connection between a first
                   address of the mobile terminal and an address of the
                   security gateway, the secure connection defined by
                   at least the addresses of the mobile terminal and the
                   security gateway,

                b) the mobile terminal changing from the first address
                    to a second address,

                c) while at the second address, the mobile terminal
                   sending a request message to the address of the
                   security gateway to request the security gateway to
                   change the secure connection to be defined between


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                   the second address and the address of the security
                   gateway,

                in response to the request message from the mobile
                   terminal, the security gateway changing an address
                   definition of the secure connection from the first
                   address to the second address, the mobile terminal
                   sending a secure message in the secure connection
                   from the second address of the mobile terminal to
                   the other terminal via the security gateway,

                the secure connection being established by forming a
                   Security Association (SA) using IPSec protocols,
                   and the request message and/or a reply message
                   being encrypted and/or authenticated by using the
                   same SA already established.

Appx138-139 (col.10:48-col.11:8) (emphasis added).

      As shown, claim 1 requires a standard configuration of a “mobile terminal”

and “another terminal” with a “security gateway therebetween.” Appx138-139

(col.10:48-col.11:8). Using that configuration, the claim requires: establishment of

“a secure connection between a first address of the mobile terminal” and the gateway

“by forming a Security Association (SA) using IPSec protocols”; the mobile

terminal “chang[es] from the first address to a second address” and “send[s] a request

message” to the security gateway “to change the secure connection to be defined

between the second address” and the gateway; in response, the security gateway

“chang[es] an address definition of the secure connection from the first address to

the second.”    Appx138-139 (col.10:48-col.11:8).        ’810 patent claims 1-6 and

’581 patent claim 4 recite the request message being “encrypted and/or


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authenticated,” which is the focus of Part I of Apple’s appeal. Appx138-139;

Appx151. ’810 patent claim 7 and ’581 patent claim 1 omit that language. Appx139

(col.12:1-22); Appx150 (col.10:50-col.11:3).

      C.     The Board Found Some Claims Unpatentable But Upheld Others
             By Sua Sponte Adopting A New Claim Construction And
             Upholding Dependent Claims Based On An Invalid Parent Claim

      In two separate inter partes reviews (one on each patent), the Board found

that Apple proved claim 7 of the ’810 patent and claims 1-2 and 9 of the ’581 patent

unpatentable for obviousness based on the combination of Ishiyama and Murakawa.

Appx54-55; Appx125. It also found that Apple proved claims 3 and 5 of the ’581

patent unpatentable for obviousness based on the combination of Ishiyama,

Murakawa, and Ahonen. Appx54-55; Appx125. But the Board refused to hold the

remaining claims unpatentable.

             1.    The Board upheld the patentability of ’810 patent claims 1-6
                   and ’581 patent claim 4 based on a new, sua sponte
                   construction of an “encrypted” request message

      For ’810 patent claims 1-6 and ’581 patent claim 4, the Board based its

decision solely on the claims’ recitation of a request message “being encrypted”; that

limitation was the only material difference between those claims and other claims

the Board found unpatentable. Appx16-23, Appx53; Appx102-106. The Board

agreed with Apple that Ishiyama teaches sending a request message that triggers the

recipient to update a security association with a new address. Appx16-18. It



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recognized that Ishiyama does so by sending an “‘inner’” packet “encapsulated”

within an “outer” packet. Appx19-20. And it recognized, as MPH’s expert admitted,

that Ishiyama teaches encrypting the entire inner packet, the “payload.” Appx19-20

(citing Appx2328-2329 (175:19-176:2)).

      Despite finding the payload of Ishiyama’s request message encrypted, the

Board held that the claims require more. Appx19-23. In reaching that result, the

Board departed from both parties’ arguments. MPH recognized that Ishiyama

discloses an encrypted, encapsulated inner packet with an unencrypted outer header

but argued only that Apple never identified that disclosure as the claimed request

message. Appx498. MPH instead argued that Ishiyama’s request message was only

the unencrypted outer packet header and thus that no part of the request message was

encrypted.     Appx496-498; Appx660-662.        The Board rejected that argument.

Appx16-18.

      But the Board held that, even though Ishiyama discloses a message with an

encrypted payload, the claims also require “that the request message’s outer packet’s

source address is encrypted.” Appx20. The Board noted that the “plain words of

the claim” dictated that conclusion because they “state that the message is

encrypted—not that a portion of the message is encrypted.” Appx20. The Board

also cited a passage of the specification that states that a “signal” can “be encrypted”

instead of stating that “only a portion of” the signal is encrypted. Appx20-21



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(brackets omitted).    And the Board faulted Apple’s papers for purportedly

“provid[ing] no basis to allow for a portion of the request message to be

unencrypted,” although the Board cited no part of either party’s papers raising this

issue or suggesting a controversy over the scope of an “encrypted” request message.

Appx21-22. The Board cited instead discussions from the oral hearing in which the

Board sua sponte questioned claim scope for the first time. Appx21-22.

             2.    The Board upheld the patentability of ’581 patent claims 6-8
                   based solely on the limitations those claims share with claim 5,
                   which the Board itself found unpatentable

      On ’581 patent claims 6-8, the Board focused on those claims’ relationship to

claim 5. Appx106-112, Appx123-124. Each of those claims adds a single limitation

to parent claim 5, which itself adds a single limitation to independent claim 1. The

Board found that Apple proved that the combination of Ishiyama and Murakawa

discloses every limitation of claim 1 and that persons of ordinary skill in the art

would and could have combined those limitations as claimed, repeatedly rejecting

MPH’s counter-arguments on the facts. Appx72-101. The Board also found that

Apple showed the combination of Ishiyama, Murakawa, and Ahonen discloses claim

5’s single added limitation—sending a confirmatory reply message—and that skilled

artisans again would and could have combined the prior art’s disclosures to arrive at

the claimed invention. Appx119-123.




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      Despite finding claims 1 and 5 would have been obvious, the Board upheld

claims 6-8 because the petition purportedly did not address claim 5’s confirmatory

reply message requirement. Appx106-112, Appx123-124. Although the petition

addressed that requirement when it proved claim 5 unpatentable, the Board held that

analysis was part of a different ground and could not be considered in addressing

claims 6-8. Appx106-107, Appx123-124. The Board disagreed that was a “‘form-

over-substance argument,’” stating it was bound by Federal Circuit and Supreme

Court precedent to ignore the portions of the petition addressing claim 5 when

determining the patentability of dependent claims 6-8. Appx107-108, Appx123-124

(citing SAS Inst. Inc. v. Iancu, 138 S. Ct. 1348 (2018); Koninklijke Philips N.V. v.

Google LLC, 948 F.3d 1330 (Fed. Cir. 2020)). Nor did the Board think it relevant

that there was no dispute that the petition gave MPH sufficient notice that Apple was

relying on the petition’s showing of claim 5’s unpatentability in proving dependent

claims 6-8 unpatentable. Appx108. In the Board’s view, the petition’s grouping of

grounds was dispositive. Appx108.

                             SUMMARY OF ARGUMENT

      I.A.    On ’810 patent claims 1-6 and ’581 patent claim 4, the Board’s

construction of a request message “being encrypted” wrongly departed from the

ordinary meaning of that phrase, as confirmed by intrinsic and undisputed extrinsic

evidence. A request message with an encrypted payload and unencrypted outer



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header address information is an “encrypted” message. The patents confirm that

outer header address information must be unencrypted so “intermediate routers”

between a message’s sender and receiver can “examin[e]” the “outer IP header,”

including “source IP address” and “destination address,” to route the message

through the internet. Appx135 (col.3:44-59). Some claims also require, and all

permit with the transition “comprising,” encrypting the request message using

“IPSec protocols.” Appx138-139. Yet the patents explain that both relevant IPSec

protocols leave outer header address information unencrypted. Appx135 (col.3:60-

64). And the patents distinguish between authentication, which may apply to outer

header information, and encryption, which does not. Appx135 (col.3:28-64). Plus,

MPH’s expert admitted that IPSec encryption always leaves outer header address

information unencrypted, in part because that information is needed to decrypt the

message

      The only part of the patents’ description the Board cited shows the patents

refer to internet communications as “encrypted” despite outer header addresses

being unencrypted. The patents state that a request signal “can be encrypted” using

IPSec protocols. But before that statement, the patents explain that IPSec protocols

leave outer header address information unencrypted. The Board also suggested the

claims required encrypting outer header address information because in IPSec tunnel

mode an inner packet can be encapsulated within an outer packet and the inner



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packet’s header can be encrypted. But encapsulation still requires an unencrypted

outer header, again contradicting the Board’s claim interpretation. And regardless,

the claims make clear that they cover both tunnel mode and transport mode, yet the

Board’s flawed encapsulation theory would limit the claims to tunnel mode.

      B.     The Board independently erred because it adopted its “encrypted”

message construction without proper procedures. At institution, the Board said

claim terms would carry their ordinary and customary meaning. During the trial, no

party disputed the ordinary meaning of an “encrypted” message, and no party argued

that a message with an encrypted payload and unencrypted outer header address

information would fall outside the claims’ scope. Yet the Board’s final written

decision turned the claims’ scope into a moving target, changing the claims’

meaning and then applying that meaning to uphold the claims without notice or

opportunity to present evidence or argument. The Board’s procedural error thus

requires at least vacatur and a remand.

      II.    On ’581 patent claims 6-8, the Board’s final decision is illogical and

contrary to settled law. Those claims depend from claim 5, which in turn depends

from claim 1. The Board found that Apple proved both claims 1 and 5 invalid for

obviousness. Yet the Board upheld claims 6-8 based solely on the limitation those

claims share with claim 5. The Board thought it was compelled to reach that result

because Apple’s petition grouped claim 5 in a different ground from claims 6-8. But



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the Board misread clear law. When a parent claim is invalid, dependent claims can

survive only if the limitations they add support patentability. That is the exact

approach Apple followed. It showed why specific references disclose every one of

claim 1’s limitations and why ordinarily skilled artisans would and could have

combined those disclosures to arrive at the claimed invention. It did the same for

claim 5, focusing on the single limitation claim 5 adds to claim 1 and showing why

that added limitation could not support patentability. So too with claims 6-8, where

Apple again focused on the single limitations each of those claims adds to claim 5

and showed why none of those limitations supports patentability. And Apple’s

showings for claims 6-8 were essentially unrebutted—MPH argued for those claims’

patentability based almost exclusively on claim 5. Given settled law and MPH’s

arguments, the Board’s holding that claim 5 was unpatentable for obviousness also

required it to hold claims 6-8 unpatentable.

                                   ARGUMENT

I.    THE BOARD’S DECISION ON ’810 PATENT CLAIMS 1-6 AND ’581
      PATENT CLAIM 4 IS SUBSTANTIVELY AND PROCEDURALLY
      FLAWED

      The Board correctly found that the prior art taught the same method of sending

request messages to update an existing secure connection that MPH claimed as its

invention. Yet the Board refused to hold obvious the subset of claims that cover

sending an “encrypted” request message. The Board held that a request message



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with an encrypted payload and an unencrypted outer header address was not an

encrypted message. But as both patents show, outer header address information

must be unencrypted; just as the postal service must be able to read address

information on a letter, the internet routing system must be able to parse outer header

address information. Because the Board’s construction is contrary to how persons

of skill in the art would understand the plain claim language and was adopted without

proper procedure, the Court should reverse or at least vacate and remand for further

proceedings.

      A.       The Board’s Erroneous Construction Excluding Request Messages
               With Unencrypted Address Information Contradicts Intrinsic And
               Extrinsic Evidence

      Claim construction is a question of law that this Court reviews de novo when,

as here, the construction does not depend on any disputed factual issues. Baxalta

Inc. v. Genentech, Inc., 972 F.3d 1341, 1345 (Fed. Cir. 2020). For the proceedings

here, the Board interprets claims according to the same standards used in federal

courts. Appx9-10; Appx66-67.

               1.   Intrinsic evidence and MPH’s own expert’s testimony show an
                    encrypted message in this field not only may but must include
                    unencrypted address information in an outer IP header

                    a.     Intrinsic evidence confirms that encrypting a payload
                           is enough

      The default rule is that claim words carry “their ordinary and customary

meaning.” Phillips v. AWH Corp., 415 F.3d 1303, 1312-13 (Fed. Cir. 2005) (en


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banc) (citation omitted). That meaning is the one “the term would have to a person

of ordinary skill in the art in question.” Id. And “[i]t is axiomatic that [the Court]

will not narrow a claim term beyond its plain and ordinary meaning unless there is

support for the limitation in the words of the claim, the specification, or the

prosecution history.” 3M Innovative Props. Co. v. Tredegar Corp., 725 F.3d 1315,

1333 (Fed. Cir. 2013).

      The Board violated these basic claim-construction principles. The Board

wrongly held that, in addition to the contents of a message, the outer header address

information of that message must be encrypted because “the plain words of the

claim” never state that only “a portion of the message is encrypted.” Appx20-21

(citing In re Hiniker Co., 150 F.3d 1362, 1369 (Fed. Cir. 1998)). But the plain claim

language here imposes no such requirement. It recites a “request message and/or a

reply message being encrypted” with a security association formed “using IPSec

protocols.”   Appx139 (col.11:4-6); Appx151 (col.11:9-10) (similar).         And the

patents themselves provide the necessary context for how persons of ordinary skill

in the art would understand that text. They explain that internet protocols—

including IPSec protocols—require outer header address information to remain

unencrypted: “intermediate routers” between a message’s sender and receiver must

be able to “examin[e]” the “outer IP header,” including the “source IP address” and

“destination address,” to route the message. Appx135 (col.3:44-59). Given that



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context and the claims’ silence about encrypting outer header address information,

persons of ordinary skill in the art would understand that a message with an

encrypted payload and unencrypted outer header address information is a “message

being encrypted.”

      Consistent with the admitted background about unencrypted outer headers,

the claims repeatedly refer to address information without suggesting that address

information must be encrypted. Appx135 (col.3:44-59), Appx138-139 (col.10:48-

col.11:8). For example, the claims recite a mobile terminal “while at the second

address” sends “a request message to the address of the security gateway.”

Appx138-139 (col.10:48-col.11:8). They never state that address information must

be encrypted.

      Other claim language that the Board ignored is equally clear and refutes the

Board’s construction. Claims 1-6 of the ’810 patent require the request message

“be[] encrypted” using “IPSec protocols,” and claim 4 of the ’581 patent at least

covers the same. Appx138-139 (col.10:48-col.11:8); Appx151 (col.11:9-10, 16-19).

Yet the patents explain that IPSec protocols leave outer header address information

unencrypted. They explain that IPSec includes two protocols “to provide security”:

an “authentication protocol” called “Authentication Header (AH)” that authenticates

certain information, and “a combined encryption/authentication protocol” called




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“Encapsulating Security Payload (ESP).” Appx134 (col.2:11-20). But they show

that neither protocol encrypts outer IP header address information.

      The first—AH—provides no encryption at all.          Appx135 (col.3:60-64);

Appx2177 (24:7-21) (MPH expert explaining AH “only provides authentication, not

encryption”); see Appx135 (col.4:47-49) (distinguishing authentication from

encryption). According to the patents, AH “authenticates the entire inner IP packet”

plus “selected portions of the outer IP header.” Appx135 (col.3:60-64). The

second—ESP—provides encryption. But ESP encrypts only “the entire inner IP

packet,” also called the payload. Appx135 (col.3:60-64).

      Because some claims expressly incorporate encryption using IPSec protocols

and the patents teach that these protocols never encrypt outer header address

information, persons of ordinary skill in the art would understand that a message is

“encrypted” without encrypting such information.         Appx138-139 (col.10:48-

col.11:8).    Indeed, the claims contemplate that the request message may be

“encrypted and/or authenticated.”      Appx139 (col.11:4-8) (emphasis added);

Appx151 (col.11:9-10). Yet the patents describe only authentication (using AH) as

“protect[ing] parts of the outer header.” Appx135 (col.3:28-64). The claim text thus

makes clear that authentication is available as an alternative when outer header

information requires security protection. The Board’s flawed construction ignores




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that claim language and the specifications’ clear demarcation of the difference

between authentication and encryption.

      Consistent with that common understanding, the patents identify a goal of the

invention as providing “confidentiality (protecting the contents of data from being

read).” Appx134 (col.1:41-56) (emphasis added). Such confidentiality differs from

the types of protection related to address information, such as “authentication

(obtaining assurance about the actual sender of data).” Appx134 (col.1:41-56); see

Appx2178-2179 (25:9-26:7) (MPH expert distinguishing confidentiality achieved

through encryption from other kinds of protection). Indeed, although the patents

also refer to “identity protection (keeping the identities of parties exchanging data

secret from outsiders),” they acknowledge that “identity protection is not completely

handled by IPSec.” Appx134 (col.1:41-56).

      Other parts of the patents’ specifications are equally clear and contrary to the

Board’s understanding.    The Board mustered just one citation to the intrinsic

evidence beyond the “being encrypted” language—that the patents say “signal 10a,”

which is “a request for registration,” “can be encrypted.” Appx20 (quoting Appx138

(col.9:63-col.10:8)). Because the patents never say “a portion” of the signal is

encrypted, the Board assumed this passage supported the Board’s reading because it

meant all of signal 10a is encrypted. Appx20-21 (quoting Appx138 (col.9:63-

col.10:8)). But the Board stopped its analysis short. The passage continues that the



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signal encryption “is preferably performed by using IPSec.” Appx138 (col.10:4-8).

Because, as explained supra pp. 20-21, the patents recognize that IPSec protocols

leave outer header address information unencrypted, the Board’s cited passage

compels the opposite conclusion from the one the Board drew. Appx135 (col.3:60-

64). That the passage describes the signal as “encrypted” rather than saying only a

portion is encrypted confirms that the patents refer to communications as

“encrypted” even when outer header address information is unencrypted.

                    b.     Undisputed extrinsic evidence confirms the Board’s
                           claim construction error

      The intrinsic record alone demonstrates the Board’s error. But there is more.

The extrinsic evidence also points in only one direction: persons of ordinary skill in

this field would understand a request as “being encrypted” even though the message

includes unencrypted address information in an outer IP header. MPH’s own expert

analogized an encrypted message to “a sealed letter” in which the sender “does not

expect that the contents of the letter will be read by a third party while the letter is

en route.” Appx2658 (emphasis added), Appx2640-2739. That is, just like a letter,

encrypting a message using IPSec protects its contents rather than its routing

information, akin to a letter’s addressing information. Appx2662; Appx2178 (25:9-

16) (MPH expert: “if someone submits a message and the message is encrypted,

then no one can read the contents of the message” (emphasis added)).




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      MPH’s expert also described how IPSec allows two connection modes,

“transport mode and tunnel mode,” both of which send messages with unencrypted

address information in an outer IP header. Appx2662. “Transport mode protection

protects the IP packet payload, not the entire IP packet including header

information.” Appx2662; Appx2248 (95:16-22) (similar). Tunnel mode “creat[es]

an outer packet” for encapsulating an “original” or inner packet. Appx2662. But,

again, only the inner packet “payload” is encrypted, with “the IP header of the outer

packet” providing the unencrypted information needed for routing. Appx2662;

Appx2250 (97:6-10), Appx2259-2260 (106:22-107:2) (similar). Thus, regardless of

the mode, MPH’s expert confirmed that skilled artisans would understand that any

message “encrypted” with IPSec would include unencrypted address information in

an outer IP header. See Appx139 (claim 4) (making clear both tunnel and transport

modes apply to claims).

      MPH’s expert identified another reason why persons of skill in the art would

understand that an encrypted message must, in fact, include unencrypted address

information in an outer IP header—that address information is required before

performing “IPSec processing,” like decryption of the message. Appx2699-2700.

He explained that when a recipient “receives a packet to which IPSec has been

applied” it uses the destination address “dst” in the outer header of the message “to

determine the relevant SA,” or security association. Appx2699-2700. Only once



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the recipient identifies the security association can it “carry out IPSec processing of

the packet”; an “unrecognized destination” address would mean “IPSec processing

of that message cannot be performed.” Appx2699-2700. That explanation matches

the patents’ description, which explains that IPSec security associations are uniquely

identifiable by specific parameters that may be “carried in AH and ESP headers to

enable the receiving system to select the SA [security association] under which a

received packet will be processed”; one IPSec parameter is the “IP destination

address.” Appx134 (col.2:41-51).

      Thus, like the intrinsic evidence, extrinsic evidence from MPH’s own expert

contradicts the Board and requires holding that a message is “encrypted” regardless

of whether outer header address information is unencrypted.

                    c.     The Board’s encapsulation theory has no support in
                           the record and would wrongly exclude embodiments

      In adopting its construction, the Board also suggested Apple had failed to

“account for” a “request message that is contained wholly within” the inner portion

of an “encrypted encapsulated packet.” Appx22. But as shown in the previous

discussion of “tunnel mode,” such encapsulation is consistent with the ordinary

meaning of a request message “being encrypted,” because even when an inner

encapsulated packet is encrypted, the outer header address information is not. Supra

pp. 25.   Thus, any construction that excludes an otherwise encrypted request

message from the claims’ scope merely because of such unencrypted outer header


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address information is inconsistent with the claim language and undisputed extrinsic

evidence. Supra pp. 19-25.

      Regardless, the Board’s encapsulation theory—which it propounded with no

record support, Appx22—fails for independent reasons. For one, reading the claims

to require an encapsulated request message, as the Board did, would contradict the

patents’ clear disclaimer of any such restrictive meaning: “request and reply are

used in the generic sense.” Appx137 (col.7:7-10).

      Making matters worse, the Board’s speculation about encapsulation would

exclude a preferred embodiment. Yet claim terms are generally construed broadly

to cover all embodiments “absent a clear disavowal or alternative lexicography by a

patentee.” Wasica Fin. GmbH v. Cont’l Auto. Sys., Inc., 853 F.3d 1272, 1281-82

(Fed. Cir. 2017). Both patents describe encapsulation only in the context of IPSec

“tunnel mode”: “the entire original, or inner, packet travels through a tunnel from

one point of an IP network to another [and] no routers along the way are able to

examine the inner IP packet.” Appx135 (col.3:31-36). The patents contrast the

tunnel mode approach using encapsulation with IPSec’s “transport mode,” which in

the words of MPH’s expert “protects the IP packet payload, not the entire IP packet

including header information.” Appx2662; see Appx135 (col.3:10-27); Appx2254

(101:15-21), Appx2258-2260 (105:4-107:2). But the claims contemplate using

either IPSec transport or tunnel mode—’810 patent claim 4, which depends



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indirectly from claim 1, recites that “the secure connection is an IPSec transport

connection or IPSec tunnel connection.” Appx139 (col.11:16-19). And the patents

repeatedly state the invention can be used with either transport or tunnel mode.

Appx137-138 (col.8:65-col.9:11, col.10:27-30).           The Board’s unsupported

encapsulation theory would thus wrongly limit the claims to only tunnel mode.

                            *            *               *

      Because the Board’s construction contradicts both the intrinsic and extrinsic

record, the Court should set aside that construction. Correctly construed, the claims

cover a request message with an encrypted inner payload and unencrypted address

information in an outer IP header.

             2.    The Court should reverse outright because there is no dispute
                   that Ishiyama discloses an encrypted request message when
                   correctly construed

      Once the Board’s flawed construction is corrected, the Court should reverse

the Board’s nonobviousness decisions on ’810 patent claims 1-6 and ’581 patent

claim 4. The Board’s sole basis for holding ’810 patent claims 1-3 and ’581 patent

claim 4 nonobvious was the encrypted request message limitation. Appx16-23,

Appx53; Appx102-106. That is clear from the Board’s findings that the otherwise

materially identical claim 7 of the ’810 patent and claims 1-3, 5, and 9 of the

’581 patent would have been obvious. Appx23-53 & n.9; Appx72-102, Appx113,

Appx119-123. And for ’810 patent claims 4-6, the only other basis for patentability



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that MPH alleged was the flawed argument addressed in Part II, infra. Appx499,

Appx508.

      Here, the undisputed record demonstrates that Ishiyama discloses an

encrypted request message under the proper construction. The testimony of MPH’s

expert is dispositive. He admitted Ishiyama teaches that a mobile host, after moving

to a new address, will send a message that triggers a “correspondent host” to update

an IPSec secure connection and that “the packet that the correspondent host receives

that it used to determine that an address change has occurred, the payload of that

packet was encrypted.” Appx2324-2329 (171:5-176:2) (“So, yes, the payload of that

packet is encrypted”); Appx1250; Appx2463-2464 (Apple expert explaining same).

      Because there is no dispute that Ishiyama discloses an encrypted request

message with an encrypted payload, the Court should reverse outright.

      B.    At Least A Remand Is Required Because The Board Violated The
            Administrative Procedure Act When It Adopted A New
            Construction Sua Sponte In Its Final Written Decision

      The Board’s compliance with the procedural requirements of the

Administrative Procedure Act is a question of law that this Court reviews de novo.

In re NuVasive, Inc., 841 F. 3d 966, 970 (Fed. Cir. 2016).

            1.     Without notice or an adequate opportunity to respond, the
                   Board construed a term whose meaning no party disputed

      The Board independently erred when it adopted its construction of a request

message “being encrypted” without proper procedure. “IPR proceedings are formal


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administrative adjudications subject to the procedural requirements of the

Administrative Procedure Act (‘APA’).” SAS Inst., Inc. v. ComplementSoft, LLC

(“SAS I”), 825 F.3d 1341, 1351 (Fed. Cir. 2016), abrogated on other grounds sub

nom., SAS Inst. Inc. v. Iancu (“SAS II”), 138 S. Ct. 1348 (2018). In inter partes

reviews, those procedural requirements prohibit the Board from “chang[ing] theories

in midstream without giving [parties] reasonable notice of the change and the

opportunity to present argument under the new theory.” Belden Inc. v. Berk-Tek

LLC, 805 F.3d 1064, 1080 (Fed. Cir. 2015) (cleaned up); SAS I, 825 F.3d at 1351-

52 (applying those protections to petitioners). In SAS I, this Court thus vacated the

Board’s decision for turning the claims into a “moving target”; the Board’s final

written decision adopted a new construction that differed from both parties’

positions and the Board’s own interpretation at institution. 825 F.3d at 1351-52.

      The Board committed the same error here. At institution, the Board indicated

that claim terms would carry “their ‘ordinary and customary meaning’” under

Phillips. Appx347. It indicated that no explicit construction of any term was needed

to resolve the parties’ disputes.     Appx347, Appx329-369.         Throughout the

proceeding, no party suggested disagreement with the Board’s institution

understanding about the scope of a request message “being encrypted”—the only

claim construction dispute was about a different term (security gateway). Appx9-

11.



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      Nor did either party implicitly present a claim construction dispute about what

was required for an encrypted request message or ever suggest the construction the

Board adopted. At institution, MPH argued that the prior art failed to disclose

sending an encrypted request message to a security gateway because, in its view, the

art disclosed no security gateway at all. Appx318. MPH made no independent

argument about an encrypted request message, let alone about the meaning of that

term. Appx318.

      MPH’s post-institution papers similarly did not question the meaning of an

encrypted request message or suggest the Board’s adopted construction.

Appx496-498; Appx662.       Rather, MPH’s Patent Owner Response argued that

Ishiyama disclosed no encryption of any part of a request message, an argument the

Board’s final written decision rejected. Appx496-498; Appx22-23. That argument

was based on MPH’s mistaken view that Apple had never identified Ishiyama’s

“transmission of an encapsulated packet with the mobile node’s updated address

CoA2 in the outer packet” as the claimed request message, an argument the Board

rejected. Appx498; Appx16-18. Yet despite recognizing that Ishiyama disclosed

such a message with an encrypted, encapsulated inner packet and an unencrypted

outer header, MPH never argued such a message was not encrypted within the

claim’s meaning. Appx496-498.




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      MPH’s later sur-reply was more of the same. It continued to argue that “[t]he

alleged request message in Ishiyama” is “the outer header containing the new source

address information,” rather than Ishiyama’s encrypted, encapsulated inner packet

with unencrypted outer header. Appx660. Based on its position that the request

message was only an unencrypted header, MPH insisted that “Petitioner has not

demonstrated that the alleged request message is encrypted” because no part of “the

New Source Address Outer Header” was encrypted. Appx660-662. Once again,

MPH never argued that Ishiyama’s disclosure of an encrypted, encapsulated inner

packet with an unencrypted outer header would not meet the claim requirement of

“being encrypted” if the Board concluded, as it did (Appx16-18), that disclosure was

the claimed request message. Appx660-662. In the end, nowhere, not once, did

MPH disagree that the claims covered a request message made of an encrypted

payload with unencrypted address information in an outer header. Appx496-498;

Appx660-662.

      The Board’s decisions confirm that the Board adopted a new construction

without notice or an adequate opportunity to respond. Throughout its decisions, the

Board was consistent in identifying the party-raised issues it was addressing by

citing the relevant pages of the parties’ papers. Appx1-126. Yet in the sections

adopting its new construction, the Board repeatedly cited not party papers but

discussions prompted by Board questions at the hearing. Appx20-23; Appx103-106.



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The Board never cited any portion of MPH’s papers raising this issue or suggesting

a claim construction dispute; it cited MPH’s papers only to reject a different

argument MPH made about Ishiyama “not specifying a format (including as to

whether there is encryption).” Appx20-23; Appx103-106.

      For that reason, the Board was wrong to criticize Apple for not having

anticipated the Board’s midstream change on claim construction. Appx20-23;

Appx103-106.      The Board wrongly faulted Apple because Apple’s papers

purportedly “provide no basis to allow for a portion of the request message to be

unencrypted” and because they allegedly “d[id] not point to any evidence” about the

meaning of a request message “being encrypted.” Appx20-23; Appx103-106. But

“[i]t is difficult to imagine either party anticipating” that undisputed terms “were

actually moving targets, and it is thus unreasonable to expect that they would have

briefed” such issues. SAS I, 825 F.3d at 1351-52.

      Nor was the Board’s less-than-clear questioning at the hearing sufficient

notice or an adequate opportunity to respond on this issue. The APA requires

“timely” notice and an opportunity to submit “facts,” “argument,” and “rebuttal

evidence.” 5 U.S.C. §§ 554(b), (c), 556(d). Raising issues for the first time at an

oral hearing provides none of that. Dell Inc. v. Acceleron, 818 F.3d 1293, 1300-01

(Fed. Cir. 2016) (rejecting similar argument). Dell thus vacated and remanded a




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Board decision for relying on a new issue raised for the first time at the oral hearing.

Id. The same facts here require at least the same result, if not outright reversal.

             2.     The Board’s error was prejudicial because it deprived Apple of
                    the chance to present rebuttal argument and evidence, which
                    would, or at least could, have led to a different result

      Had Apple been given notice and an adequate opportunity to respond, it would

have further developed a record on claim construction. As shown above, the intrinsic

evidence contradicts the Board’s construction and extrinsic evidence about internet

protocols and encryption gives further insight into how a person of ordinary skill in

the art would understand the phrase a request message “being encrypted.” Supra

pp. 19-28. Although the intrinsic evidence and the admissions of MPH’s own expert

should require reversal, had Apple been given proper notice and an opportunity to

address the issue, it would have provided additional testimony from its own expert

and documentary evidence about the outside-the-patent meaning of an “encrypted”

request message in this field.

      Apple also should be given an opportunity to show obviousness even under

the Board’s construction. Had the Board followed proper procedures, Apple would

have shown there is no patentable difference between Ishiyama and the claims even

under the Board’s construction. After all, the Board agreed that an encapsulated,

encrypted request message—one sent as the inner packet of another packet—would

satisfy its new construction. Appx22. Yet as Apple’s petition showed and MPH’s



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expert admitted, Ishiyama sends such an encapsulated, encrypted message to trigger

the recipient to update a secure connection for a new address. Appx192-196,

Appx202-204; Appx2324-2329.

      MPH’s expert admitted that Ishiyama teaches that if a mobile host changes

addresses after creating an IPSec tunnel with a correspondent host, the mobile host

will send a message to the correspondent with a fully “encrypted” and encapsulated

inner packet. Appx2324-2329 (171:5-176:2). He explained that, in Ishiyama, the

encrypted inner packet has a header “home address” that identifies the mobile host

and an outer unencrypted header that has a new “care-of address” indicating the

mobile host’s new address. Appx2324-2329 (171:5-176:2). Based on that message,

Ishiyama teaches that the correspondent host “detects” that there was a change in

“care-of addresses” for the encapsulated, encrypted inner packet with the mobile

host’s “home address” and carries out “address-changing functionality” to update an

IPSec secure connection. Appx2324-2329 (171:5-176:2); Appx1252.

      Although Ishiyama’s correspondent host updates the secure connection with

a new address based on both the inner encrypted packet and address information in

the outer header, that is no different from the very limited details the patents

themselves give about an exemplary embodiment. As explained, even when an

inner, encapsulated packet is encrypted, address information in the outer header must

remain unencrypted for routing and so the recipient can perform IPSec processing.



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Supra pp. 25-26; Appx134 (col.2:41-51) (IPSec security association “uniquely

identified” by, among other things, “IP destination address”); Appx2699-2670

(explaining same).

         The patents make clear that, regardless of whether a request message is

encrypted and encapsulated within another packet, the request message’s recipient

also responds to address information in the outer header. They explain that “the

invention” may “require[] a change in a normal IPSec implementation to accept a

packet that appears to belong to a certain IPSec tunnel, but comes from a wrong

address.” Appx137 (col.7:51-62) (“required specifically for processing” a request

message). Thus, just like Ishiyama, the patents explain that the “invention” must be

able to recognize—before IPSec “processing” and decryption of the encapsulated

message—that a mobile terminal’s address changed and respond accordingly, a

change that would come from the unencrypted outer header. Appx137 (col.7:51-62).

Doing so does not mean the encrypted request message falls outside the claims’

scope.

         Because MPH’s expert admissions about Ishiyama’s disclosure show

Ishiyama matches the patents’ own description of the invention, Apple should have

been given the opportunity to prove obviousness under the Board’s construction.

Indeed, given that the admissions came from MPH’s own witness, no reasonable

factfinder could conclude that Ishiyama does not disclose an encrypted request



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message as the Board construed that term. The Court should thus reverse outright,

because even under the Board’s construction no substantial evidence supports

nonobviousness. At the very least, a remand is required for further development.

II.   THE BOARD ERRED BECAUSE IT UPHELD ’581 PATENT CLAIMS
      6-8 BASED ON THE LIMITATION THEY SHARE WITH CLAIM 5
      EVEN THOUGH IT FOUND CLAIM 5 OBVIOUS

      The Board’s nonobviousness conclusion for ’581 patent claims 6-8 is

illogical. The critical fact is this: The Board found that Apple proved independent

claim 1 and its dependent claim 5 would have been obvious. The prior art taught

every claimed limitation, and persons of ordinary skill in the art would have had

ample reason to combine those limitations with reasonable expectation of success.

Appx72-101, Appx119-123. Yet the Board upheld claims 6-8, which depend from

claim 5, because Apple purportedly failed to “account for the limitations of

intervening claim 5,” Appx107, Appx124-125 (citation omitted)—even though the

very same order found that Apple did establish that the limitations of claim 5 were

obvious, Appx72-101, Appx119-123. The Board was not free to revive claim 5’s

limitations when evaluating its dependent claims. The Court should reverse or at

least vacate and remand.

      The “ultimate” question of obviousness is a legal question that this Court

reviews de novo. KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 427 (2007); Belden,




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805 F.3d at 1073 (Court reviews “Board’s compliance with the governing legal

standards de novo”).

      A.     Apple Showed, And MPH Hardly Disputed, That The Limitations
             Added By Claims 6-8 Could Not Be A Basis For Patentability

      Where a challenger proves a claim unpatentable, its dependent claims “can

only be sustained based upon the language of the dependent claims themselves.”

Ormco Corp. v. Align Tech., Inc., 498 F.3d 1307, 1319-20 (Fed. Cir. 2007). In

Ormco, for example, two independent claims were found to have been obvious in

the same case. Id. The Court held that four other claims depending from those

independent claims thus could survive only if the limitations unique to those claims

supported nonobviousness. Id. Because they did not, the Court affirmed summary

judgment of invalidity. Id.

      This Court regularly applies that rule. For example, even when a claim is held

unpatentable based on different prior art, this Court has vacated and remanded the

Board for holding other dependent claims nonobvious based on that unpatentable

claims’ limitations. MaxLinear, Inc. v. CF CRESPE LLC, 880 F.3d 1373, 1375,

1377-78 (Fed. Cir. 2018). In MaxLinear, the Court vacated and remanded the Board

with instructions to consider whether “the differences” between the unpatentable

claim and its dependent claims made the dependent claims “patentably distinct.” Id.

(citation omitted). It explained that holding one claim unpatentable often “requires

the invalidation of related claims that present identical issues of patentability.” Id.


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Although the context there was issue preclusion, the principle was the same as in

Ormco—when a claim is found unpatentable, its dependent claims’ patentability

hangs on the further limitations they add. Id. If those dependent claims add nothing

to distinguish over the prior art or to present a “materially different” patentability

question from the unpatentable claim, the dependent claims should also be

invalidated. Id.; see Soverain Software LLC v. Victoria’s Secret Direct Brand

Mgmt., 778 F.3d 1311, 1319-20 (Fed. Cir. 2015) (where independent claim obvious,

holding dependent claim obvious because only added limitation was “routine

incorporation” of known technology).

      Here, this straightforward principle required the Board to hold ’581 patent

claims 6-8 unpatentable for obviousness. Each of those claims depends from claim

5, which itself depends from claim 1. For claim 1’s limitations, Apple showed and

the Board found that Ishiyama and Murakawa disclose every limitation and that an

ordinarily skilled artisan would and could have combined those limitations as

claimed. Appx72-102; Appx3282-3302. Similarly for claim 5’s single added

limitation—sending a confirmatory reply message—Apple showed and the Board

ultimately found that Ahonen discloses that limitation and that an ordinarily skilled

artisan would and could have combined Ahonen’s teachings with those of Ishiyama

and Murakawa to arrive at the claimed invention. Appx119-123; Appx3316-3323.




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      Apple followed the same approach for claims 6-8. Each of those claims also

adds only a single limitation to claim 5. For each new limitation, Apple showed that

Ishiyama and Murakawa (for claims 6 and 7) or Ishiyama, Murakawa, and Forslöw

(for claim 8) disclose the added limitation and that skilled artisans would have and

could have combined the prior art teachings. Appx3312-3316; Appx3323-3326; see

Appx3987-3993, Appx4001-4005 (similar from Apple’s expert), Appx3919-4006.

Apple’s showing was in fact unrebutted for claims 6 and 8—none of MPH’s papers

disputed that those claims’ added limitations could not be a basis for patentability;

MPH relied solely on claim 5 as the basis for alleged patentability. Appx3427;

Appx3607-3609, Appx3617; Appx3791-3792.            And on claim 7, MPH’s sole

argument besides pointing to claim 5 was a claim construction argument that the

Board never adopted—that the claimed “tunneling protocol” excludes the IPSec

tunneling protocol. Appx3607-3609; Appx106-112. But MPH never disputed that

the prior art otherwise disclosed a tunneling protocol (since it does).

Appx3607-3609; Appx1276 (col.2:62-65) (describing security gateway of

embodiment as “in the tunnel mode”).

      Given the Board’s own findings that claims 1 and 5 would have been obvious

and MPH’s choice to rely almost exclusively on claim 5 as the basis for patentability

of claims 6-8, the Board’s finding that claim 5 would have been obvious should have

led it to hold claims 6-8 unpatentable for obviousness as well. After all, although



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each claim is entitled to its own presumption of validity, “[w]hen a dependent claim

and the independent claim it incorporates are not separately argued,” such as by

addressing “the specific limitation” of the dependent claim, “the claims rise or fall

together.” Soverain Software LLC v. NewEgg Inc., 728 F.3d 1332, 1335-36 (Fed.

Cir. 2013). That principle applies here and required holding ’581 patent claims 6-8

unpatentable.

      B.     The Board’s Contrary Reasoning Ignores Governing Law

             1.    No statute or regulation required the Board to ignore Apple’s
                   arguments about claim 5’s unpatentability when addressing
                   dependent claims 6-8’s unpatentability

      Despite Apple’s straightforward and largely unrebutted obviousness case for

claims 6-8, the Board thought it was required to uphold those claims because of the

way Apple’s petition grouped them. Appx106-112, Appx123-124. Specifically,

Apple’s petition identified claims 6-7 as part of “Ground 1” based on Ishiyama and

Murakawa, claim 5 as part of “Ground 2” based on Ishiyama, Murakawa, and

Ahonen, and claim 8 as part of “Ground 3” based on Ishiyama, Murakawa, and

Forslöw. Appx3266. The Board believed that grouping meant Apple automatically

failed to prove claims 6-8 unpatentable because those claims were not grouped with

claim 5 from which they depend or otherwise included in a ground including

Ahonen. Appx106-112, Appx123-124. The Board thus thought legal requirements

compelled it to ignore Apple’s arguments about claim 5’s unpatentability when



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deciding the unpatentability of claims 6-8 because of Apple’s choice in grouping its

grounds. Appx106-112; Appx123-124.

      But no law required the Board to ignore its invalidity finding on claim 5 when

addressing dependent claims 6-8, because no law dictated that Apple group claims

in a particular way or copy-and-paste arguments from one part of its petition to

another.   Congress gave petitioners discretion in identifying the grounds for

challenging claims in inter partes reviews. It required only that petitioners identify

the grounds “in writing and with particularity.” 35 U.S.C. § 312(a)(3). The Director

has followed Congress’s approach. As relevant here, regulations require petitioners

to identify each challenged “claim”; the “specific statutory grounds under 35 U.S.C.

102 or 103 on which the challenge to the claim is based and the patents or printed

publications relied upon for each ground”; and how each claim is “unpatentable” by

“specify[ing] where each element of the claim is found in the prior art.” 37 C.F.R.

§ 42.104(b). Beyond these basic limitations, both Congress and the Director gave

petitioners considerable leeway in how they frame their grounds, consistent with the

Supreme Court’s directive that the petitioner is “master of its complaint.” SAS II,

138 S. Ct. at 1355-56.

      Apple easily cleared the low hurdles Congress and the Director set up. Apple

identified in writing and with particularity that it was challenging “claims 1-9,” that

all of its challenges were based on “35 U.S.C. § 103,” and upon which prior art



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references it relied. Appx3266. And as explained, supra pp. 38-41, Apple showed

where “each element” of each challenged claim “is found in the prior art,” 37 C.F.R.

§ 42.104(b): it showed how Ishiyama and Murakawa disclose each limitation of

independent claim 1; how Ishiyama, Murakawa, and Ahonen disclose claim 5’s

single, additional limitation; how Ishiyama and Murakawa also disclose the single,

additional limitations of claims 6 and 7; and how Ishiyama, Murakawa, and Forslöw

disclose claim 8’s single, additional limitation. Appx3282-3302; Appx3312-3326.

For claim 5 specifically, Apple showed how Ahonen renders claim 5’s added

limitation obvious and how “Ishiyama also describes” and renders obvious that

limitation. Appx3320-3323. And for all the petition’s references, Apple established

the necessary motivation to combine with a reasonable expectation of success.

Appx3282-3302; Appx3312-3326.

      Despite the petition’s particularity, the Board thought Apple had failed to

“address claim 5’s reply message in its showing for claims” 6-8 because Apple

addressed that limitation in a separate ground.      Appx106, Appx123.      But as

explained, the petition followed this Court’s precedent by showing why each

independent claim was invalid for obviousness and then, for each dependent claim,

showing why that claim’s additional limitation did not independently support

nonobviousness.    Supra pp. 38-39.      The petition was unambiguous in that

approach—when addressing each dependent claim, it consistently explained why the



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prior art identified for that claim disclosed the limitation added by that claim, without

ever hinting it was relying on some different analysis for limitations inherited from

a parent claim. Appx3312-3326. And the Board understood Apple was following

that approach at institution, because it found Apple had established “a reasonable

likelihood” of proving claims 6-8 unpatentable at institution despite their

dependence on claim 5. Appx3473-3474. Apple thus did address claim 5’s reply

message in its showing for claims 6-8, because its showings for claims 6-8 were

cumulative of its showing for claim 5. Appx3316-3323.

             2.     Precedent required the Board to address the petition on the
                    petition’s terms

      Given the petition’s clarity, the Board got it exactly backwards in thinking

Koninklijke compelled it to hold claims 6-8 patentable. Appx107-108 (citing 948

F.3d at 1335-36). Koninklijke recognized that “it’s the petitioner, not the Director

[or the Board], who gets to define the contours of the proceeding.” 948 F.3d at 1335

(quoting SAS II, 138 S. Ct. at 1355). That principle required the Board to address

the petition on its terms—to determine whether (as the Board found) claim 1 is

unpatentable based on Ishiyama and Murakawa, whether (as the Board also found)

claim 5’s additional reply-message limitation could not support patentability

independent of claim 1 given the teachings of Ishiyama, Murakawa, and Ahonen,

and whether (as the Board wrongly refused to consider) claims 6-8’s additional

limitations could not support patentability independent of claim 5 given the


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teachings of Ishiyama, Murakawa, and Forslöw (for claim 8 only). Nothing in the

petition suggested the Board reconsider claim 5’s patentability based on references

other than Ishiyama, Murakawa, and Ahonen when deciding claims 6-8’s

patentability.

      The Board’s reasoning is particularly flawed because the added limitations of

claims 6-8 are wholly independent of claim 5 and thus independent of Ahonen.

Although those claims depend from claim 5, the limitations they add relate only to

limitations they share with claim 1. Appx151 (col.11:16-24). Thus, claim 6 requires

that claim 1’s “mobile terminal” and “other terminal form an end-to-end

connection.”     Appx151 (col.11:16-19).        Claim 7 requires using a “tunneling

protocol” for claim 1’s “secure connection.” Appx151 (col.11:20-22). And claim 8

requires that claim 1’s “other terminal is a mobile terminal.”                 Appx151

(col.11:23-24). Not one of those claims adds a limitation that depends on anything

in claim 5. It was thus perfectly consistent for Apple’s petition to identify that it was

challenging the limitations added by those claims without relying on Ahonen.

Lumping those claims together with claim 5 and Ahonen would have identified the

basis for unpatentability with less particularity, not more, because it would have left

unclear whether Ahonen was necessary for the limitations that claims 6-8 add.




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             3.     The Board’s flawed approach should be rejected because it
                    serves no purpose

      The novel briefing rule the Board fashioned and then enforced against Apple

serves no purpose. The Board never disputed that the petition gave adequate notice

of the issues to be considered, which this Court has called the “critical question” for

ensuring the Board does not unfairly stray from the petition in inter partes review

proceedings. Genzyme Therapeutic Prods. v. Biomarin Pharm., 825 F.3d 1360,

1367 (Fed. Cir. 2016) (rejecting patent owner argument because it had adequate

notice); Appx108. And MPH never suggested it lacked notice that Apple was

challenging the unpatentability of the limitation claim 5 adds based on Ishiyama,

Murakawa, and Ahonen. Appx3613-3616. MPH clearly did have notice since it

actually tried (but failed) to defend that limitation against those references.

Appx3613-3616.

      Nor would it help anyone to require for every dependent claim that a petition

repeat a ground already presented or include a bare statement that the shared

limitations would have been obvious for the reasons stated for the parent claim. This

Court has repeatedly cautioned against imposing requirements that “serve no useful

purpose” and “exalt form over substance.” In re Bennett, 766 F.2d 524, 527-28 (Fed.

Cir. 1985) (reversing Board for this reason; citation omitted). The Board’s repetition

of the same error here requires reversal, particularly on claims 6 and 8 where MPH

relied solely on claim 5 for patentability, or at least vacatur and a remand.


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                                  CONCLUSION
      For all these reasons, the Court should reverse or at least vacate and remand

the Board’s decisions that ’810 patent claims 1-6 and ’581 patent claims 4 and 6-8

are not unpatentable.

                                            Respectfully submitted,

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Tel: 571-272-7822                          Entered: September 24, 2020

       UNITED STATES PATENT AND TRADEMARK OFFICE



        BEFORE THE PATENT TRIAL AND APPEAL BOARD



                            APPLE INC.,
                             Petitioner,
                                 v.

                      MPH TECHNOLOGIES OY,
                           Patent Owner.


                           IPR2019-00819
                         Patent 7,620,810 B2

                     __________________________

Before KAMRAN JIVANI, JOHN D. HAMANN, and
STACY B. MARGOLIES, Administrative Patent Judges.

HAMANN, Administrative Patent Judge.



                            JUDGMENT
                        Final Written Decision
           Determining Some Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)




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IPR2019-00819
Patent 7,620,810 B2

I.    INTRODUCTION
      In this inter partes review, instituted pursuant to 35 U.S.C. § 314,
Apple Inc. (“Petitioner”) challenges the patentability of claims 1–7 (“the
challenged claims”) of U.S. Patent No. 7,620,810 B2 (Ex. 1001, “the ’810
patent”), owned by MPH Technologies Oy (“Patent Owner”). We have
jurisdiction under 35 U.S.C § 6. This Final Written Decision is entered
pursuant to 35 U.S.C. § 318(a) and 37 C.F.R. § 42.73.
      For the reasons discussed herein, we determine that Petitioner has not
shown by a preponderance of the evidence that claims 1–6 are unpatentable,
but Petitioner has shown by a preponderance of the evidence that claim 7 is
unpatentable.
II.   BACKGROUND

       A. Procedural History
      Petitioner filed a Petition requesting inter partes review of the
challenged claims of the ’810 patent. Paper 2 (“Pet.”). The Petition is
supported by the Declaration of David Goldschlag, Ph.D. (Ex. 1002). Patent
Owner filed a Preliminary Response. Paper 8.
      We instituted inter partes review of all of the challenged claims of the
’810 patent on all of the grounds raised in the Petition. Paper 10 (“Dec. on
Inst.”), 7, 40. As to this Decision on Institution, Patent Owner filed a
Request for Rehearing, and requested review by the Precedential Opinion
Panel (“POP”). Paper 13; Ex. 3001. Patent Owner’s request for POP review
was denied, and we subsequently denied Patent Owner’s Request for
Rehearing. Papers 16, 24.
      Patent Owner filed a replacement Response to the Petition. Paper 23
(“PO Resp.”). The Response is supported by the Declaration of Professor


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                                    Appx2
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George N. Rouskas, Ph.D. (Ex. 2003). Petitioner filed a Reply to Patent
Owner’s Response. Paper 26 (“Pet. Reply”). The Reply is supported by an
additional Declaration of David Goldschlag, Ph.D. (Ex. 1020). Patent
Owner filed a Sur-Reply to Petitioner’s Reply. Paper 29 (“PO Sur-Reply”).
      An oral hearing was held on June 25, 2020. A transcript of the oral
hearing is included in the record. Paper 36 (“Tr.”).

       B. Related Matter
      The parties identify MPH Techs. Oy v. Apple Inc., No. 5:18-cv-05935-
PJH (N.D. Cal.), as a matter that may affect or would be affected by a
decision in this proceeding. Pet. 2–3; Paper 7, 1. The parties also identify,
as a related matter, Apple Inc. v. MPH Techs. Oy, IPR2019-00820 (PTAB),
involving U.S. Patent No. 7,937,581, which claims the benefit of the ’810
patent’s filing date. Pet. 2–3; Paper 7, 1.

       C. The Challenged Patent (Ex. 1001)
      The ’810 patent relates to “secur[ing] mobile connections in
telecommunication networks.” Ex. 1001, 1:13–14. In particular, the ’810
patent describes reducing the handover latency and computational overhead
for secure connections, such as those employing Internet Protocol (“IP”)
Security (“IPSec”) with mobile terminals 1 (i.e., terminals that can move
from one network to another). Id. at 1:13–15, 1:57–64, 4:10–31, 6:48–50,
7:28–42, 10:34–42.




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  The ’810 patent discloses that “the term[s] mobility and mobile terminal
do[] not only mean physical mobility, . . . [but also] mean[] moving from
one network to another, which can be performed by a physically fixed
terminal as well.” Ex. 1001, 4:27–31.

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                                    Appx3
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      IPSec comprises a set of rules defined by the Internet Engineering
Task Force (“IETF”) to “provide[] the capability to secure communications
between arbitrary hosts,” according to the ’810 patent. Id. at 1:57–64, 2:3,
2:6–10. The ’810 patent states that these rules describe, inter alia, providing
“access control based on the distribution of cryptographic keys.” Id. at
2:11–20. The ’810 patent also describes the concept of a Security
Association (“SA”), which according to the ’810 patent is “a one-way
relationship between a sender and a receiver that offers [negotiated] security
services to the traffic carried on it.” Id. at 2:21–24.
      The ’810 patent discloses that IPSec supports two modes of operation
(i.e., transport mode and tunnel mode). Id. at 3:8–9. “Typically, transport
mode is used for end-to-end communication between two hosts.” Id. at
3:10–13. “Tunnel mode . . . is generally used for sending messages through
more than two components,” such as “when one or both ends of a SA is a
security gateway, such as a firewall or a router that implements IPSec.” Id.
at 3:16–21.
      “IPSec is intended to work with static network topolog[ies],”
according to the ’810 patent. Id. at 4:10–11. For example, IPSec can secure
communications between hosts across a local area network (“LAN”), as well
as across a private or public wide area network (“WAN”). Id. at 1:57–59.
Figure 1, shown below, “illustrates an example of a telecommunication
network to be used in the invention” of the ’810 patent. Id. at 8:40–41.




                                        4


                                     Appx4
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                                FIG. 1
      Figure 1 depicts an example telecommunication network comprising
“computer 1 . . . and computer 2[,] a destination computer, to which the
secure messages are sent . . . by means of an IPSec tunnel established
between computer 1 and computer 2.” Id. at 8:54–58. The ’810 patent adds:
“Computer 2 [can] be a security gateway for a third computer 3. Then, the
messages sent from computer 2 to computer 3 are sent in plaintext.” Id. at
8:53–60.
      The ’810 patent discloses that in forming an IPSec tunnel under
IPSec’s default automated key management protocol (i.e., the Internet Key
Exchange (“IKE”) protocol), “the tunnel endpoints are fixed and remain
constant.” Id. at 3:66–4:4, 4:12–17. The ’810 patent adds: “If IPSec is used
with a mobile host the IKE key exchange will have to be redone from every
new[ly] visited network. This is problematic, because IKE key exchanges
involve computationally expensive” calculations and require exchanging
numerous messages between the endpoints, leading to higher latency. Id. at
4:15–26.
      To address these problems, the ’810 patent discloses avoiding a full
re-negotiation between the tunnel endpoints, when computer 1 moves


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                                   Appx5
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networks. E.g., id. at 9:33–44 (describing prior art requires a full re-
negotiation), 9:63–66. More specifically, the ’810 patent discloses initially
establishing an IPSec tunnel between computer 1 (address A) and computer
2 (address X) using IKE, as in the prior art. Id. at 9:48–62, Fig. 5
(illustrating steps 1a–9a for setting up the tunnel); compare id. at Fig. 5, with
id. at Fig. 4 (showing the same nine steps as the prior art solution); see also
id. at 9:12–39 (describing the prior art IKE establishment of the tunnel).
      The ’810 patent discloses that, when computer 1 moves from address
A to address B, computer 1 sends from its new address (address B) to
computer 2 (address X) at the other end of the established IPSec tunnel, a
request for computer 2 to register its new address. Id. at 9:63–10:2.
According to the ’810 patent, this request can be “encrypt[ed] and/or
authenticat[ed] . . . us[ing] the same IPSec SA [that is used] for protecting
both data and registration traffic.” Id. at 10:4–8.
      The ’810 patent thus discloses that the tunnel’s IPSec SA is carried
over to the new connection point, and computer 1 can send IPSec-protected
messages to computer 2 after sending the request, which “essentially makes
the handover latency zero.” Id. at 10:11–19, 10:34–37. “[T]he exact
method of signalling is not important[;] the essence is to carry over the
IPSec SA to the new connection point.” Id. at 10:11–13.

       D. The Challenged Claims
      Petitioner challenges claims 1–7 of the ’810 patent, of which claims 1
and 7 are independent. Claims 1 and 7 are reproduced below:
            1. A method for ensuring secure forwarding of a message
      in a telecommunication network, having at least one mobile
      terminal and another terminal and a security gateway
      therebetween, the method comprising:


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                                    Appx6
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             a) establishing a secure connection between a first address
      of the mobile terminal and an address of the security gateway,
      the secure connection defined by at least the addresses of the
      mobile terminal and the security gateway,
             b) the mobile terminal changing from the first address to a
      second address,
             c) while at the second address, the mobile terminal sending
      a request message to the address of the security gateway to
      request the security gateway to change the secure connection to
      be defined between the second address and the address of the
      security gateway,
             in response to the request message from the mobile
      terminal, the security gateway changing an address definition of
      the secure connection from the first address to the second
      address, the mobile terminal sending a secure message in the
      secure connection from the second address of the mobile
      terminal to the other terminal via the security gateway,
             the secure connection being established by forming a
      Security Association (SA) using IPSec protocols, and the request
      message and/or a reply message being encrypted and/or
      authenticated by using the same SA already established.
Ex. 1001, 10:48–11:8.
             7. A method for ensuring secure forwarding of a message
      in a telecommunication network, having at least one mobile
      terminal and another terminal and a security gateway
      therebetween, the method comprising:
             a) establishing a secure connection between a first address
      of the mobile terminal and an address of the security gateway,
             the secure connection defined by at least the addresses of
      the mobile terminal and the security gateway,
             b) the mobile terminal moving from the first address to a
      second address,
             c) while at the second address, the mobile terminal sending
      a request message to the address of the security gateway to
      request the security gateway to change the secure connection to
      be defined between the second address and the address of the
      security gateway,



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                                   Appx7
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               the security gateway changing an address definition of the
        secure connection from the first address to the second address,
        and
               the other terminal sending a secure message in the secure
        connection to the second address of the mobile terminal via the
        security gateway.

Ex. 1001, 12:1–22.

            E. Instituted Grounds of Unpatentability
        We instituted trial based on the following grounds of unpatentability,
which are all the grounds of unpatentability raised in the Petition:
                      References               Basis 2    Challenged Claim(s)
       1.     Ishiyama, 3 Murakawa4           § 103(a)    1, 4, 5, 7
       2.     Ishiyama, Murakawa,             § 103(a)    2, 3
              Ahonen 5
       3.     Ishiyama, Murakawa,             § 103(a)    6
              Forslöw 6

Pet. 4, 12–69.

III.    LEVEL OF ORDINARY SKILL IN THE ART
        To determine whether an invention would have been obvious at the
time it was made, we consider the level of ordinary skill in the pertinent art
at the time of the invention. Graham v. John Deere Co., 383 U.S. 1,
17 (1966). In assessing the level of ordinary skill in the art, various factors


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  The Leahy-Smith America Invents Act (“AIA”) included revisions to
35 U.S.C. § 103 that became effective on March 16, 2013. Because the ’810
patent issued from an application filed before March 16, 2013, we apply the
pre-AIA version of the statutory basis for unpatentability.
3
  U.S. Patent No. 6,904,466 B1 (issued June 7, 2005) (Ex. 1004).
4
  U.S. Patent No. 7,028,337 B2 (issued Apr. 11, 2006) (Ex. 1005).
5
  U.S. Patent No. 6,976,177 B2 (issued Dec. 13, 2005) (Ex. 1006).
6
  U.S. Patent No. 6,954,790 B2 (issued Oct. 11, 2005) (Ex. 1007).

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                                       Appx8
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may be considered, including the “type of problems encountered in the art;
prior art solutions to those problems; rapidity with which innovations are
made; sophistication of the technology; and educational level of active
workers in the field.” In re GPAC, Inc., 57 F.3d 1573, 1579 (Fed. Cir. 1995)
(citing Custom Accessories, Inc. v. Jeffrey-Allan Indus., Inc., 807 F.2d 955,
962 (Fed. Cir. 1986)). “[O]ne or more factors may predominate.” Id.
      In our Decision on Institution, we adopted Petitioner’s proposed
definition for one having ordinary skill in the art at the time of the invention
of the ’810 patent as one who “would have had a B.S. degree in Computer
Engineering, Electrical Engineering, or an equivalent field, as well as at least
3–5 years of academic or industry experience in the Internet security
industry.” Pet. 12 (citing Ex. 1002 ¶¶ 20–21). Patent Owner does not
dispute our adoption of Petitioner’s definition, nor otherwise address the
level of ordinary skill at the time of the invention of the ’810 patent. See
generally PO. Resp.
      Because Petitioner’s definition of the level of skill in the art is
consistent with the ’810 patent and the asserted prior art, we maintain
Petitioner’s definition for purposes of this Final Written Decision. See
Okajima v. Bourdeau, 261 F.3d 1350, 1355 (Fed. Cir. 2001); GPAC, 57 F.3d
at 1579; In re Oelrich, 579 F.2d 86, 91 (CCPA 1978). We apply Petitioner’s
definition in our analysis below.

IV.   CLAIM CONSTRUCTION
      Because the Petition was filed after November 13, 2018, we construe
the challenged claims by applying “the standard used in federal courts, in
other words, the claim construction standard that would be used to construe
the claim in a civil action under 35 U.S.C. [§] 282(b), which is articulated in


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                                    Appx9
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Phillips [v. AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005) (en banc)].” See
Changes to the Claim Construction Standard for Interpreting Claims in Trial
Proceedings Before the Patent Trial and Appeal Board, 83 Fed. Reg. 51,340,
51,340, 51,358, 51,343–44 (Oct. 11, 2018) (amending 37 C.F.R. § 42.100(b)
effective November 13, 2018) (now codified at 37 C.F.R. § 42.100(b)
(2019)). Under Phillips, the words of a claim are generally given their
“ordinary and customary meaning,” which is the meaning they would have
to a person of ordinary skill in the art at the time of the invention, in light of
the specification and prosecution history. See Phillips, 415 F.3d at 1312–13.
      Petitioner does not submit any terms for construction. Pet. 12
(arguing that “[a]ll claim terms of the ’810 patent should receive their
ordinary and customary meaning”). Patent Owner submits the term
“security gateway” for construction, and argues that its meaning is in
dispute. PO Resp. 11–24. To show a dispute, Patent Owner quotes from our
Decision on Institution where we preliminarily found that (i) “Petitioner
argues that one of ordinary skill in the art would have understood that
Ishiyama’s ‘correspondent [host]’ would be a security gateway,” and (ii)
“there [wa]s sufficient support in the [preliminary] record that Ishiyama’s
correspondent host is a security gateway.” PO Resp. 11 (citing Dec. on Inst.
25, 33). Patent Owner argues “[t]hus, the claim construction dispute in this
proceeding is whether a correspondent host is a ‘security gateway.’” Id.
      For our analysis below, however, we do not rely on Petitioner’s
arguments that Ishiyama’s correspondent host is a security gateway. Rather,




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                                     Appx10
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we consider Petitioner’s alternative argument7 that Murakawa teaches a
security gateway in our analysis of challenged claim 7; the remaining
challenged claims are addressed without implicating this claim term. Thus,
we conclude that no express claim construction is necessary to determine
whether Petitioner has shown by a preponderance of evidence that the
challenged claims are unpatentable. See, e.g., Nidec Motor Corp. v.
Zhongshan Broad Ocean Motor Co., 868 F.3d 1013, 1017 (Fed. Cir. 2017)
(quoting Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803
(Fed. Cir. 1999)) (“[W]e need only construe terms ‘that are in controversy,
and only to the extent necessary to resolve the controversy.’”).

V.    PRINCIPLES OF LAW
      A claim is unpatentable under 35 U.S.C. § 103(a) if the differences
between the claimed subject matter and the prior art are such that the subject
matter, as a whole, would have been obvious at the time of the invention to a
person having ordinary skill in the art. KSR Int’l Co. v. Teleflex, Inc., 550
U.S. 398, 406 (2007). The question of obviousness is resolved on the basis
of underlying factual determinations, including (1) the scope and content of
the prior art; (2) any differences between the claimed subject matter and the
prior art; (3) the level of ordinary skill in the art; and (4) objective evidence
of non-obviousness, if present.8 See Graham, 383 U.S. at 17–18. When
evaluating a claim for obviousness, we also must “determine whether there


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  “Petitioner alternatively relies on Ishiyama’s teachings combined with
Murakawa’s teachings of a ‘security gateway configuration’ (e.g., ‘a security
gateway’ and ‘another terminal’) for disclosing claim 1.” Dec. on Inst. 24;
see also Pet. 12–54.
8
  Patent Owner does not present arguments or evidence of such objective
evidence of non-obviousness in its Response. See generally PO Resp.

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                                    Appx11
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was an apparent reason to combine the known elements in the fashion
claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)).

VI.   ALLEGED OBVIOUSNESS OVER ISHIYAMA AND
      MURAKAWA
      Petitioner argues that the combination of Ishiyama and Murakawa
renders claims 1, 4, 5, and 7 of the ’810 patent obvious under 35 U.S.C.
§ 103(a). Pet. 12–59. We have reviewed the parties’ arguments and the
evidence of record. For the reasons that follow, we determine that Petitioner
(1) fails to show by a preponderance of the evidence that claims 1, 4, and 5
would have been obvious to one of ordinary skill in the art in view of
Ishiyama and Murakawa; and (2) shows by a preponderance of the evidence
that claim 7 would have been obvious to one of ordinary skill in the art in
view of Ishiyama and Murakawa.

       A. Summary of Ishiyama
      Ishiyama relates to improving a mobile computer’s “capab[ility] of
carrying out communications while moving among a plurality of inter-
connected networks.” Ex. 1004, 1:9–11. In furtherance of this mobility,
Ishiyama discloses having the mobile computer notify its correspondent host
(i.e., the host at the other end of a communication) of its new address when
the mobile computer moves networks. E.g., id. at 3:43–67, 6:13–18, 15:37–
16:10. The mobile computer makes this notification by changing the source
address of an outer packet of an encapsulated packet to the mobile
computer’s new address before sending the packet to the correspondent host.
Id. When the correspondent host receives the packet from the mobile
computer, the correspondent host detects the address change and updates its



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                                   Appx12
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stored information to reflect the new address for the mobile computer. E.g.,
id. at 3:9–14.
      Figure 4, shown below, is a schematic diagram illustrating a mobile
computer changing locations in an exemplary configuration of a mobile
communication system, in accordance with an embodiment of Ishiyama’s
invention. Id. at 5:5–7, 5:11–13.
                                 FIG. 4

                         src : CoA 11 src : Haddr
                         dst : CN    dst : CN
                                                    I   IPSEC
                                                        TUNNEL


     CORRESPONDENT
     HOST 3
                                                                  MOBILE
     (ADDRESS=C N)
                                                                  COMPUTER2




                                                        MOVE




      Figure 4 “shows an exemplary situation in which a packet is
transferred from mobile computer 2 to . . . correspondent host 3 using [an]
IPSEC tunnel.” Id. at 8:33–35. Initially, mobile computer 2 communicates
with correspondent host 3 via an IPSec tunnel, with mobile computer 2’s
address (CoA1) indicating its endpoint of the tunnel. Id. at 8:43–49. In
other words, “mobile computer 2 transmits an encapsulated packet in which
the outer packet has the source address=‘CoA1’ and the destination
address=‘CN.’” Id. at 8:50–54. As shown, when mobile computer 2 moves,
its address changes from CoA1 to CoA2. Id. at 8:55–58, Fig. 4 (showing
that mobile computer 2 moves networks). To convey this change, mobile


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                                      Appx13
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computer 2 changes the source address of the outer packet to CoA2 and
transmits the packet to correspondent host 3 via the IPSec tunnel. Id. at
8:59–63, Fig. 4. Correspondent host 3 detects this change in mobile
computer 2’s address, and replaces the CoA1 address with CoA2 in its
database for the IPSec tunnel. Id. at 8:66–9:4; see also id. at Figs. 9B, 9D
(showing the update of the address in correspondent host 3’s SA database),
12:51–59. Ishiyama discloses that the other SA information “remain[s]
unchanged, so that there is no need to re-negotiate keys for IPS[ec]
encryption and authentication.” Id. at 9:5–10.

         B. Summary of Murakawa
      Murakawa relates to allowing a PC outside a LAN to be virtually
regarded as a PC on the LAN and communicate with a terminal on the LAN.
Ex. 1005, 1:16–24, 3:62–65. Specifically, Murakawa discloses allowing an
outside terminal to communicate (via a WAN, a security gateway, and a
LAN) with a terminal on the LAN. Id. at 1:11–24, 3:61–4:16.
      Petitioner’s annotated version of Murakawa’s Figure 5, which
illustrates a “prior art typical network system,” id. at 4:32–33, is shown
below.




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                        FIG. 5 PRIOR ART

                                                        Mobile
                                                       Terminal




                                                         Security
                                                         Gatew ay
                             Security gateway    103

                 104



                                                                      Ot her
                                                                    Terminals



                       105                 106            107



      Murakawa’s Figure 5 above shows a “prior art typical network
system” and is further annotated by Petitioner to add labels for a mobile
terminal, security gateway, and other terminals. Pet. 28. According to
Murakawa, Figure 5 “is a block diagram of a typical network system
including a WAN.” Ex. 1005, 1:51–53. As shown in Figure 5, the network
system includes “PC 101 [(labeled by Petitioner as ‘Mobile Terminal’)],
which is located outside . . . LAN [104 and] establish[es] a dialup
connection to the provider, WAN 102, and security gateway 103 [(labeled
by Petitioner as ‘Security Gateway’)] that connects WAN 102 and LAN
104.” Id. at 1:54–58. In addition, “LAN 104[,] being subjected to security
gateway 103[,] includes . . . client PCs 106, 107” (labeled by Petitioner as
“Other Terminals”). Id. at 1:59–60. Also shown is virtual private network
(“VPN”) 108, which is established between PC 101 and security gateway
103 to perform IPSec communication. Id. at 1:61–63. Murakawa discloses



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that this network system ensures safe communications between PC 101 and
the terminals on LAN 104. Id. at 2:1–4.

       C. Challenged Claim 1
      Among independent claim 1’s limitations is a “mobile terminal
sending a request message to the address of the security gateway to request
the security gateway to change the secure connection to be defined between
the second address and the address of the security gateway.” Ex. 1001,
10:59–63. Claim 1 further recites “the request message and/or a reply
message being encrypted and/or authenticated by using the same SA already
established.” Id. at 11:5–8 (emphases added). Petitioner does not argue,
however, that the combination of Ishiyama and Murakawa teaches “a reply
message,” or that the request message is “authenticated.” See Pet. 45–47;
Pet. Reply 18–19; Tr. 25:8–26:22. Hence, we focus on the request message
being encrypted.
      As we discuss below, we agree with Petitioner that Ishiyama teaches a
request message. See Pet. 35–37. However, we find that Petitioner fails to
show that Ishiyama teaches the request message is encrypted, for which
Petitioner relies solely on Ishiyama to teach.
      First, we agree with Petitioner and find that Ishiyama teaches that
after a mobile terminal moves from a first address (CoA1) to a second
address (CoA2), the mobile terminal sends a request message to the address
of the correspondent host to change the security association definition from
CoA1 to CoA2. Ex. 1004, 8:59–65; Pet. 35. Specifically, Ishiyama teaches
that “the mobile computer 2 changes the source address of the outer packet
of the encapsulated packet to be transmitted to the IPSEC tunnel by the
mobile computer 2 into ‘CoA2.’” Ex. 1004, 8:59–62; Pet. 35. We agree


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                                   Appx16
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with Petitioner that Ishiyama teaches that “the encapsulated packet in which
the outer packet has the source address =‘CoA2’ will be transferred.” Ex.
1004, 8:63–65; Pet. 35. This is shown in Ishiyama’s Figure 4, shown below
as annotated in the Petition. See Pet. 36 (providing annotated Figure 4).
                                     FIG. 4
             Security
                                                               Mobile
             Gateway                             IPSEC
                                                 TUNNEL       Terminal


                CORRESPONDEl'iT
                HOST 3
                (ADDRESS; CN)




                                                MOVE




                                      Mobile
                                     Terminal


      Annotated Figure 4 “is a schematic diagram for explaining operations
in the case where the mobile computer changes a connected location in the
mobile communication system,” with (i) a dotted-line red box around mobile
computer 2 at its first location, (ii) a solid-line red box around mobile
computer 2 at its second location, (iii) a solid-line green box around
correspondent host 3, (iv) a “Mobile Terminal” label for each mobile
computer 2 location, and (v) a “Security Gateway” label for correspondent
host 3. Ex. 1004, 5:11–13; Pet. 36 (annotating Ex. 1004, Fig. 4). Ishiyama’s
Figure 4 illustrates that after the mobile computer 2 moves to a second
address, a request message is sent from mobile computer 2 to correspondent
host 3, with the request message illustrated as a rectangle (with “src: Haddr”
and “dst: CN” labels) depicting the encapsulated packet, surrounded by a
larger rectangle, depicting the outer packet (with “src: CoA2” and “dst: CN”

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labels). Ex. 1004, Fig. 4, 8:59–65; Pet. 35–36. Thus, Ishiyama teaches the
entire transmitted packet comprises the request message. Id. at 8:59–65,
Fig. 4. This finding is consistent with Petitioner’s arguments made during
the oral hearing that Ishiyama’s entire transmitted packet (i.e., the
encapsulated packet plus the outer packet, which has the changed source
address) is the claimed request message. See, e.g., Tr. 27:23–28:4, 29:10–
17, 30:3–11, 34:14–35:1, 40:12–14, 65:8–67:7.
      Second, we agree with Petitioner and find that Ishiyama teaches that
the “[r]equest [is] for changing the security association to the correspondent
[host]” as part of mobile computer 2 performing a SA Gateway Update.
Pet. 36 (quoting Ex. 1004, 11:39–40); Ex. 1004, 11:39–46. More
specifically, Ishiyama teaches that mobile computer 2’s “request [is] to
change the previous CoA used as the destination in the security association
into the current CoA.” Ex. 1004, 11:43–45; see also Pet. at 36–37
(annotating Ex. 1004, Fig. 7; citing Ex. 1004, 12:54–57 (arguing that “[t]he
SA Gateway Update operation is depicted as operation (5) in Figure 7”)). In
other words, Ishiyama teaches that the request message is sent to request that
the correspondent host change the secure connection so as to be defined
between the mobile computer’s second address and the address of the
correspondent host. See, e.g., Ex. 1004, 11:39–45, 12:54–60, Fig 7; Pet. 36–
37. “As a result of these operations, at the correspondent [node] currently
communicating with the mobile computer 2, the endpoint of the IPSEC
tunnel is changed from ‘CoA1’ to ‘CoA2’ as the destination of all the
security associations is changed to the current CoA ‘CoA2.’” Ex. 1004,
12:66–13:3; Pet. 37.




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      Petitioner, however, fails to show that Ishiyama’s request message is
encrypted, as required by claim 1. Petitioner instead focuses on only a
portion of Ishiyama’s request message (i.e., the encapsulated packet) in
arguing that Ishiyama teaches that the request message is encrypted. See
Pet. 45–46; Pet. Reply 18. For example, Petitioner argues that “[r]egarding
the encryption of the request message, Ishiyama explains that the mobile
computer 2 includes ‘an encryption unit 114 for carrying out the
encapsulation and encryption on transmission packets.’” Pet. 45–46
(quoting Ex. 1004, 13:40–41; citing Ex. 1004, 13:33–35). “Indeed a main
requirement and pillar of IPsec is to encrypt messages,” according to
Petitioner. Id. at 46 (citing Ex. 1011, 4 at § 2.1, 6–7 at §§ 3.1–3.2).
Moreover, Petitioner argues that “Ishiyama explains that ‘[i]n the tunnel
mode IPSEC communications, the packet encapsulation and the
encryption/decryption of the inner packet are carried out and the IPSEC
module 22 [of mobile unit 2] has functions for realizing such encapsulation
and encryption/decryption processing.’” Pet. Reply 18 (quoting Ex. 1004,
7:56–60). “The mobile unit then uses this IPSEC module to transmit an
‘encapsulated packet’ via the IPSEC tunnel to update the address at the other
endpoint,” according to Petitioner. Id. at 18–19 (citing Ex. 1004, 8:55–
9:10). Petitioner argues that “[b]y using IPSec to perform the update, the
packet and the request message are encrypted.” Id. at 19 (citing Ex. 1020
¶¶ 60–62; Ex. 1011, 4 at § 2.1, 6–7 at §§ 3.1–3.2). Petitioner adds that
Patent Owner’s expert, “Dr. Rouskas[,] even confirmed this during his
deposition.” Id. (citing Ex. 1019, 175:19–176:2 (Dr. Rouskas testifying
“[s]o, yes, the payload of that packet is encrypted”)).




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      None of the passages that Petitioner cites for this limitation, however,
teach that the request message’s outer packet’s source address is encrypted.
Rather, Ishiyama only teaches that the encapsulated packet (payload) is
encrypted. E.g., Ex. 1004, 7:56–60. In fact, Petitioner admits that in
Ishiyama the request message’s outer packet’s source address is
unencrypted. See, e.g., Tr. 27:9–16. However, the outer packet’s source
address is a part of the request message in Ishiyama. See, e.g., Ex. 1004,
Fig. 4, 8:59–65. For example, Ishiyama teaches:
      [W]hen the current location address of the mobile computer is
      changed to a new address, the mobile computer notifies the
      change of the own current location address to the correspondent
      by setting the new current location address as the source address
      of the outer packet of the encapsulated packet. Upon receiving
      this encapsulated packet, the correspondent can continue
      communications by changing only the destination address of the
      outer packet to the new current location address in the
      encapsulated packets to be transmitted thereafter.
Id. at 6:13–22. Thus, Ishiyama describes the request message as including
the outer packet, and that packet is unencrypted.
      Claim 1 recites “the request message . . . being encrypted.” Ex. 1001,
11:6. Thus, the plain words of the claim state that the message is
encrypted—not that a portion of the message is encrypted. The ’810 patent
Specification likewise does not describe that only a portion of the request
message is encrypted. Id. at 9:63–10:8. Specifically, the Specification
discloses that, “[i]n signal 10a of [Figure 5],” which is sent from the mobile
terminal when a mobile terminal moves to address B, “a request for
registration (RREQ) of the new address is sent.” Id. at 9:66–10:2. The
Specification adds that “signal[] 10a . . . can be encrypted and/or
authenticated.” Id. at 10:4–5. Petitioner does not identify any description in


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the ’810 patent of encrypting only a portion of the request message. See Pet.
Reply 18–19; Tr. 67:8–68:20. At the hearing, Petitioner argued that one of
ordinary skill in the art would have understood that only a portion of the
message need be encrypted. Tr. 67:8–68:20. Petitioner, however, fails to
provide any persuasive evidence in support of this reading of the claim in
view of the express claim language and the description in the Specification.
      Petitioner’s papers provide no basis to allow for a portion of the
request message to be unencrypted. See generally Pet. 45–47; Pet. Reply.
18–19. Simply put, claim 1 requires that the request message (not just a
portion thereof) is encrypted, and Petitioner fails to show that Ishiyama’s
request message (which includes the unencrypted outer packet’s source
address) meets this requirement. Ex. 1001, 11:6; see also In re Hiniker Co.,
150 F.3d 1362, 1369 (Fed. Cir. 1998) (“[T]he name of the game is the
claim.”).
      Furthermore, during the oral hearing, Petitioner repeated its argument
that Ishiyama’s request message is encrypted because the encapsulated
packet is encrypted, even though the outer packet’s header is unencrypted.
See Tr. 27:9–11, 30:3–11. Having an unencrypted outer packet “would be
just like [what] the claims would require, as well, because you can’t send a
request message without having an outer packet that’s unencrypted,”
according to Petitioner. Id. at 30:12–16. Put differently, Petitioner argued:
      [T]he request message that’s being sent is encrypted. The outer
      header isn’t encrypted, but the rest of the message is. And there’s
      a reason why the outer header isn’t encrypted: because it can’t
      be. If the outer header was encrypted, then the message wouldn’t
      be able to be sent because nobody would be able to know what
      the destination and source addresses are. So, of course, the outer
      header isn’t encrypted, but the rest of the message is, in fact,
      encrypted.

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Id. at 27:9–16. We are not persuaded by Petitioner’s argument that Ishiyama
teaches this limitation because the outer header cannot be encrypted. First,
Petitioner does not point to any evidence to support this argument, and thus,
we do not credit it. See In re Geisler, 116 F.3d 1465, 1470 (Fed. Cir. 1997)
(explaining that attorney arguments and conclusory statements that are
unsupported by factual evidence are entitled to little probative value).
      Second, even if we consider this argument, Petitioner conflates a
request message that includes its unencrypted outer packet as a part of the
request message (such as in Ishiyama) with a request message that does not
(e.g., a request message that is contained wholly within the encrypted
encapsulated packet), and Petitioner does not account for the latter. E.g., Tr.
27:9–16, 30:12–16. Nor does Petitioner provide any argument or evidence
to show that an example request message (i.e., “a registration request
(RREQ)”) disclosed in the ’810 patent is not wholly within the encrypted
encapsulated packet. See generally Pet.; Pet. Reply; see also Ex. 1001,
7:43–62.
      Lastly, we find Patent Owner’s arguments concerning Ishiyama’s SA
Gateway Update not specifying a format (including as to whether there is
encryption) for its operation 5 of Figure 7 inapposite. PO Resp. 61–63.
Patent Owner ignores that the Petition also relies of Ishiyama’s Figure 4, and
its accompanying text, which teach that Ishiyama’s request message
comprises an outer packet having its source address changed to the second
(moved to) address and an encapsulated inner packet. Pet. 35–36 (citing Ex.
1004, 8:59–65; annotating Ex. 1004, Fig. 4). We likewise do not credit the
testimony of Patent Owner’s expert, Dr. Rouskas, on this point as he also



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ignores Ishiyama’s Figure 4, and its accompanying text. See Ex. 2003
¶ 157.
         In summary, we find that Petitioner fails to show that Ishiyama
teaches a limitation of claim 1, for which Petitioner relies on Ishiyama
solely. Thus, Petitioner has not demonstrated by a preponderance of the
evidence that claim 1 of the ’810 patent would have been obvious to one of
ordinary skill in the art in view of Ishiyama and Murakawa.

         D. Challenged Claims 4 and 5
         Claims 4 and 5 depend from independent claim 1, and thus,
incorporate claim 1’s limitations. We determine above that the combination
of Ishiyama and Murakawa fails to teach a limitation of independent claim 1.
In addition, the Petition does not present any information with respect to
dependent claims 4 or 5 that addresses the deficiencies discussed above
regarding independent claim 1. Pet. 54–59. Thus, Petitioner has not
demonstrated by a preponderance of the evidence that claims 4 and 5 of the
’810 patent would have been obvious to one of ordinary skill in the art in
view of Ishiyama and Murakawa.

         E. Challenged Claim 7
         Claim 7 is an independent claim. Petitioner combines Ishiyama and
Murakawa in two alternative ways in arguing that claim 7 9 would have been
obvious to one of ordinary skill in the art. See Pet. 12–54; Dec. on Inst. 24–
25, 37–38 (noting the two alternative ways). Below we address Petitioner’s

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  Petitioner argues that “[t]he limitations of independent claim 7 are
substantially similar to claim 1.” Pet. 47–48. Thus, for claim 7, Petitioner
adopts its arguments from claim 1 for the shared limitations. Id. Likewise,
“Patent Owner relies on the same responses it provided . . . for claim 1
regarding these limitations of claim 7.” PO Resp. 64–65.

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second way of combining Ishiyama and Murakawa (i.e., combining
Ishiyama’s address changing functionality with Murakawa’s security
gateway and another terminal)). In other words, Petitioner combines
Ishiyama’s “address updating for a mobile terminal operating in the IPsec
tunneling mode” with “Murakawa’s . . . security gateway configuration” for
“tunneling of communications through a security gateway so that two
terminals are able to communicate.” E.g., Pet. 23–24 (citing Ex. 1004, 7:46–
49; Ex. 1005, 4:13–16; Ex. 1002 ¶ 61). For that combination, we find that
Petitioner demonstrates by a preponderance of the evidence that claim 7
would have been obvious to one of ordinary skill in the art. Because of this
finding, we do not reach the parties’ arguments concerning the first way
Petitioner combines Ishiyama and Murakawa. For example, we do not reach
whether Ishiyama teaches that its correspondent host is a security gateway.

         1. Preamble
      Claim 7’s preamble recites “[a] method for ensuring secure
forwarding of a message in a telecommunication network, having at least
one mobile terminal and another terminal and a security gateway
therebetween.” Ex. 1001, 12:1–4. We agree with Petitioner and find that
the combination of Ishiyama and Murakawa teaches claim 7’s preamble.
Pet. 24–29, 47. As we find that Ishiyama and Murakawa teach the preamble,
we need not determine whether the preamble is limiting.
      As to Ishiyama, we agree with Petitioner that Ishiyama teaches “a
mobile communication scheme capable of easily changing a connected
location of a mobile computer on [an] IP network.” Ex. 1004, 2:42–45;
Pet. 25. More specifically, we find that Ishiyama teaches using care-of
addresses (“CoA”) for a “mobile computer 2 [that] always uses the IPSEC in


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the tunnel mode at a time of making a connection to the correspondent
host 3.” Ex. 1004, 7:66–67, 11:9–16; Pet. 25.
      As to Murakawa, we agree with Petitioner and find that Murakawa
teaches forwarding messages received from a terminal at a security gateway
located between the terminal and another terminal. E.g., Ex. 1005, Fig. 5;
Pet. 27–28 (annotating Ex. 1005, Fig. 5). As illustrated in Figure 5,
Murakawa discloses that PC 101 establishes an IPSec tunnel (VPN 108),
with security gateway 103. Ex. 1005, 1:61–63, 2:62–65, Fig. 5; Pet. 28.
Murakawa’s security gateway 103 connects to PC 106 and PC 107.
Ex. 1005, 1:59–60. We agree with Petitioner and find that either PC 106 or
PC 107 is the claimed another terminal. Id. at 1:61–2:4, Fig. 5; see also
Pet. 28 (annotating Ex. 1005, Fig. 5 (labeling PC 106 and PC 107 “Other
Terminals”)). We find that Murakawa’s network system allows for PC 101
and another terminal (e.g., PC 106 or PC 107) to communicate securely via
security gateway 103. Ex. 1005, 1:64–2:4, Fig. 5; Pet. 28.
      Lastly, we are not persuaded by Patent Owner’s arguments that
“[i]ncorporating Murakawa’s security gateway 103 into Ishiyama does not
fill in the missing limitation of . . . ‘[an]other terminal’ because no host
computer has been incorporated from Murakawa.” PO Resp. 49; see also id.
at 45 (explaining that the claim recites “another terminal” and “other
terminal”). Put differently, Patent Owner argues that “Petitioner’s
modification of Ishiyama by Murakawa does not explain how the
combination provides the recited ‘other terminal.’” Id. (citing Ex.
2003 ¶¶ 143–144). To the contrary, Petitioner argues that “Murakawa
describes the forwarding of messages at a security gateway located between
a mobile terminal and other terminals.” Pet. 27. Petitioner then proceeds to


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describe Murakawa’s Figure 5, and to identify Murakawa’s PC 106 and PC
107 as other terminals. See id. at 27–28 (citing Ex. 1005, 1:59–63;
annotating Ex. 1005, Fig. 5 (labeling PC 106 and PC 107 “Other
Terminals”)). Petitioner again identifies Murakawa’s PC 106 as the other
terminal when arguing that the other terminal sends a secure message to the
second address of the mobile terminal via the security gateway. Pet. 52
(annotating Ex. 1005, Fig. 8 (labeling PC 106 “Other Terminal”). Thus, we
disagree with Patent Owner that “no host computer has been incorporated
from Murakawa.” PO Resp. 49.
      In summary, we find combining Ishiyama’s mobile address changing
functionality with Murakawa’s security gateway and another terminal
teaches “[a] method for ensuring secure forwarding of a message in a
telecommunication network, having at least one mobile terminal and another
terminal and a security gateway therebetween.”

         2. Establishing a Secure Connection
      Claim 7 further recites “establishing a secure connection between a
first address of the mobile terminal and an address of the security gateway,
the secure connection defined by at least the addresses of the mobile
terminal and the security gateway.” Ex. 1001, 12:5–9. We agree with
Petitioner that the combination of Ishiyama and Murakawa teaches this
limitation. Pet. 29–33, 47. We find that Ishiyama teaches that mobile
computer 2 first establishes an IPSec tunnel between its first address (CoA1)
and correspondent host 3’s address (CN). Ex. 1004, 8:25–26, 8:36–38,
8:43–47, 8:50–53, 11:9–17, 12:3–5, Fig. 4; Pet. 30–31, 45. Furthermore,
Ishiyama teaches that the IPSec tunnel is defined by, inter alia, the addresses




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of mobile computer 2 and correspondent host 3. Ex. 1004, 12:9–12, 12:51–
59; Figs. 9A, 9B; Pet. 32–33.
      In addition, we agree with Petitioner and find that Murakawa teaches
a security gateway. Ex. 1005, 1:59–2:4, 2:62–65, 4:13–16, Fig. 5; Pet. 23–
24, 27–29, 28 (citing Ex. 1005, Fig. 5) (annotating the figure with “Security
Gateway”). Moreover, Murakawa teaches establishing a secure connection
between a terminal (PC 101) and the security gateway. Ex. 1005, 1:61–63
(“[I]n order to perform the IPsec communication, VPN 108 is established
between PC 101 and security gateway 103.”), Fig. 5.
      In summary, we find combining Ishiyama’s mobile address changing
functionality with Murakawa’s security gateway and an other terminal
teaches “establishing a secure connection between a first address of the
mobile terminal and an address of the security gateway, the secure
connection defined by at least the addresses of the mobile terminal and the
security gateway.”

         3. Mobile Terminal Moving Addresses
      Claim 7 further recites “the mobile terminal moving from the first
address to a second address.” Ex. 1001, 12:10–11. We agree with Petitioner
and find that Ishiyama teaches that after the IPSec tunnel has been
established, Ishiyama’s mobile computer 2 moves networks, moving from a
first address (CoA1) to a second address (CoA2). See, e.g., Ex. 1004, 8:55–
57, Fig. 4; Pet. 34, 48. This is depicted in Ishiyama’s Figure 4, as annotated
by Petitioner, where mobile terminal 2 moves from its first location (dashed
red box corresponding to CoA1) to its second location (solid red box
corresponding to CoA2). See Pet. 34 (annotating Ex. 1004, Fig. 4).




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      Based on Ishiyama’s teachings, we find that the combination of
Ishiyama and Murakawa teaches “the mobile terminal moving from the first
address to a second address.”

         4. While at the Second Address
      Claim 7 further recites “while at the second address, the mobile
terminal sending a request message to the address of the security gateway to
request the security gateway to change the secure connection to be defined
between the second address and the address of the security gateway.”
Ex. 1001, 12:12–16. We agree with Petitioner and find that the combination
of Ishiyama and Murakawa teaches this limitation. Pet. 35–37, 48. We find
Ishiyama teaches that after changing addresses, mobile computer 2 sends a
request message (having CoA2 for its outer packet’s source address) to
correspondent host 3 via the IPSec tunnel, requesting that correspondent host
3 update to mobile computer 2’s new address. Ex. 1004, 8:59–65, 11:39–45,
12:66–13:5, Figs. 4, 7; Pet. 35–37. We provide a more detailed analysis of
Ishiyama’s request message above in our discussion of claim 1. 10 See supra
Section VI(C) (addressing, inter alia, Ishiyama’s Figures 4 and 7, and
accompanying text). Our findings above regarding Ishiyama’s request
message also apply here. Id. In addition, as we discuss in detail above,
Murakawa teaches a security gateway, as well as establishing a secure
connection between a terminal (PC 101) and the security gateway. See, e.g.,
Ex. 1005, 1:59–2:4, 2:62–65, 4:13–16, Fig. 5; supra Section VI(E)(1)–(2)



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  Although claim 1 and claim 7 both recite this limitation, claim 7 does not
have an additional limitation requiring that the request message is encrypted.
Compare Ex. 1001, 10:48–11:8, with Ex. 1001, 12:1–22.

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(discussing our findings regarding, inter alia, Figure 5’s and Figure 8’s
teachings).
      We find combining Ishiyama’s mobile address changing functionality
with Murakawa’s security gateway and another terminal teaches “while at
the second address, the mobile terminal sending a request message to the
address of the security gateway to request the security gateway to change the
secure connection to be defined between the second address and the address
of the security gateway.”

         5. Security Gateway Changing an Address Definition
      Claim 7 further recites “the security gateway changing an address
definition of the secure connection from the first address to the second
address.” Ex. 1001, 12:17–19. We agree with Petitioner and find that the
combination of Ishiyama and Murakawa teaches this limitation. Pet. 37–39,
48. We find that Ishiyama teaches that correspondent host 3 detects mobile
computer 2’s address change based on the request message (i.e., the source
address in the request message’s outer packet has changed), and updates
mobile computer 2’s address to CoA2 for the IPSec tunnel in the
correspondent host’s SA database. See Ex. 1004, 8:66–9:4, 12:51–59,
Figs. 9B, 9D (illustrating exemplary SA databases); Pet. 38. Ishiyama’s
Figure 9B (mobile computer’s first location) and Figure 9D (mobile
computer’s second location) illustrate this update at the correspondent host
(labeled “CN” in the figures) by replacing Figure 9B’s “dst” field value of
“CoA1” with “CoA2,” as shown in Figure 9D. Compare Ex. 1004, Fig. 9B,
with id. at Fig. 9D. “As a result of these operations, at the correspondent
[node] currently communicating with the mobile computer 2, the endpoint of
the IPSEC tunnel is changed from ‘CoA1’ to ‘CoA2’ as the destination of all


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the security associations is changed to the current CoA ‘CoA2’.” Ex. 1004,
12:66–13:3; Pet. 39. In addition, as we discuss in detail above, Murakawa
teaches a security gateway, as well as establishing a secure connection
between a terminal and the security gateway. See, e.g., Ex. 1005, 1:59–2:4,
2:62–65, 4:13–16, Fig. 5; supra Section VI(E)(1)–(2) (discussing our
findings regarding, inter alia, Figure 5’s and Figure 8’s teachings).
      In summary, we find combining Ishiyama’s mobile address changing
functionality with Murakawa’s security gateway and another terminal
teaches “the security gateway changing an address definition of the secure
connection from the first address to the second address.”

         6. Other Terminal Sending a Secure Message
      Claim 7 further recites “the other terminal sending a secure message
in the secure connection to the second address of the mobile terminal via the
security gateway.” Ex. 1001, 12:20–22. We agree with Petitioner and find
that the combination of Ishiyama and Murakawa teaches this limitation.
Pet. 48–54. We find that Ishiyama teaches sending a secure message from
Ishiyama’s correspondent host to the mobile computer’s second location, as
shown below in Figure 7’s operation (7), as annotated by Petitioner. See
Pet. 49 (annotating Ex. 1004, Fig. 7).




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                            (1 ) SA GENERATION BY KEY
                                 MANAGEMENT PROTOCOL

                          (2) Src: CoAJ
                              Dst : CN
                                           ESP
                                           SPl::cl      I Src : Haddr
                                                        . Dst : CN
                                                                           II
                                                                           __



                (3) Src : CN
                    Ost : CoAl
                                 ESP
                                 SPl=m I
                                           I   Src : CN
                                               Dst : Haddr
                                                               II
                 (MOVED TO N2 : CoA2 ACQUIRED)

                 (4) REGISTER CoA2 INTO DNS SERVER
                     USlNG Dynamic DNS Update
                        (5) SA Gateway Update Haddr: CoA l-+CoA2


                          (6) Src : CoA2
                              Dst : CN
                                           ESP
                                           SPJ=el       I. Dst : CN I__I
                                                             Src : Haddr




                 (7) Src : CN  ESP
                     Ost: CoA2 SPJ=ml
                                           I   Src : CN
                                               Dsf: Hadclr
                                                             II

      Annotated Figure 7 “is a sequence chart showing an exemplary
processing sequence in the case where the mobile computer initiates
communications at a visited site and then changes . . . location” with a green
box around the correspondent node (“CN”) identifier and a red box around
the mobile computer identifier (“MN”). Ex. 1004, 5:20–23; Pet. 49
(annotating Ex. 1004, Fig. 7). Ishiyama teaches that as a result of its CoA
update operations, “at the correspondent [host] currently communicating
with the mobile computer 2, the endpoint of the IPSEC tunnel is changed
from ‘CoA1’ to ‘CoA2’ as the destination of all the security associations,’”
and “[c]onsequently, the session is guaranteed even when the mobile
computer 2 moves . . . .” Ex. 1004, 12:66–13:5; Pet. 49. Put differently, as
Figure 7 illustrates, the secure message is sent to the second address of the
mobile terminal from Ishiyama’s correspondent host. Ex. 1004, Fig. 7



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(illustrating for operation (7) that the outer packet’s Src: has the value “CN”
and Dst: has the value “CoA2”).
      As to Murakawa, we agree with Petitioner and find that Murakawa
teaches an other terminal sending a secure message in a secure connection to
an address of a terminal via the security gateway. E.g., Ex. 1005, Fig. 5; Pet.
51–53. This is shown in Murakawa’s Figure 5, shown below as annotated in
the Petition. See Pet. 51 (providing annotated Figure 5).
                       FIG. 5    PRIOR ART

                                101
                                                         Mobile


                                         □
                                                        Ter minal




                                                  102




                                                            Security
                                                            Gateway
                                                  103




                                                                        Other


                                       □□
                                                                       Terminals

                                      t:==:l -        c=:::J . . . .


                      105                  106               107


      Murakawa’s Figure 5, as annotated by Petitioner, shows a “prior art
typical network system” with (i) a red box around PC 101 and labeled
“Mobile Terminal,” (ii) a green box around security gateway 103 and
labeled “Security Gateway,” and (iii) a blue box around each of PC 106 and
PC 107, and labeled “Other Terminals.” Ex. 1005, 4:32–33; Pet. 51
(annotating Ex. 1005, Fig. 5). As illustrated in Figure 5, Murakawa teaches


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that an other terminal (PC 106) sends a secure message in the secure
connection (VPN 108) to the mobile terminal (PC 101) via security gateway
103. Id. at 1:61–2:4, 2:62–65, Fig. 5; see also supra Section VI(E)(1)
(discussing our findings regarding Figure 5’s teachings). Furthermore,
Figure 8, shown below as annotated in the Petition, also illustrates the
addressing of the secure message sent from PC 106 (other terminal) to the
PC 101 (mobile terminal).
                                       FIG. 8   PRIOR ART

                                                                         Mobile
               Security                           Encapsulating         Terminal
               Gateway                                                IP address : A




                                          104
                                                                  IC IA I    Data



                        □
                106
                                                  209
                       ==
                      IP address : C     C A      Data

                           Other
                          Terminal


      Annotated Figure 8 “illustrates diagrammatically . . . prior art IPsec
communication in the tunnel mode” with (i) a red box around PC 101 and
labeled “Mobile Terminal,” (ii) a green box around security gateway 103
and labeled “Security Gateway,” and (iii) a blue box around PC 106, and
labeled “Other Terminal.” Ex. 1005, 4:41–42; Pet. 52 (annotating Ex. 1005,
Fig. 8). As illustrated, “IP addresses ‘A’, ‘B’, and ‘C’ are assigned to PC
101, security gateway 103, and client PC 106, respectively.” Ex. 1006, Fig.
5, 3:4–6; Pet. 52. Murakawa teaches the following:



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            When client PC 106 on LAN 104 transmits an IP packet
      to PC 101, which has established connection with PC 106 via
      VPN 108,
            1) client PC 106 generates IP packet 100 in which the
          sender’s IP address is “C” and the receiver’s IP address is
          “A”, then sends it to security gateway 103;
            2) received packet 100, gateway 103 identifies that the
          packet is the one to be sent to PC 101 which has established
          VPN 108;
            3) gateway 103 encapsulates IP packet 100 according to
          exchanged information during the IKE communication;
            4) the IP header including the sender’s IP address B and
          the receiver’s IP address “A” is added to outside the
          originally set IP address;
            5) authentication information is added to the encapsulated
          IP packet based on the exchanged information, then the IP
          packet is encrypted;
            6) received the encapsulated packet via VPN 108, PC 101
          retrieves encapsulated original IP packet 100 from the
          received packet, according to the exchanged information,
          then process[es] it.
Ex. 1005, 3:8–28; Pet. 52–53. In other words, Murakawa teaches an other
terminal sending a secure message in a secure connection to an address of a
mobile terminal via the security gateway. Id. Furthermore, we credit Dr.
Goldschlag’s testimony that one of ordinary skill in the art would have
understood that Murakawa teaches a well-known IPSec tunnel mode
configuration with a security gateway facilitating communication between a
mobile terminal and other terminals because this testimony is consistent with
our findings of Murakawa’s teachings. See Ex. 1002 ¶¶ 66–67.
      Accordingly, we find that the combination of Ishiyama and Murakawa
teaches the other terminal (PC 106) sending a secure message in the secure
connection (VPN 108) to the second address (CoA2) of the mobile terminal
via security gateway 103.


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      Lastly, we are not persuaded by Patent Owner’s arguments that
Ishiyama’s “operation (7) is an end-to-end, two-component secure
communication from correspondent terminal CN to mobile terminal MN,”
and does not teach “[t]he three-component communication called for by the
claim (other terminal-security gateway-first terminal).” PO Resp. 66–67
(citing Ex. 2003 ¶¶ 161–162). Patent Owner focuses on Ishiyama’s
teachings individually, rather than the combined teachings of Ishiyama and
Murakawa. See In re Merck & Co., 800 F.2d 1091, 1097 (Fed. Cir. 1986)
(“Non-obviousness cannot be established by attacking references
individually where the rejection is based upon the teachings of a
combination of references”). Again, as to the second way Petitioner
combines Ishiyama and Murakawa, Ishiyama’s mobile address changing
functionality is combined with Murakawa’s security gateway configuration
(e.g., security gateway 103 and other terminal 106). See Pet. 12–54; Dec. on
Inst. 24–25, 37–38 (noting the two alternative ways). Hence, a mobile
terminal securely communicates with another terminal via Murakawa’s
security gateway 103 rather than Ishiyama’s correspondent host 3. Id.
      In summary, we find combining Ishiyama’s mobile address changing
functionality with Murakawa’s security gateway and another terminal
teaches “the other terminal sending a secure message in the secure
connection to the second address of the mobile terminal via the security
gateway.”

         7. Combining Ishiyama and Murakawa
      For the reasons we provide below, we find that Petitioner has
demonstrated by a preponderance of the evidence that one of ordinary skill
in the art would have found it obvious to combine Ishiyama’s mobile


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address changing functionality with Murakawa’s security gateway and other
terminal in the manner claimed.
      First, we agree with Petitioner and find that Ishiyama teaches using
IPSec in tunnel mode with its mobile address changing functionality. E.g.,
Ex. 1004, 8:43–65, 11:9–16, Fig. 4; Pet. 21–22, 24. More specifically, we
find that Ishiyama teaches that “mobile computer 2 always uses the IPSEC
in the tunnel mode at a time of making a connection to the correspondent
host 3.” Ex. 1004, 11:9–16. Figure 4 also illustrates that mobile computer 2
connects to correspondent host 3 via an IPSec tunnel. See Ex. 1004, Fig. 4
(labeling the connections as “IPSEC TUNNEL”), 8:43–65; Pet. 25.
      Second, Petitioner persuasively shows that one of ordinary skill in the
art would have understood that tunnel mode was used for communicating via
a security gateway. Specifically, we find that one of ordinary skill in the art
would have known that “[t]unnel mode . . . is generally used for sending




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messages through more than two components . . . .” Ex. 1001, 3:16–1911;
Pet. 21 (citing Ex. 1001, 3:16–27, Ex. 1002 ¶ 57). We also credit in support
of this finding the below deposition testimony of Patent Owner’s expert, Dr.
Rouskas, who testified as follows:
      Q: So in all the instances where you personally have used IPSec,
      you have only ever used IPSec tunnel mode with security
      gateway being one of the endpoints. Right?

      A: So I have been using IPSec for, you know, more than 20
      years. But to the best of my recollection that is right, I have only
      used it when one of endpoints is security gateway.

Ex. 1019, 111:21–112:9; Pet. Reply 8. In addition, we credit Dr.
Goldschlag’s declaration testimony, which is consistent with
contemporaneous evidence in the record, that “[t]unnel mode is used when


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   “Statements in a challenged patent’s specification may be used . . . when
they evidence the general knowledge possessed by someone of ordinary skill
in the art.” Memorandum: Treatment of Statements of the Applicant in the
Challenged Patent in Inter Partes Reviews Under § 311 (Aug. 2020)
(available at
https://www.uspto.gov/sites/default/files/documents/signed_aapa_guidance_
memo.pdf), 4. “Permissible uses . . . under § 103 include . . . supporting a
motivation to combine particular disclosures.” Id. at 6 (citing Koninklijke
Philips v. Google, 948 F.3d 1330, 1337–38 (Fed. Cir. 2020)). We find that
the statements cited by Petitioner from the ’810 patent’s Technical
Background section evidence the general knowledge possessed by one of
ordinary skill in the art at the time of the invention of the ’810 patent as they
are contained in the “Technical Background” section and are consistent with
the evidence of record. See, e.g., Pet. 8 (citing, e.g., Ex. 1001, 3:8–9, 3:12–
13, 3:19–21), 11 (citing Ex. 1001, 3:19–21), 20 (citing same), 21 (citing
Ex. 1001, 3:19–27). Patent Owner does not challenge Petitioner’s reliance
on statements from the Technical Background section of the ’810 patent.
See generally PO Resp. Even so, we reach the same conclusions even
without reliance on the statements from the ’810 patent.

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one or both ends of an SA is a security gateway . . . that implements IPSec.”
Ex. 1002 ¶ 33 (quoting Ex. 1009, 14) (emphasis omitted); see also Ex. 1001,
3:19–21 (admitting that “tunnel mode is often used when one or both ends of
a SA is a security gateway, such as a firewall or a router that implements
IPSec”); Pet. 50.
      Lastly, we agree with Petitioner and find that tunneling packets
through a security gateway for two terminals to communicate (such as in
Murakawa) was well-known in the art at the time of the invention of the
’810 patent. Pet. 27–29. In particular, we find that Murakawa’s security
gateway configuration (e.g., Figure 5) is “a prior art typical network
system,” which provides communications between terminals. Ex. 1005,
4:32–33, Fig. 5; Pet. 27–28. Moreover, in its Technical Background section,
the ’810 patent teaches the following:
             The IPSec tunnel mode operates e.g. in such a way that if
      a host on a network generates an IP packet with a destination
      address of another host on another network, the packet is routed
      from the originating host to a security gateway (SGW), firewall
      or other secure router at the boundary of the first network. The
      SGW or the like filters all outgoing packets to determine the need
      for IPSec processing. If this packet from the first host to another
      host requires IPSec, the firewall performs IPSec processing and
      encapsulates the packet in an outer IP header. The source IP
      address of this outer IP header is this firewall and the destination
      address may be a firewall that forms the boundary to the other
      local network. This packet is now routed to the other host[’]s
      firewall with intermediate routers examining only the outer IP
      header. At the other host firewall, the outer IP header is stripped
      off and the inner packet is delivered to the other host.

Ex. 1001, 3:44–59; see also Pet. 50 (citing same). In other words, this
passage also teaches that tunneling packets through a security gateway for
two terminals to communicate was well-known in the art at the time of the

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invention of the ’810 patent. Ex. 1001, 3:44–59. We also credit Dr.
Goldschlag’s testimony that it was well-known in the art for a security
gateway, such as that disclosed in Murakawa, to facilitate communication
between a mobile terminal and other terminals as this testimony is consistent
with Murakawa’s teachings. Ex. 1002 ¶ 66; Pet. 53.
      In summary, we find that (1) Ishiyama’s address changing
functionality employs tunnel mode, (2) tunnel mode was generally used
when at least one end of an SA was a security gateway, and (3) Murakawa
teaches a typical, prior art security gateway configuration. Based on these
findings, we find that one of ordinary skill in the art would have found it
obvious to employ Ishiyama’s address changing functionality with a security
gateway, such as taught in Murakawa. See PGS Geophysical AS v. Iancu,
891 F.3d 1354, 1365 (Fed. Cir. 2018) (“[T]he motivation to modify a
reference can come from the knowledge of those skilled in the art, from the
prior art reference itself, or from the nature of the problem to be solved.”)
(citation omitted).
      Put differently, based on these findings, Ishiyama’s use of tunnel
mode would have suggested to one of ordinary skill in the art using
Ishiyama’s address changing functionality with Murakawa’s security
gateway configuration. Id.; Pet. 23–24, 27 (citing Ex. 1002 ¶¶ 33–36), 28–
29, 53. We also credit Dr. Goldschlag’s testimony that one of ordinary skill
in the art “reading Ishiyama would have understood that the use of tunnel
mode suggests the use of a security gateway that tunnels messages to an
‘other node.’” Ex. 1002 ¶ 61 (citing id. ¶¶ 33–36); Pet. 24. This testimony
is consistent with our findings discussed above.




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      Additionally, we also credit the following testimony of Dr.
Goldschlag:
      [I]n view of Ishiyama’s stated goal of addressing a mobile
      terminal with a changing address, [one of ordinary skill in the
      art] would have understood that implementing Ishiyama’s
      correspondent host functionality with the security gateway
      described in Murakawa would be highly desirable in the
      telecommunication context. As Ishiyama explains, implementing
      its IPsec address updating algorithm allows a mobile terminal
      and a security gateway to maintain communication ‘without
      interrupting the session’ initially established even when the
      mobile terminal changes to another address.
Ex. 1002 ¶ 67 (citing Ex. 1004, 6:54–60); see also Pet. 29 (citing
Ex. 1002 ¶ 67). We find that one of ordinary skill in the art would have
been motivated to incorporate Ishiyama’s mobile address changing
functionality with Murakawa’s security gateway configuration “to maintain
communication ‘without interrupting the session’ initially established even
when the mobile terminal changes to another address.” Ex. 1002 ¶ 67; KSR,
550 U.S. 417 (“[I]f a technique has been used to improve one device, and a
person of ordinary skill in the art would recognize that it would improve
similar devices in the same way, using the technique is obvious . . . .”).
Moreover, we do not find this testimony conclusory, as Patent Owner alleges
(PO Resp. 50), because Dr. Goldschlag explains why combining Ishiyama
and Murakawa would have been highly desirable (i.e., because it would
maintain communication without interrupting the session). Ex. 1002 ¶ 67
(citing Ex. 1004, 6:54–60). We agree that having no interruption when the
mobile terminal moves “would [have] be[en] highly desirable in the
telecommunication context.” Id.




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      We are not persuaded by Patent Owner’s arguments that Petitioner
“fails to provide the requisite explanation as to how Ishiyama and Murakawa
are to be combined or what is the operation of the resulting
combination.” PO Resp. 51–52; see also id. at 59 (citing Ex. 2003 ¶ 152),
67 (citing Ex. 2003 ¶ 165) (making same arguments). Rather, we agree with
Petitioner and find that one of ordinary skill in the art “could[12] have easily
performed th[e] implementation” of combining Ishiyama’s address changing
functionality with the security gateway described in Murakawa “in view of
the security gateway suggestion from Ishiyama’s tunnel mode operation.”
Pet. 29 (citing Ex. 1002 ¶ 67). Simply put, Ishiyama’s mobile computer 2
communicates with correspondent host 3 using IPSec tunnel mode just as
Murakawa’s PC 101 communicates with security gateway 103 using IPSec
tunnel mode. E.g., Ex. 1004, 8:43–49, 11:9–16, Fig. 4; Ex. 1005, 1:61–63,
2:62–65, Fig. 5; Pet. 53. Ishiyama’s address changing functionality utilizes
the outer packet’s source address with Ishiyama’s tunnel mode connection.
E.g., 1004, 8:43–65, Fig. 4. Petitioner’s combination likewise utilizes the
outer packet’s source address (as in Ishiyama) with Murakawa’s tunnel
mode connection. E.g., 1004, 8:43–65, Fig. 4.; Ex. 1005, 1:59–2:4, Fig. 5;
Pet. 43–44; Pet. Reply 16–17 (citing Pet. 43–44; Ex. 1020 ¶¶ 48–56).


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   Although we consider whether one of ordinary skill in the art “could”
have combined Ishiyama’s and Murakawa’s relevant teachings with respect
to these arguments related to operability, we above find that one of ordinary
skill in the art “would” have combined Ishiyama’s and Murakawa’s relevant
teachings. See PGS Geophysical, 891 F.3d at 1365 (recognizing that
whether one of ordinary skill in the art “could” or “would” have combined
references are related, separate questions); see also supra Section VI(E)(7)
(finding that one of ordinary skill in the art would have combined the
references).

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Moreover, we do not find Dr. Goldschlag’s testimony conclusory, as Patent
Owner alleges (PO Resp. 68), but rather Dr. Goldschlag explains that one of
ordinary skill in the art could have easily combined Ishiyama’s address
changing functionality with the security gateway described in Murakawa in
light of Ishiyama’s tunnel mode operation (i.e., both Murakawa and
Ishiyama employ tunnel mode). See Ex. 1002 ¶ 67.
      We also are not persuaded by Patent Owner’s argument that “the
security gateway 103 and computer 106 illustrated in Murakawa’s Figure 5
could not be combined into the address changing system as of Ishiyama
illustrated in Figure 4.” PO Resp. 53. In particular, Patent Owner argues
“that Ishiyama’s security policy databases [(“SPDs”)] (Figures 8A–8B) and
the security association databases [(“SADs”)] (Figures 9A–9D) would not
operate if the components of Murakawa were inserted in place of Ishiyama’s
correspondent host.” Id. (citing Ex. 2003 ¶ 148). Contrary to Patent
Owner’s arguments, however, “it is not necessary that the inventions of the
references be physically combinable to render obvious the invention under
review.” In re Sneed, 710 F.2d 1544, 1550 (Fed. Cir. 1983). The relevant
inquiry is whether the claimed subject matter would have been obvious to
those of ordinary skill in the art in light of the combined teachings of those
references. See In re Keller, 642 F.2d 413, 425 (CCPA 1981). And, as we
find above, one of ordinary skill in the art would have found it obvious to
combine Ishiyama’s address changing functionality with Murakawa’s
security gateway and other terminal. This does not mean that Ishiyama’s
specific SPD and SAD databases are used in that combination, as Patent
Owner argues. In re Nievelt, 482 F.2d 965, 968 (CCPA 1973) (“Combining
the teachings of references does not involve an ability to combine their


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specific structures.”); see also In re Mouttet, 686 F.3d 1322, 1332 (Fed. Cir.
2012) (“It is well-established that a determination of obviousness based on
teachings from multiple references does not require an actual, physical
substitution of elements.” (citing In re Etter, 756 F.2d 852, 859 (Fed. Cir.
1985) (en banc))). Rather, one of ordinary skill in the art would have
“be[en] able to fit the teachings of [Ishiyama and Murakawa] . . . together
like pieces of a puzzle” because the skilled artisan is “a person of ordinary
creativity, not an automaton.” KSR, 550 U.S. at 420–21. Likewise, we are
not persuaded by Patent Owner’s example that if a new terminal with a new
address was added, “the Ishiyama system would be unable to process
messages sent to or received from the new terminal” because the new
address would not be found in Ishiyama’s SPD. PO Resp. 53–54. Again,
combining the teachings of Ishiyama and Murakawa does not involve
woodenly combining their specific structures, and does not require using
Ishiyama’s specific SPD. Nievelt, 482 F.2d at 968. And, Murakawa’s
existing role in addressing packets between terminals (e.g., PC 101 and PC
106) also remains a part of Petitioner’s combination. See, e.g., supra
Section VI(E)(6) (discussing Murakawa’s Figure 8, and accompanying text,
concerning addressing messages sent between terminals via a security
gateway); Pet. 52–53.
      Likewise, we are not persuaded by Patent Owner’s argument that
“Petitioner fails to explain what modifications to Ishiyama’s . . . [SPDs and
SADs] would be required for Ishiyama to work with security gateway 103 as
the opposing endpoint instead of correspondent host 3.” PO Sur-Reply 20
(citing Ex. 1004, Figs. 8–9). Again, Ishiyama’s specific SPDs and SADs are
not part of Petitioner’s combination. In re Nievelt, 482 F.2d at 968. In


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addition, we agree with Petitioner and find that SADs and SPDs are
commonplace in IPSec communications, and security gateways are required
to have at least “one pair of SADs and one pair of SPDs.” See Pet. Reply 13
(citing Ex. 1011, 13; Ex. 1019, 89:8–15); see also Ex. 1020 ¶ 56. And, we
agree with Petitioner that Ishiyama’s description of SPDs and SADs “does
not preclude the operation of a security gateway also implementing these
components.” Pet. Reply 17 (citing Ex. 1020 ¶ 56). In other words, we find
that one of ordinary skill in the art would have understood that the address
changing functionality used with Ishiyama’s SPDs and SADs also can be
used with the SPDs and SADs of a common security gateway configuration,
such as described by Murakawa. See Ex. 1011, 13; Ex. 1019, 89:8–15;
Ex. 1020 ¶ 56. Accordingly, we find that one of ordinary skill in the art
would have found it obvious to combine the teachings of Ishiyama and
Murakawa to provide for Ishiyama’s address changing functionality being
incorporated into Murakawa’s security gateway configuration. See KSR,
550 U.S. at 420–21 (finding the skilled artisan would “be able to fit the
teachings of multiple patents together like pieces of a puzzle” because the
skilled artisan is “a person of ordinary creativity, not an automaton”). In
addition, we find misplaced Patent Owner’s focus on Petitioner’s use of the
word “preclude.” PO Sur-Reply 18 (arguing that Ishiyama “should be
interpreted for what it affirmatively teaches as opposed to what it does not
‘preclude’”) (citation omitted). In the context of Petitioner’s argument, it is
clear that Petitioner means that Murakawa’s security gateway’s SPDs and
SADs also can implement Ishiyama’s address changing functionality. See
Pet. Reply 17 (citing Ex. 1020 ¶ 56).




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      We also are not persuaded by Patent Owner’s argument that “[a]
person of ordinary skill in the art would not readily understand how
Ishiyama’s SA databases could be modified to accommodate Murakawa’s
components.” PO Resp. 54 (citing Ex. 2003 ¶ 148). Nor are we persuaded
that “[a] person of ordinary skill would not have a reasonable expectation of
success given that there is no explanation as to how the references would be
combined and how the resulting system would operate,” as Patent Owner
argues. Id. (citation omitted). Rather, as we find above, combining the
teachings of Ishiyama and Murakawa does not require using Ishiyama’s
specific SA databases. Nievelt, 482 F.2d at 968. And, as we find above, one
of ordinary skill in the art would and could have easily combined Ishiyama’s
address changing functionality with the security gateway described in
Murakawa. See Ex. 1002 ¶ 67.
      We also are not persuaded by Patent Owner’s argument that “a person
of ordinary skill would be taught away from combining Ishiyama and
Murakawa.” PO Resp. 54. We find that Patent Owner does not cite any
portion of Ishiyama that criticizes, discredits, or otherwise discourages
combining Ishiyama’s mobile address changing functionality with
Murakawa’s security gateway configuration. Id.; In re Fulton, 391 F.3d
1195, 1201 (Fed. Cir. 2004) (teaching away requires that a reference
“criticize, discredit, or otherwise discourage” investigation into the claimed
solution). To the contrary, as we find above, Ishiyama’s use of tunnel mode
suggests combining its address changing functionality with Murakawa’s
security gateway configuration. In re Urbanski, 809 F.3d 1237, 1243–44
(Fed. Cir. 2016) (finding that there was no teaching away as the prior art
references suggested the modification and did not teach that the modified


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process would be inoperable). We also do not credit Dr. Rouskas’ testimony
as it is contrary to our findings above. Ex. 2003 ¶ 148.
      Lastly, we agree with Patent Owner that only asserting that references
“could” be combined may be insufficient. PO Resp. 53 (citations omitted).
However, as we find above, Petitioner provides persuasive articulated
reasoning as to why one of ordinary skill in the art “would” have combined
Ishiyama’s address changing functionality with Murakawa’s security
gateway configuration. Thus, we are not persuaded that Petitioner fails to
show sufficient rationale for combining Ishiyama and Murakawa.
      Accordingly, for the reasons discussed above, we find that Petitioner
provides “some articulated reasoning with some rational underpinning to
support the legal conclusion of obviousness.” See In re Kahn, 441 F.3d 977,
988 (Fed. Cir. 2006) (citations omitted), cited with approval in KSR, 550
U.S. at 418.

          8. Alleged Security Flaw
      Patent Owner argues in its Sur-Reply13 that there is “a major security
flaw in Ishiyama that would prevent it from ever being used by . . . [one of
ordinary skill in the art] as a reference to construct a secure communication
system.” PO Sur-Reply 1. In particular, Patent Owner argues that “the new


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   Petitioner sought our authorization to file a motion to strike Patent
Owner’s Sur-Reply, or, in the alternative, to file a Sur-Sur-Reply to address
the new security flaw argument. Paper 34, 2. We denied the request,
finding that, as in most cases, we are “capable of identifying new issues . . .
when weighing the evidence at the close of trial, and disregarding any new
issues . . . that exceeds the proper scope of . . . sur-reply.” Id. at 3 (quoting
Patent Trial and Appeal Board Consolidated Trial Practice Guide 80
(“Consolidated Practice Guide”) (Nov. 2019) (available at
https://www.uspto.gov/TrialPracticeGuideConsolidated)).

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source address in the outer packet of Ishiyama’s . . . request message . . . is
unencrypted and sent in the clear.” Id. Because of this flaw, one of ordinary
skill in the art “would never use Ishiyama’s outer packet to change the
address definition for the mobile device in a secure connection because it
could easily be intercepted by a malicious intermediary and manipulated to
cause message traffic to be misdirected to an imposter device,” according to
Patent Owner. Id.; see also id. at 2–11 (arguing Ishiyama’s security flaw
defeats Petitioner’s unpatentability allegations).
       The security flaw argument, however, is new. Nowhere in its
Response does Patent Owner make this argument. See generally PO Resp.;
see also Tr. 48:11–25 (Patent Owner admitting that it did not address the
security flaw issue in its Response). Furthermore, Patent Owner admits that
“[n]either the Reply nor [Petitioner’s] expert’s supplemental declaration
address the security flaw.” PO Sur-Reply 5 n.1 (citing Ex. 1020).
Accordingly, we do not consider Patent Owner’s security flaw argument
because it was not made in the Patent Owner Response and is beyond the
proper scope of the Sur-Reply, and thus, is waived. See Paper 11
(Scheduling Order), 7 (“Patent Owner is cautioned that any arguments for
patentability not raised in the response may be deemed waived.”);
Consolidated Practice Guide 74 (citing 37 C.F.R. § 42.23) (“Generally, a
reply or sur-reply may only respond to arguments raised in the preceding
brief.”).




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      Additionally, we are not persuaded by Patent Owner’s arguments to
excuse the waiver.14 During the oral hearing, Patent Owner argued that the
Petition was unclear as to whether the request message was (i) “the message
containing the outer header where the source address of the outer header has
been changed from CoA1 to CoA2,” as shown in Figure 4 of Ishiyama, or
(2) “step 5, the SA gateway update operation, of Figure 7 of Ishiyama.”
Tr. 47:2–14. Patent Owner argued that it asked Dr. Goldschlag during his
deposition “to elaborate on what [Petitioner]’s position was as to what was
the claim’s request message.” Id. at 45:2–4. According to Patent Owner,
“Dr. Goldschlag clarified that the claimed request message was step 5 of
Figure 7 at the Ishiyama patent,” and not the outer header. Id. at 45:4–6,
48:19–49:10. Patent Owner argued that it did not address the security flaw
argument in its Response15 based on (i) the Petition not clearly identifying
that the request message includes the outer header, and (ii) Patent Owner’s
“reliance on Dr. Goldschlag’s testimony that the request message was step 5
and not the outer header.” Id. at 48:19–49:10.
      We are not persuaded by Patent Owner’s arguments for either reason.
First, as we discuss above, the Petition clearly sets forth that Ishiyama’s
request message includes the outer packet’s source address. See supra
Section VI(C) (addressing, inter alia, Ishiyama’s Figure 4 and
accompanying text). For example, the Petition states:

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   We are not suggesting that providing reasons during the oral hearing for
why a new argument was made in a Sur-Reply is the appropriate procedural
mechanism, if any, to excuse waiver. Regardless, we address the merits of
Patent Owner’s reasons here.
15
   Patent Owner argued that it included its security flaw argument in its Sur-
Reply in light of Petitioner’s Reply, which explains that the request message
includes the outer packet. Tr. 47:18–48:7.

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              After the mobile terminal of Ishiyama moves from CoA1
      (i.e.[,] first address) to CoA2 (i.e., second address), Ishiyama
      further describes the mobile terminal sending a request message
      to the address of the correspondent node (i.e[.], security gateway)
      to change the security association definition from CoA1 to
      CoA2. This is shown below in Figure 4 (annotated). Specifically,
      “the mobile computer 2 changes the source address of the outer
      packet of the encapsulated packet to be transmitted to the IPSEC
      tunnel by the mobile computer 2 into ‘CoA2’…. [T]he
      encapsulated packet in which the outer packet has the source
      address =‘CoA2’ will be transferred.” Ishiyama, 8:59–65.

Pet. 35. Moreover, in our Decision on Institution, when addressing the
claimed request message, we noted that:
      Petitioner argues that after changing addresses, mobile computer
      2 sends a message (having CoA2 for its outer packet’s source
      address) to correspondent host 3 via the IPSec tunnel, requesting
      that correspondent host 3 update to mobile computer 2’s new
      address. [Pet. 35–37] (citing Ex. 1004, 8:59–65, 11:39–45,
      12:66–13:5, Figs. 4, 7).
Dec. on Inst. 29 (emphasis added). Accordingly, we find that the Petition
clearly sets forth that Ishiyama’s request message includes the outer packet’s
source address.
      Second, we disagree with Patent Owner that Dr. Goldschlag testified
that “the request message is step 5 of Figure 7, not the outer header of the
message in Figure 4.” Tr. 45:10–13 (emphasis added). In support of its
argument, Patent Owner referenced the following deposition testimony
during the oral hearing:
            Q [D]o you recall that in the [P]etitioner’s analysis of
      Claim 1, the recited request was allegedly satisfied by the SA
      gateway update Operation 5 in Figure 7 of Ishiyama?
            A Right. So I think that was the section that we were just
      looking through, that Paragraph 74 in my declaration which
      walks through the address change operation.

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Tr. 45:14–18 (quoting Ex. 2008, 219:12–19). 16 Patent Owner incorrectly
focused on only the first word of Dr. Goldschlag’s answer — “Right.” Id. at
45:10–18. Dr. Goldschlag clearly includes paragraph 74 of his declaration
in his answer to the question. Id. Paragraph 74, inter alia, annotates Figure
4 and states that it “depicts the change in the security association definition
from CoA1 to CoA2.” Ex. 1002 ¶ 74 (citing Ex. 1004, 8:59–65; annotating
Ex. 1004, Fig. 4). Thus, this deposition testimony clearly does not support
that Dr. Goldschlag testified that the request message does not include the
outer header of the message or Figure 4’s teachings.
      Patent Owner also cited additional deposition testimony of
Dr. Goldschlag during the oral hearing in support of its argument. Tr. 45:7–
10 (citing Ex. 2008, 219:20–220:4, 228:1–9). For example, Patent Owner
identified the following testimony:
            Q So is it correct that the request recited in the claim is
      alleged to correspond to the SA update -- SA gateway update
      operation, Step 5 of Figure 7 of Ishiyama?
            I can refer you to the petition.
            A Right. So the SA update operation is in Operation 5 --
            Q Okay.
            A -- and that’s Paragraph 76 of my declaration.
Ex. 2008, 219:20–220:6. 17 This passage supports that operation 5 of
Figure 7 teaches about the claimed request message, as cited in the Petition.
See id.; Pet. 36–37. It does not exclude, however, the teachings of Figure 4,


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  During the oral hearing, Patent Owner read this question and the first
word (“Right.”) of Dr. Goldschlag’s answer into the record, rather than
providing the specific cite. Tr. 45:14–18. We here provide Dr.
Goldschlag’s complete answer to the question posed.
17
   Patent Owner cited only a portion of Dr. Goldschlag’s answer (through
line 4) to the question posed, but we here provide his answer in its entirety.

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and its accompanying text. See Ex. 2008, 219:20–220:6. “Fig[ure] 4 is a
schematic diagram for explaining operations in the case where the mobile
computer changes a connected location in the mobile communication system
of Fig[ure] 2” while “Fig[ure] 7 is a sequence chart showing an exemplary
processing sequence in the case where the mobile computer initiates
communications at a visited site and then changes a location in the mobile
communication system of Fig[ure] 2.” Compare Ex. 1004, 5:11–13, with id.
at 5:21–24. In other words, Figure 4 and Figure 7 are not mutually
exclusive, but rather are complementary in teaching Ishiyama’s invention.
Id. Petitioner cites both figures in support of its arguments that Ishiyama
teaches the claimed request message. Pet. 35–37.
      Moreover, paragraph 76 of Dr. Goldschlag’s declaration (to which he
refers in his answer) begins “Ishiyama refers to this operation as an ‘SA
Gateway Update,’” referring to the previous declaration paragraph 75.
Ex. 1002 ¶ 76. Paragraph 75 recites that “[t]he mobile computer 2 changes
the source address of the outer packet of the encapsulated packet to be
transmitted to the IPSEC tunnel by the mobile computer 2 into ‘CoA2’” and
that “the encapsulated packet in which the outer packet has the source
address =‘CoA2’ will be transferred.” Ex. 1002 ¶ 75 (citing Ex. 1004, 8:59–
65). Thus, this deposition testimony clearly does not exclude the outer
packet from the request message. Ex. 2008, 219:20–220:6. Likewise, the
third passage of deposition testimony cited by Patent Owner does not
exclude the outer header from the request message, but simply discusses
Figure 7’s teachings. Ex. 2008, 228:1–9.
      Lastly, we provide the following example from Dr. Goldschlag’s
deposition testimony, which Patent Owner did not cite during the oral


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hearing but which provides further context for the cited testimony, where Dr.
Goldschlag testified that the request message included the teachings of
Figure 4.
             Q And in the claim, it indicates that the request is sent
      from the mobile terminal to the security gateway, and you’ve
      mapped that to Operation 5 in Figure 7[?]
             A Which is also from the mobile terminal to the security
      gateway, right. And if you go back to it picture, right, there is
      that IPsec tunnel. If you go back to Figure 4, if you don’t mind.
             Q Let’s just stick with Figure 7, please.
             A But Figure 4 will help sort of illustrate it. The mobile
      computer has a tunnel, and one of the purposes of the change of
      address is to use the same SA for the new tunnel, so it uses the
      new tunnel and it sends those messages over that tunnel.

Ex. 2008, 229:19–230:10.
      In summary, Dr. Goldschlag’s deposition testimony, taken as a whole,
does not support a finding that Dr. Goldschlag stated that the request
message excludes Figure 4’s teachings and the use of the outer header’s
source address. Ex. 2008, 219:12–220:6, 228:1–9.
      Additionally, we are not persuaded by Patent Owner’s argument that
“Petitioner was aware of the security flaw (see March 20, 2020, deposition
of Dr. Rouskas) well in advance of the Reply (filed April 1, 2020)” and
chose not to address it in its Reply. PO Sur-Reply 5 n.1; see also Tr. 49:24–
50:6. Again, Patent Owner does not address the security flaw argument in
its Response. See generally PO Resp. Thus, Petitioner correctly did not
address the security flaw argument in its Reply because doing so would have
been beyond the proper scope of the Reply. See 37 C.F.R. § 42.23(b) (“A
reply may only respond to arguments raised in the corresponding . . . patent
owner response.”); Consolidated Practice Guide 74.


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      Lastly, Patent Owner certainly was aware of its security flaw
argument at least as early as March 20, 2020 when Patent Owner’s expert,
Dr. Rouskas, was deposed. During this deposition, Patent Owner on redirect
extensively questioned Dr. Rouskas on Ishiyama’s alleged security flaw.
See Ex. 1019, 184:6–197:22. This occurred more than ten days before
Petitioner filed its Reply on April 1, 2020. Nonetheless, Patent Owner did
not seek our authorization to supplement its Response (with a showing of
good cause) during that more than ten day period or afterwards.

VII. ALLEGED OBVIOUSNESS OVER ISHIYAMA, MURAKAWA,
     AND AHONEN
      Petitioner argues that the combination of Ishiyama, Murakawa, and
Ahonen renders claims 2 and 3 obvious. Pet. 59–66. Claims 2 and 3 depend
from independent claim 1, and thus, incorporate claim 1’s limitations.
Ex. 1001, 11:9–15. We determine above that the combination of Ishiyama
and Murakawa fails to teach a limitation of independent claim 1. In
addition, the Petition does not present any information with respect to
dependent claims 2 and 3 that addresses the deficiencies discussed above
regarding independent claim 1. Pet. 59–66. Thus, Petitioner has not
demonstrated by a preponderance of the evidence that claims 2 and 3 of the
’810 patent would have been obvious to one of ordinary skill in the art in
view of Ishiyama, Murakawa, and Ahonen.

VIII. ALLEGED OBVIOUSNESS OVER ISHIYAMA, MURAKAWA,
      AND FORSLÖW
      Petitioner argues that the combination of Ishiyama, Murakawa, and
Forslöw renders claim 6 obvious. Pet. 66–69. Claim 6 depends from
independent claim 1, and thus, incorporates claim 1’s limitations. Ex. 1001,
11:23–24. We determine above that the combination of Ishiyama and

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Murakawa fails to teach a limitation of independent claim 1. In addition, the
Petition does not present any information with respect to dependent claim 6
that addresses the deficiencies discussed above regarding independent claim
1. Pet. 66–69. Thus, Petitioner has not demonstrated by a preponderance of
the evidence that claim 6 of the ’810 patent would have been obvious to one
of ordinary skill in the art in view of Ishiyama, Murakawa, and Forslöw.

IX.     CONCLUSION 18
        Based on the full record before us, we determine that Petitioner has
not demonstrated by a preponderance of the evidence that claims 1–6 of the
’810 patent are unpatentable under 35 U.S.C. § 103(a) for any of the asserted
grounds. We also determine that Petitioner has demonstrated by a
preponderance of the evidence that claim 7 of the ’810 patent is unpatentable
under 35 U.S.C. § 103(a) over Ishiyama and Murakawa.

 Claim(s)        35     Reference(s)/Basis Claims Shown Claims Not
                U.S.C                      Unpatentable Shown
                  §                                     Unpatentable
 1, 4, 5, 7,   103(a)   Ishiyama,          7            1, 4, 5
                        Murakawa
 2, 3          103(a)   Ishiyama,                       2, 3
                        Murakawa,
                        Ahonen


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  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).

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 6           103(a)    Ishiyama,                                6
                       Murakawa,
                       Forslöw
 Overall                                     7                  1–6
 Outcome


X.    ORDER
      In consideration of the foregoing, it is hereby:
      ORDERED that, pursuant to 35 U.S.C. § 314(a), Petitioner has not
shown by a preponderance of the evidence that claims 1–6 of the ’810 patent
are unpatentable;
      FURTHER ORDERED that Petitioner has shown by a preponderance
of the evidence that claim 7 of the ’810 patent is unpatentable; and
      FURTHER ORDERED that parties to the proceeding seeking judicial
review of this Final Written Decision must comply with the notice and
service requirements of 37 C.F.R. § 90.2.




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       UNITED STATES PATENT AND TRADEMARK OFFICE



        BEFORE THE PATENT TRIAL AND APPEAL BOARD



                            APPLE INC.,
                             Petitioner,
                                 v.

                      MPH TECHNOLOGIES OY,
                           Patent Owner.


                           IPR2019-00820
                         Patent 7,937,581 B2

                     __________________________


Before KAMRAN JIVANI, JOHN D. HAMANN, and
STACY B. MARGOLIES, Administrative Patent Judges.

HAMANN, Administrative Patent Judge.



                            JUDGMENT
                        Final Written Decision
           Determining Some Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)




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Patent 7,937,581 B2

I.    INTRODUCTION
      In this inter partes review, instituted pursuant to 35 U.S.C. § 314,
Apple Inc. (“Petitioner”) challenges the patentability of claims 1–9 (“the
challenged claims”) of U.S. Patent No. 7,937,581 B2 (Ex. 1001, “the ’581
patent”), owned by MPH Technologies Oy (“Patent Owner”). We have
jurisdiction under 35 U.S.C § 6. This Final Written Decision is entered
pursuant to 35 U.S.C. § 318(a) and 37 C.F.R. § 42.73.
      For the reasons discussed herein, we determine that Petitioner has
shown by a preponderance of the evidence that claims 1–3, 5, and 9 are
unpatentable, but Petitioner has not shown by a preponderance of the
evidence that claims 4 and 6–8 are unpatentable.
II.   BACKGROUND

       A. Procedural History
      Petitioner filed a Petition requesting inter partes review of the
challenged claims of the ’581 patent. Paper 2 (“Pet.”). The Petition is
supported by the Declaration of David Goldschlag, Ph.D. (Ex. 1002). Patent
Owner filed a Preliminary Response. Paper 8.
      We instituted inter partes review of all of the challenged claims of the
’581 patent on all of the grounds raised in the Petition. Paper 10 (“Dec. on
Inst.”), 7, 42. As to this Decision on Institution, Patent Owner filed a
Request for Rehearing, and requested review by the Precedential Opinion
Panel (“POP”). Paper 12; Ex. 3001. Patent Owner’s request for POP review
was denied, and we subsequently denied Patent Owner’s Request for
Rehearing. Papers 16, 24.
      Patent Owner filed a replacement Response to the Petition. Paper 23
(“PO Resp.”). The Response is supported by the Declaration of Professor


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George N. Rouskas, Ph.D. (Ex. 2009). Petitioner filed a Reply to Patent
Owner’s Response. Paper 26 (“Pet. Reply”). The Reply is supported by an
additional Declaration of David Goldschlag, Ph.D. (Ex. 1022). Patent
Owner filed a Sur-Reply to Petitioner’s Reply. Paper 29 (“PO Sur-Reply”).
      An oral hearing was held on June 25, 2020. A transcript of the oral
hearing is included in the record. Paper 36 (“Tr.”).

       B. Related Matter
      The parties identify MPH Techs. Oy v. Apple Inc., No. 5:18-cv-05935-
PJH (N.D. Cal.), as a matter that may affect or would be affected by a
decision in this proceeding. Pet. 2–3; Paper 7, 1. The parties also identify,
as a related matter, Apple Inc. v. MPH Techs. Oy, IPR2019-00819 (PTAB),
involving U.S. Patent No. 7,620,810, which is the parent of the ’581 patent.
Pet. 2–3; Paper 7, 1.

       C. The Challenged Patent (Ex. 1001)
      The ’581 patent relates to “secur[ing] mobile connections in
telecommunication networks.” Ex. 1001, 1:15–16. In particular, the ’581
patent describes reducing the handover latency and computational overhead
for secure connections, such as those employing Internet Protocol (“IP”)
Security (“IPSec”) with mobile terminals 1 (i.e., terminals that can move
from one network to another). Id. at 1:15–16, 1:59–66, 4:12–35, 6:42–44,
7:23–37, 10:31–39.




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  The ’581 patent discloses that “the term[s] mobility and mobile terminal
do[] not only mean physical mobility, . . . [but also] mean[] moving from
one network to another, which can be performed by a physically fixed
terminal as well.” Ex. 1001, 4:31–35.

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      IPSec comprises a set of rules defined by the Internet Engineering
Task Force (“IETF”) to “provide[] the capability to secure communications
between arbitrary hosts,” according to the ’581 patent. Id. at 1:59–66, 2:5,
2:8–12. The ’581 patent states that these rules describe, inter alia, providing
“access control based on the distribution of cryptographic keys.” Id. at
2:13–22. The ’581 patent also describes the concept of a Security
Association (“SA”), which according to the ’581 patent is “a one-way
relationship between a sender and a receiver that offers [negotiated] security
services to the traffic carried on it.” Id. at 2:24–26.
      The ’581 patent discloses that IPSec supports two modes of operation
(i.e., transport mode and tunnel mode). Id. at 3:6–7. “Typically, transport
mode is used for end-to-end communication between two hosts.” Id. at
3:14–15. “Tunnel mode . . . is generally used for sending messages through
more than two components,” such as “when one or both ends of a SA is a
security gateway, such as a firewall or a router that implements IPSec.” Id.
at 3:19–24.
      “IPSec is intended to work with static network topolog[ies],”
according to the ’581 patent. Id. at 4:14–15. For example, IPSec can secure
communications between hosts across a local area network (“LAN”), as well
as across a private or public wide area network (“WAN”). Id. at 1:59–61.
Figure 1, shown below, “illustrates an example of a telecommunication
network to be used in the invention” of the ’581 patent. Id. at 8:37–38.




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                                FIG. 1
      Figure 1 depicts an example telecommunication network comprising
“computer 1 . . . and computer 2[,] a destination computer, to which the
secure messages are sent . . . by means of an IPSec tunnel established
between computer 1 and computer 2.” Id. at 8:50–55. The ’581 patent adds:
“Computer 2 [can] be a security gateway for a third computer 3. Then, the
messages sent from computer 2 to computer 3 are sent in plaintext.” Id. at
8:55–57.
      The ’581 patent discloses that in forming an IPSec tunnel under
IPSec’s default automated key management protocol (i.e., the Internet Key
Exchange (“IKE”) protocol), “the tunnel endpoints are fixed and remain
constant.” Id. at 4:2–7, 4:15–20. The ’581 patent adds: “If IPSec is used
with a mobile host, the IKE key exchange will have to be redone from every
new[ly] visited network. This is problematic, because IKE key exchanges
involve computationally expensive” calculations and require exchanging
numerous messages between the endpoints, leading to higher latency. Id. at
4:18–29.
      To address these problems, the ’581 patent discloses avoiding a full
re-negotiation between the tunnel endpoints, when computer 1 moves


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                                  Appx62
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networks. E.g., id. at 9:22–33 (describing prior art requires a full re-
negotiation), 9:60–63. More specifically, the ’581 patent discloses initially
establishing an IPSec tunnel between computer 1 (address A) and computer
2 (address X) using IKE, as in the prior art. Id. at 9:44–59, Fig. 5
(illustrating steps 1a–9a for setting up the tunnel); compare id. at Fig. 5, with
id. at Fig. 4 (showing the same nine steps as the prior art solution); see also
id. at 9:1–28 (describing the prior art IKE establishment of the tunnel).
      The ’581 patent discloses that, when computer 1 moves from address
A to address B, computer 1 sends from its new address (address B) to
computer 2 (address X) at the other end of the established IPSec tunnel, a
request for computer 2 to register its new address. Id. at 9:60–66.
According to the ’581 patent, this request can be “encrypted and/or
authenticated . . . us[ing] the same IPSec SA [that is used] for protecting
both data and registration traffic.” Id. at 10:1–5.
      The ’581 patent thus discloses that the tunnel’s IPSec SA is carried
over to the new connection point, and computer 1 can send IPSec-protected
messages to computer 2 after sending the request, which “essentially makes
the handover latency zero.” Id. at 10:8–16, 10:31–34. “[T]he exact method
of signalling is not important[;] the essence is to carry over the IPSec SA to
the new connection point.” Id. at 10:8–10.

       D. The Challenged Claims
      Petitioner challenges claims 1–9 of the ’581 patent, of which claims 1
and 9 are independent. Claim 1 is illustrative of the challenged claims and is
reproduced below:
      1. A method for ensuring secure forwarding of a message in a
      telecommunication network, having at least one mobile terminal



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      and another terminal and a security gateway therebetween, the
      method comprising:
             a) establishing a secure connection having a first address
      of the mobile terminal as a first end-point and a gateway
      address of the security gateway as a second end-point,
             b) the mobile terminal changing from the first address to a
      second address,
             c) while at the second address, the mobile terminal sending
      a request message to the gateway address of the security gateway
      to request the security gateway to change the secure connection
      to be defined between the second address and the gateway
      address of the security gateway,
             in response to the request message from the mobile
      terminal, the security gateway changing an address definition of
      the secure connection from the first address to the second
      address, and
             the mobile terminal sending a secure message in the secure
      connection from the second address of the mobile terminal to the
      other terminal via the security gateway.
Ex. 1001, 10:50–11:3.

         E. Instituted Grounds of Unpatentability
      We instituted trial based on the following grounds of unpatentability,
which are all the grounds of unpatentability raised in the Petition:
                   References                Basis 2    Challenged Claim(s)
    1.     Ishiyama, 3 Murakawa4            § 103(a)    1, 2, 4, 6, 7, 9
    2.     Ishiyama, Murakawa,              § 103(a)    3, 5
           Ahonen 5

2
  The Leahy-Smith America Invents Act (“AIA”) included revisions to
35 U.S.C. § 103 that became effective on March 16, 2013. Because the ’581
patent issued from an application filed before March 16, 2013, we apply the
pre-AIA version of the statutory basis for unpatentability.
3
  U.S. Patent No. 6,904,466 B1 (issued June 7, 2005) (Ex. 1004).
4
  U.S. Patent No. 7,028,337 B2 (issued Apr. 11, 2006) (Ex. 1005).
5
  U.S. Patent No. 6,976,177 B2 (issued Dec. 13, 2005) (Ex. 1006).

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           3.     Ishiyama, Murakawa,            § 103(a)    8
                I Forslöw
                          6
       I
Pet. 4, 11–64.

III.        LEVEL OF ORDINARY SKILL IN THE ART
            To determine whether an invention would have been obvious at the
time it was made, we consider the level of ordinary skill in the pertinent art
at the time of the invention. Graham v. John Deere Co., 383 U.S. 1,
17 (1966). In assessing the level of ordinary skill in the art, various factors
may be considered, including the “type of problems encountered in the art;
prior art solutions to those problems; rapidity with which innovations are
made; sophistication of the technology; and educational level of active
workers in the field.” In re GPAC, Inc., 57 F.3d 1573, 1579 (Fed. Cir. 1995)
(citing Custom Accessories, Inc. v. Jeffrey-Allan Indus., Inc., 807 F.2d 955,
962 (Fed. Cir. 1986)). “[O]ne or more factors may predominate.” Id.
            In our Decision on Institution, we adopted Petitioner’s proposed
definition for one having ordinary skill in the art at the time of the invention
of the ’581 patent as one who “would have had a B.S. degree in Computer
Engineering, Electrical Engineering, or an equivalent field, as well as at least
3–5 years of academic or industry experience in the Internet security
industry.” Pet. 11 (citing Ex. 1002 ¶¶ 20–21). Patent Owner does not
dispute our adoption of Petitioner’s definition, nor otherwise address the
level of ordinary skill at the time of the invention of the ’581 patent. See
generally PO. Resp.
            Because Petitioner’s definition of the level of skill in the art is
consistent with the ’581 patent and the asserted prior art, we maintain

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    U.S. Patent No. 6,954,790 B2 (issued Oct. 11, 2005) (Ex. 1007).

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Petitioner’s definition for purposes of this Final Written Decision. See
Okajima v. Bourdeau, 261 F.3d 1350, 1355 (Fed. Cir. 2001); GPAC, 57 F.3d
at 1579; In re Oelrich, 579 F.2d 86, 91 (CCPA 1978). We apply Petitioner’s
definition in our analysis below.

IV.   CLAIM CONSTRUCTION
      Because the Petition was filed after November 13, 2018, we construe
the challenged claims by applying “the standard used in federal courts, in
other words, the claim construction standard that would be used to construe
the claim in a civil action under 35 U.S.C. [§] 282(b), which is articulated in
Phillips [v. AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005) (en banc)].” See
Changes to the Claim Construction Standard for Interpreting Claims in Trial
Proceedings Before the Patent Trial and Appeal Board, 83 Fed. Reg. 51,340,
51,340, 51,358, 51,343–44 (Oct. 11, 2018) (amending 37 C.F.R. § 42.100(b)
effective November 13, 2018) (now codified at 37 C.F.R. § 42.100(b)
(2019)). Under Phillips, the words of a claim are generally given their
“ordinary and customary meaning,” which is the meaning they would have
to a person of ordinary skill in the art at the time of the invention, in light of
the specification and prosecution history. See Phillips, 415 F.3d at 1312–13.
      Petitioner does not submit any terms for construction. Pet. 11
(arguing that “[a]ll claim terms of the ’581 patent should receive their
ordinary and customary meaning”). Patent Owner submits the term
“security gateway” for construction, and argues that its meaning is in
dispute. PO Resp. 10–24. To show a dispute, Patent Owner quotes from our
Decision on Institution where we preliminarily found that (i) “Petitioner
argues that one of ordinary skill in the art would have understood that
Ishiyama’s ‘correspondent [host]’ would be a security gateway,” and


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(ii) “there [wa]s sufficient support in the [preliminary] record that
Ishiyama’s correspondent host is a security gateway.” PO Resp. 10–11
(citing Dec. on Inst. 26, 34). Patent Owner argues “[t]hus, the claim
construction dispute in this proceeding is whether a correspondent host is a
‘security gateway.’” Id. at 11.
      For our analysis below, however, we do not rely on Petitioner’s
arguments that Ishiyama’s correspondent host is a security gateway. Rather,
we consider Petitioner’s alternative argument7 that Murakawa teaches a
security gateway. Thus, we conclude that no express claim construction is
necessary to determine whether Petitioner has shown by a preponderance of
evidence that the challenged claims are unpatentable. See, e.g., Nidec Motor
Corp. v. Zhongshan Broad Ocean Motor Co., 868 F.3d 1013, 1017 (Fed.
Cir. 2017) (quoting Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d
795, 803 (Fed. Cir. 1999)) (“[W]e need only construe terms ‘that are in
controversy, and only to the extent necessary to resolve the controversy.’”).

V.    PRINCIPLES OF LAW
      A claim is unpatentable under 35 U.S.C. § 103(a) if the differences
between the claimed subject matter and the prior art are such that the subject
matter, as a whole, would have been obvious at the time of the invention to a
person having ordinary skill in the art. KSR Int’l Co. v. Teleflex, Inc., 550
U.S. 398, 406 (2007). The question of obviousness is resolved on the basis
of underlying factual determinations, including (1) the scope and content of



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 “Petitioner alternatively relies on Ishiyama’s teachings combined with
Murakawa’s teachings of a ‘security gateway configuration’ (e.g., ‘a security
gateway’ and ‘another terminal’/‘other terminal’”) for disclosing claim 1.”
Dec. on Inst. 25; see also Pet. 11–53.

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the prior art; (2) any differences between the claimed subject matter and the
prior art; (3) the level of ordinary skill in the art; and (4) objective evidence
of non-obviousness, if present.8 See Graham, 383 U.S. at 17–18. When
evaluating a claim for obviousness, we also must “determine whether there
was an apparent reason to combine the known elements in the fashion
claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)).

VI.   ALLEGED OBVIOUSNESS OVER ISHIYAMA AND
      MURAKAWA
      Petitioner argues that the combination of Ishiyama and Murakawa
renders claims 1, 2, 4, 6, 7, and 9 of the ’581 patent obvious under 35 U.S.C.
§ 103(a). Pet. 11–53. We have reviewed the parties’ arguments and the
evidence of record. For the reasons that follow, we determine that Petitioner
(1) shows by a preponderance of the evidence that claims 1, 2, and 9 would
have been obvious to one of ordinary skill in the art in view of Ishiyama and
Murakawa; and (2) fails to show by a preponderance of the evidence that
claims 4, 6, and 7 would have been obvious to one of ordinary skill in the art
in view of Ishiyama and Murakawa.

       A. Summary of Ishiyama
      Ishiyama relates to improving a mobile computer’s “capab[ility] of
carrying out communications while moving among a plurality of inter-
connected networks.” Ex. 1004, 1:9–11. In furtherance of this mobility,
Ishiyama discloses having the mobile computer notify its correspondent host
(i.e., the host at the other end of a communication) of its new address when

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 Patent Owner does not present arguments or evidence of such objective
evidence of non-obviousness in its Response. See generally PO Resp.

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the mobile computer moves networks. E.g., id. at 3:43–67, 6:13–18, 15:37–
16:10. The mobile computer makes this notification by changing the source
address of an outer packet of an encapsulated packet to the mobile
computer’s new address before sending the packet to the correspondent host.
Id. When the correspondent host receives the packet from the mobile
computer, the correspondent host detects the address change and updates its
stored information to reflect the new address for the mobile computer. E.g.,
id. at 3:9–14.
      Figure 4, shown below, is a schematic diagram illustrating a mobile
computer changing locations in an exemplary configuration of a mobile
communication system, in accordance with an embodiment of Ishiyama’s
invention. Id. at 5:5–7, 5:11–13.
                              FIG. 4

                                              IPSEC
                                              TUNNEL


     CORRESPONDENT
     HOST 3
                                                        MOBILE
     (ADDRESS=CN)                                       COMPUTER 2




                                              MOVE




      Figure 4 “shows an exemplary situation in which a packet is
transferred from mobile computer 2 to . . . correspondent host 3 using [an]
IPSEC tunnel.” Id. at 8:33–35. Initially, mobile computer 2 communicates
with correspondent host 3 via an IPSec tunnel, with mobile computer 2’s


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address (CoA1) indicating its endpoint of the tunnel. Id. at 8:43–49. In
other words, “mobile computer 2 transmits an encapsulated packet in which
the outer packet has the source address=‘CoA1’ and the destination
address=‘CN.’” Id. at 8:50–54. As shown, when mobile computer 2 moves,
its address changes from CoA1 to CoA2. Id. at 8:55–58, Fig. 4 (showing
that mobile computer 2 moves networks). To convey this change, mobile
computer 2 changes the source address of the outer packet to CoA2 and
transmits the packet to correspondent host 3 via the IPSec tunnel. Id. at
8:59–63, Fig. 4. Correspondent host 3 detects this change in mobile
computer 2’s address, and replaces the CoA1 address with CoA2 in its
database for the IPSec tunnel. Id. at 8:66–9:4; see also id. at Figs. 9B, 9D
(showing the update of the address in correspondent host 3’s SA database),
12:51–59. Ishiyama discloses that the other SA information “remain[s]
unchanged, so that there is no need to re-negotiate keys for IPS[ec]
encryption and authentication.” Id. at 9:5–10.

         B. Summary of Murakawa
      Murakawa relates to allowing a PC outside a LAN to be virtually
regarded as a PC on the LAN and communicate with a terminal on the LAN.
Ex. 1005, 1:16–24, 3:62–65. Specifically, Murakawa discloses allowing an
outside terminal to communicate (via a WAN, a security gateway, and a
LAN) with a terminal on the LAN. Id. at 1:11–24, 3:61–4:16.
      Petitioner’s annotated version of Murakawa’s Figure 5, which
illustrates a “prior art typical network system,” id. at 4:32–33, is shown
below.




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                        FIG. 5 PRIOR ART

                                                        Mobile
                                                       Terminal




                                                         Security
                                                         Gatew ay
                             Security gateway    103

                 104



                                                                      Ot her
                                                                    Terminals



                       105                 106            107



      Murakawa’s Figure 5 above shows a “prior art typical network
system” and is further annotated by Petitioner to add labels for a mobile
terminal, security gateway, and other terminals. Pet. 28. According to
Murakawa, Figure 5 “is a block diagram of a typical network system
including a WAN.” Ex. 1005, 1:51–53. As shown in Figure 5, the network
system includes “PC 101 [(labeled by Petitioner as ‘Mobile Terminal’)],
which is located outside . . . LAN [104 and] establish[es] a dialup
connection to the provider, WAN 102, and security gateway 103 [(labeled
by Petitioner as ‘Security Gateway’)] that connects WAN 102 and LAN
104.” Id. at 1:54–58. In addition, “LAN 104[,] being subjected to security
gateway 103[,] includes . . . client PCs 106, 107” (labeled by Petitioner as
“Other Terminals”). Id. at 1:59–60. Also shown is virtual private network
(“VPN”) 108, which is established between PC 101 and security gateway
103 to perform IPSec communication. Id. at 1:61–63. Murakawa discloses



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that this network system ensures safe communications between PC 101 and
the terminals on LAN 104. Id. at 2:1–4.

       C. Challenged Claim 1
      Claim 1 is an independent claim. Petitioner combines Ishiyama and
Murakawa in two alternative ways in arguing that claim 1 would have been
obvious to one of ordinary skill in the art. See Pet. 11–47; Dec. on Inst. 25,
38–39 (noting the two alternative ways). Below we address Petitioner’s
second way of combining Ishiyama and Murakawa (i.e., combining
Ishiyama’s address changing functionality with Murakawa’s security
gateway and another terminal)). In other words, Petitioner combines
Ishiyama’s “address updating for a mobile terminal operating in the IPSec
tunneling mode” with “Murakawa’s . . . security gateway configuration” for
“tunneling of communications through a security gateway so that two
terminals are able to communicate.” E.g., Pet. 20 (citing Ex. 1004, 7:46–49;
Ex. 1005, 4:13–16; Ex. 1002 ¶ 61). For that combination, we find that
Petitioner demonstrates by a preponderance of the evidence that claim 1
would have been obvious to one of ordinary skill in the art. Because of this
finding, we do not reach the parties’ arguments concerning the first way
Petitioner combines Ishiyama and Murakawa. For example, we do not reach
whether Ishiyama teaches that its correspondent host is a security gateway.

         1. Preamble
      Claim 1’s preamble recites “[a] method for ensuring secure
forwarding of a message in a telecommunication network, having at least
one mobile terminal and another terminal and a security gateway
therebetween.” Ex. 1001, 10:50–53. We agree with Petitioner and find that
the combination of Ishiyama and Murakawa teaches claim 1’s preamble.


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Pet. 20–26. As we find that Ishiyama and Murakawa teach the preamble, we
need not determine whether the preamble is limiting.
      As to Ishiyama, we agree with Petitioner that Ishiyama teaches “a
mobile communication scheme capable of easily changing a connected
location of a mobile computer on [an] IP network.” Ex. 1004, 2:42–45;
Pet. 21. More specifically, we find that Ishiyama teaches using care-of
addresses (“CoA”) for a “mobile computer 2 [that] always uses the IPSEC in
the tunnel mode at a time of making a connection to the correspondent host
3.” Ex. 1004, 7:66–67, 11:9–16; Pet. 21.
      As to Murakawa, we agree with Petitioner and find that Murakawa
teaches forwarding messages received from a terminal at a security gateway
located between the terminal and another terminal. E.g., Ex. 1005, Fig. 5;
Pet. 24 (annotating Ex. 1005, Fig. 5). As illustrated in Figure 5, Murakawa
discloses that PC 101 establishes an IPSec tunnel (VPN 108), with security
gateway 103. Ex. 1005, 1:61–63, 2:62–65, Fig. 5; Pet. 24–25. Murakawa’s
security gateway 103 connects to PC 106 and PC 107. Ex. 1005, 1:59–60.
We agree with Petitioner and find that either PC 106 or PC 107 is the
claimed another terminal. Id. at 1:61–2:4, Fig. 5; see also Pet. 24–25
(annotating Ex. 1005, Fig. 5 (labeling PC 106 and PC 107 “Other
Terminals”)). We find that Murakawa’s network system allows for PC 101
and another terminal (e.g., PC 106 or PC 107) to communicate securely via
security gateway 103. Ex. 1005, 1:64–2:4, Fig. 5; Pet. 24–25.
      Lastly, we are not persuaded by Patent Owner’s arguments that
“[i]ncorporating Murakawa’s security gateway 103 into Ishiyama does not
fill in the missing limitation of the ‘[an]other terminal’ because no host
computer has been incorporated from Murakawa.” PO Resp. 49; see also id.


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at 45 (explaining that the claim recites “another terminal” and “other
terminal”). Put differently, Patent Owner argues that “Petitioner’s
modification of Ishiyama by Murakawa does not explain how the
combination provides the recited ‘other terminal.’” Id. (citing Ex.
2009 ¶¶ 143–144). To the contrary, Petitioner argues that “Murakawa
describes the forwarding of messages at a security gateway located between
a mobile terminal and other terminals.” Pet. 24. Petitioner then proceeds to
describe Murakawa’s Figure 5, and to identify Murakawa’s PC 106 and PC
107 as other terminals. See id. at 24–25 (citing Ex. 1005, 1:59–63;
annotating Ex. 1005, Fig. 5 (labeling PC 106 and PC 107 “Other
Terminals”)). Thus, we disagree with Patent Owner that “no host computer
has been incorporated from Murakawa.” PO Resp. 49.
      In summary, we find combining Ishiyama’s mobile address changing
functionality with Murakawa’s security gateway and another terminal
teaches “[a] method for ensuring secure forwarding of a message in a
telecommunication network, having at least one mobile terminal and another
terminal and a security gateway therebetween.”

         2. Establishing a Secure Connection
      Claim 1 further recites “establishing a secure connection having a first
address of the mobile terminal as a first end-point and a gateway address of
the security gateway as a second end-point.” Ex. 1001, 10:54–56. We agree
with Petitioner that the combination of Ishiyama and Murakawa teaches this
limitation. Pet. 26–30. We find that Ishiyama teaches that mobile
computer 2 first establishes an IPSec tunnel between its first address (CoA1)
and correspondent host 3’s address (CN). Ex. 1004, 8:25–26, 8:36–38,
8:43–47, 8:50–53, 11:9–17, 12:3–5, Fig. 4; Pet. 26–27. Furthermore,


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Ishiyama teaches that the IPSec tunnel is defined by, inter alia, the addresses
of mobile computer 2 and correspondent host 3. Ex. 1004, 12:9–12, 12:51–
59; Figs. 9A, 9B; Pet. 28–29.
      In addition, we agree with Petitioner and find that Murakawa teaches
a security gateway. Ex. 1005, 1:59–2:4, 2:62–65, 4:13–16, Fig. 5; Pet. 18–
19, 24–25 (citing Ex. 1005, Fig. 5) (annotating the figure with “Security
Gateway”). Moreover, Murakawa teaches establishing a secure connection
between a terminal (PC 101) and the security gateway. Ex. 1005, 1:61–63
(“[I]n order to perform the IPsec communication, VPN 108 is established
between PC 101 and security gateway 103.”), Fig. 5.
      In summary, we find combining Ishiyama’s mobile address changing
functionality with Murakawa’s security gateway and another terminal
teaches “establishing a secure connection having a first address of the
mobile terminal as a first end-point and a gateway address of the security
gateway as a second end-point.”

         3. Mobile Terminal Changing Addresses
      Claim 1 further recites “the mobile terminal changing from the first
address to a second address.” Ex. 1001, 10:57–58. We agree with Petitioner
and find that Ishiyama teaches that after the IPSec tunnel has been
established, Ishiyama’s mobile computer 2 moves networks, moving from a
first address (CoA1) to a second address (CoA2). See, e.g., Ex. 1004, 8:55–
57, Fig. 4; Pet. 30. This is depicted in Ishiyama’s Figure 4, as annotated by
Petitioner, where mobile terminal 2 moves from its first location (dashed red
box corresponding to CoA1) to its second location (solid red box
corresponding to CoA2). See Pet. 30 (annotating Ex. 1004, Fig. 4).




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      Based on Ishiyama’s teachings, we find that the combination of
Ishiyama and Murakawa teaches “the mobile terminal changing from the
first address to a second address.”

         4. While at the Second Address
      Claim 1 further recites “while at the second address, the mobile
terminal sending a request message to the gateway address of the security
gateway to request the security gateway to change the secure connection to
be defined between the second address and the gateway address of the
security gateway.” Ex. 1001, 10:59–63. We agree with Petitioner that the
combination of Ishiyama and Murakawa teaches this limitation. Pet. 31–33.
      First, we agree with Petitioner and find that Ishiyama teaches that
after a mobile terminal moves from a first address (CoA1) to a second
address (CoA2), the mobile terminal sends a request message to the address
of the correspondent host to change the security association definition from
CoA1 to CoA2. Ex. 1004, 8:59–65; Pet. 31. Specifically, Ishiyama teaches
that “the mobile computer 2 changes the source address of the outer packet
of the encapsulated packet to be transmitted to the IPSEC tunnel by the
mobile computer 2 into ‘CoA2.’” Ex. 1004, 8:59–62; Pet. 31. We agree
with Petitioner that Ishiyama teaches that “the encapsulated packet in which
the outer packet has the source address =‘CoA2’ will be transferred.”
Ex. 1004, 8:63–65; Pet. 31. This is shown in Ishiyama’s Figure 4, shown
below as annotated in the Petition. See Pet. 31 (providing annotated
Figure 4).




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                                        FIG. 4
             Security
                                                                          Mobile
             Gateway             src I CoA I1src: Hacklr I
                                 dst . CN dst : CN
                                                             IPSEC
                                                                         Terminal
                                                             TUNNEL


                CORRESPONDENT
                HOST 3
                (ADDRESS;CN)




                                                             MOVE




                                          Mobile
                                         Terminal


      Annotated Figure 4 “is a schematic diagram for explaining operations
in the case where the mobile computer changes a connected location in the
mobile communication system” with (i) a dotted-line red box around mobile
computer 2 at its first location, (ii) a solid-line red box around mobile
computer 2 at its second location, (iii) a solid-line green box around
correspondent host 3, (iv) a “Mobile Terminal” label for each mobile
computer 2 location, and (v) a “Security Gateway” label for correspondent
host 3. Ex. 1004, 5:11–13; Pet. 31 (annotating Ex. 1004, Fig. 4). Ishiyama’s
Figure 4 illustrates that after the mobile computer 2 moves to a second
address, a request message is sent from mobile computer 2 to correspondent
host 3, with the request message illustrated as a rectangle (with “src: Haddr”
and “dst: CN” labels) depicting the encapsulated packet, surrounded by a
larger rectangle, depicting the outer packet (with “src: CoA2” and “dst: CN”
labels). Ex. 1004, Fig. 4, 8:59–65; Pet. 35–36. Thus, Ishiyama teaches the
entire transmitted packet comprises the request message. Id. at 8:59–65,
Fig. 4. This finding is consistent with Petitioner’s arguments made during
the oral hearing that Ishiyama’s entire transmitted packet (i.e., the

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encapsulated packet plus the outer packet, which has the changed source
address) is the claimed request message. See, e.g., Tr. 27:23–28:4, 29:10–
17, 30:3–11, 34:14–35:1, 40:12–14, 65:8–67:7.
      Second, we agree with Petitioner and find that Ishiyama teaches that
the “[r]equest [is] for changing the security association to the correspondent
[host]” as part of mobile computer 2 performing a SA Gateway Update.
Pet. 32 (quoting Ex. 1004, 11:39–40); Ex. 1004, 11:39–46. More
specifically, Ishiyama teaches that mobile computer 2’s “request [is] to
change the previous CoA used as the destination in the security association
into the current CoA.” Ex. 1004, 11:43–45; see also Pet. at 32 (annotating
Ex. 1004, Fig. 7; citing Ex. 1004, 12:54–57 (arguing that “[t]he SA Gateway
Update operation is depicted as operation (5) in Figure 7”)). In other words,
Ishiyama teaches that the request message is sent to request that the
correspondent host change the secure connection so as to be defined between
the mobile computer’s second address and the address of the correspondent
host. See, e.g., Ex. 1004, 11:39–45, 12:54–60, Fig 7; Pet. 32. “As a result
of these operations, at the correspondent [node] currently communicating
with the mobile computer 2, the endpoint of the IPSEC tunnel is changed
from ‘CoA1’ to ‘CoA2’ as the destination of all the security associations is
changed to the current CoA ‘CoA2.’” Ex. 1004, 12:66–13:3; Pet. 33.
      In addition, as we discuss in detail above, Murakawa teaches a
security gateway, as well as establishing a secure connection between a
terminal (PC 101) and the security gateway. See, e.g., Ex. 1005, 1:59–2:4,
2:62–65, 4:13–16, Fig. 5; supra Section VI(C)(1)–(2) (discussing our
findings regarding, inter alia, Figure 5’s teachings).




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      We find combining Ishiyama’s mobile address changing functionality
with Murakawa’s security gateway and another terminal teaches “while at
the second address, the mobile terminal sending a request message to the
gateway address of the security gateway to request the security gateway to
change the secure connection to be defined between the second address and
the gateway address of the security gateway.”

         5. In Response to the Request Message
      Claim 1 further recites “in response to the request message from the
mobile terminal, the security gateway changing an address definition of the
secure connection from the first address to the second address.” Ex. 1001,
10:64–67. We agree with Petitioner and find that the combination of
Ishiyama and Murakawa teaches this limitation. Pet. 33–34. We find that
Ishiyama teaches that correspondent host 3 detects mobile computer 2’s
address change based on the request message (i.e., the source address in the
request message’s outer packet has changed), and updates mobile computer
2’s address to CoA2 for the IPSec tunnel in the correspondent host’s SA
database. See Ex. 1004, 8:66–9:4, 12:51–59, Figs. 9B, 9D (illustrating
exemplary SA databases); Pet. 33–34. Ishiyama’s Figure 9B (mobile
computer’s first location) and Figure 9D (mobile computer’s second
location) illustrate this update at the correspondent host (labeled “CN” in the
figures) by replacing Figure 9B’s “dst” field value of “CoA1” with “CoA2,”
as shown in Figure 9D. Compare Ex. 1004, Fig. 9B, with id. at Fig. 9D.
“As a result of these operations, at the correspondent [node] currently
communicating with the mobile computer 2, the endpoint of the IPSEC
tunnel is changed from ‘CoA1’ to ‘CoA2’ as the destination of all the
security associations is changed to the current CoA ‘CoA2’.” Ex. 1004,


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12:66–13:3; Pet. 34. In addition, as we discuss in detail above, Murakawa
teaches a security gateway, as well as establishing a secure connection
between a terminal and the security gateway. See, e.g., Ex. 1005, 1:59–2:4,
2:62–65, 4:13–16, Fig. 5; supra Section VI(C)(1)–(2) (discussing our
findings regarding, inter alia, Figure 5’s teachings).
      In summary, we find combining Ishiyama’s mobile address changing
functionality with Murakawa’s security gateway and another terminal
teaches “in response to the request message from the mobile terminal, the
security gateway changing an address definition of the secure connection
from the first address to the second address.”

         6. Mobile Terminal Sending a Secure Message
      Claim 1 further recites “the mobile terminal sending a secure message
in the secure connection from the second address of the mobile terminal to
the other terminal via the security gateway.” Ex. 1001, 11:1–3. We agree
with Petitioner and find that the combination of Ishiyama and Murakawa
teaches this limitation. Pet. 35–40. We find that Ishiyama teaches sending a
secure message in the secure connection from the second address of
Ishiyama’s mobile computer to its correspondent host, as shown below in
Figure 7’s operation (6), as annotated by Petitioner. See Pet. 37 (annotating
Ex. 1004, Fig. 7).




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                            (1 ) SA GENERATION BY KEY
                                 MANAGEMENT PROTOCOL

                          (2) Src: CoAJ
                              Dst : CN
                                           ESP
                                           SPl::cl      I Src : Haddr
                                                        . Dst : CN
                                                                           II
                                                                           __



                (3) Src : CN
                    Ost : CoAl
                                 ESP
                                 SPl=m I
                                           I   Src : CN
                                               Dst : Haddr
                                                               II
                 (MOVED TO N2 : CoA2 ACQUIRED)

                 (4) REGISTER CoA2 INTO DNS SERVER
                     USlNG Dynamic DNS Update
                        (5) SA Gateway Update Haddr: CoA l-+CoA2


                          (6) Src : CoA2
                              Dst : CN
                                           ESP
                                           SPJ=el       I. Dst : CN I__I
                                                             Src : Haddr




                 (7) Src : CN  ESP
                     Ost: CoA2 SPJ=ml
                                           I   Src : CN
                                               Dsf: Hadclr
                                                             II

      Figure 7 “is a sequence chart showing an exemplary processing
sequence in the case where the mobile computer initiates communications at
a visited site and then changes . . . location.” Ex. 1004, 5:20–23. Petitioner
annotated Figure 7 with a green box around the correspondent node (“CN”)
identifier and a red box around the mobile computer identifier (“MN”).
Pet. 49 (annotating Ex. 1004, Fig. 7). Ishiyama teaches that as a result of its
CoA update operations, “at the correspondent [host] currently
communicating with the mobile computer 2, the endpoint of the IPSEC
tunnel is changed from ‘CoA1’ to ‘CoA2’ as the destination of all the
security associations,’” and “[c]onsequently, the session is guaranteed even
when the mobile computer 2 moves . . . .” Ex. 1004, 12:66–13:5; Pet. 35 &
n.6. Put differently, as Figure 7 illustrates, mobile computer 2 sends a
secure message from its second address to correspondent host 3 using the
same IPSec. Ex. 1004, Fig. 7 (illustrating for operation (6) that the outer

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packet’s Src: has the value “CoA2” and Dst: has the value “CN”); 12:66–
13:5.
        As to Murakawa, we agree with Petitioner and find that Murakawa
teaches a terminal sending a secure message in a secure connection to an
address of another terminal via the security gateway. E.g., Ex. 1005, Fig. 5;
Pet. 38–39. This is shown in Murakawa’s Figure 5, shown below as
annotated in the Petition. See Pet. 38 (providing annotated Figure 5).
                         FIG. 5    PRIOR ART

                                  101
                                                           Mobile


                                           □
                                                          Ter minal




                                                    102




                                                              Security
                                                              Gateway
                                                    103




                                                                          Other


                                         □□
                                                                         Terminals

                                        t:==:l -        c=:::J . . . .


                        105                  106               107


        Murakawa’s Figure 5 shows a “prior art typical network system.”
Ex. 1005, 4:32–33. Petitioner annotated the figure with (i) a red box around
PC 101 and labeled “Mobile Terminal,” (ii) a green box around security
gateway 103 and labeled “Security Gateway,” and (iii) a blue box around
each of PC 106 and PC 107, and labeled “Other Terminals.” Pet. 38
(annotating Ex. 1005, Fig. 5). As illustrated in Figure 5, Murakawa teaches


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that outside terminal (PC 101) sends a secure message in the secure
connection (VPN 108) to another terminal (PC 106) via security gateway
103. Id. at 1:61–2:4, 2:62–65, Fig. 5; see also supra Section VI(C)(1)
(discussing our findings regarding Figure 5’s teachings); Pet. 38–39.
      Furthermore, we credit Dr. Goldschlag’s testimony that one of
ordinary skill in the art would have understood that Murakawa teaches a
well-known IPSec tunnel mode configuration with a security gateway
facilitating communication between a mobile terminal and other terminals
because this testimony is consistent with our findings of Murakawa’s
teachings. See Ex. 1002 ¶¶ 85–88.
      Accordingly, we find that the combination of Ishiyama and Murakawa
teaches the mobile terminal sending a secure message in the secure
connection (VPN 108) from its second address (CoA2) to the other terminal
(PC 106) via security gateway 103.
      Lastly, we are not persuaded by Patent Owner’s arguments that
Ishiyama’s “operation (6) is shown to be an end-to-end, two-way secure
communication from the mobile terminal MN to the correspondent terminal
CN,” and does not teach “[t]he three-component connection called for by the
claim (mobile terminal-security gateway-other terminal).” PO Resp. 57.
Patent Owner focuses on Ishiyama’s teachings individually, rather than the
combined teachings of Ishiyama and Murakawa. See In re Merck & Co.,
800 F.2d 1091, 1097 (Fed. Cir. 1986) (“Non-obviousness cannot be
established by attacking references individually where the rejection is based
upon the teachings of a combination of references”). Again, as to the second
way Petitioner combines Ishiyama and Murakawa, Ishiyama’s mobile
address changing functionality is combined with Murakawa’s security


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gateway configuration (e.g., security gateway 103 and other terminal 106).
See Pet. 12–54; Dec. on Inst. 24–25, 37–38 (noting the two alternative
ways). Hence, a mobile terminal securely communicates with another
terminal via Murakawa’s security gateway 103 rather than Ishiyama’s
correspondent host 3. Id.
      In summary, we find combining Ishiyama’s mobile address changing
functionality with Murakawa’s security gateway and another terminal
teaches “the mobile terminal sending a secure message in the secure
connection from the second address of the mobile terminal to the other
terminal via the security gateway.”

          7. Combining Ishiyama and Murakawa
      For the reasons we provide below, we find that Petitioner has
demonstrated by a preponderance of the evidence that one of ordinary skill
in the art would have found it obvious to combine Ishiyama’s mobile
address changing functionality with Murakawa’s security gateway and other
terminal in the manner claimed.
      First, we agree with Petitioner and find that Ishiyama teaches using
IPSec in tunnel mode with its mobile address changing functionality. E.g.,
Ex. 1004, 7:45–49, 8:43–65, 11:9–16, Fig. 4; Pet. 17–18, 20, 22. More
specifically, we find that Ishiyama teaches that “mobile computer 2 always
uses the IPSEC in the tunnel mode at a time of making a connection to the
correspondent host 3.” Ex. 1004, 11:9–16. Figure 4 also illustrates that
mobile computer 2 connects to correspondent host 3 via an IPSec tunnel.
See Ex. 1004, Fig. 4 (labeling the connections as “IPSEC TUNNEL”), 8:43–
65; Pet. 22.




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      Second, Petitioner persuasively shows that one of ordinary skill in the
art would have understood that tunnel mode was used for communicating via
a security gateway. Specifically, we find that one of ordinary skill in the art
would have known that “[t]unnel mode . . . is generally used for sending
messages through more than two components . . . .” Ex. 1001, 3:19–219;
Pet. 17 (citing Ex. 1001, 3:19–30; Ex. 1002 ¶ 57). We also credit in support
of this finding the below deposition testimony of Patent Owner’s expert, Dr.
Rouskas, who testified as follows:
      Q: So in all the instances where you personally have used IPSec,
      you have only ever used IPSec tunnel mode with security
      gateway being one of the endpoints. Right?

      A: So I have been using IPSec for, you know, more than 20
      years. But to the best of my recollection that is right, I have only
      used it when one of endpoints is security gateway.


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  “Statements in a challenged patent’s specification may be used . . . when
they evidence the general knowledge possessed by someone of ordinary skill
in the art.” Memorandum: Treatment of Statements of the Applicant in the
Challenged Patent in Inter Partes Reviews Under § 311 (Aug. 2020)
(available at https://www.uspto.gov/sites/default/files/documents/
signed_aapa_guidance_memo.pdf), 4. “Permissible uses . . . under § 103
include . . . supporting a motivation to combine particular disclosures.” Id.
at 6 (citing Koninklijke Philips v. Google, 948 F.3d 1330, 1337–38 (Fed. Cir.
2020)). We find that the statements cited by Petitioner from the ’581
patent’s Technical Background section evidence the general knowledge
possessed by one of ordinary skill in the art at the time of the invention of
the ’581 patent as they are contained in the “Technical Background” section
and are consistent with the evidence of record. See, e.g., Pet. 8–9 (citing,
e.g., Ex. 1001, 3:10–11, 3:14–15, 3:22–24), 17 (citing Ex. 1001, 3:19–30),
20 (citing Ex. 1001, 3:19–21). Patent Owner does not challenge Petitioner’s
reliance on statements from the Technical Background section of the ’581
patent. See generally PO Resp. Even so, we reach the same conclusions
even without reliance on the statements from the ’581 patent.

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Ex. 1019, 111:21–112:9; Pet. Reply 8. In addition, we credit Dr.
Goldschlag’s declaration testimony, which is consistent with
contemporaneous evidence in the record, that “[t]unnel mode is used when
one or both ends of an SA is a security gateway . . . that implements IPSec.”
Ex. 1002 ¶ 33 (quoting Ex. 1009, 14) (emphasis omitted); see also Ex. 1001,
3:19–21 (admitting that “tunnel mode is often used when one or both ends of
a SA is a security gateway, such as a firewall or router that implements
IPSec”); Pet. 20.
      Lastly, we agree with Petitioner and find that tunneling packets
through a security gateway for two terminals to communicate (such as in
Murakawa) was well-known in the art at the time of the invention of the
’581 patent. Pet. 24–25. In particular, we find that Murakawa’s security
gateway configuration (e.g., Figure 5) is “a prior art typical network
system,” which provides communications between terminals. Ex. 1005,
4:32–33, Fig. 5; Pet. 24–25. Moreover, in its Technical Background section,
the ’581 patent teaches the following:
             The IPSec tunnel mode operates e.g. in such a way that if
      a host on a network generates an IP packet with a destination
      address of another host on another network, the packet is routed
      from the originating host to a security gateway (SGW), firewall
      or other secure router at the boundary of the first network. The
      SGW or the like filters all outgoing packets to determine the need
      for IPSec processing. If this packet from the first host to another
      host requires IPSec, the firewall performs IPSec processing and
      encapsulates the packet in an outer IP header. The source IP
      address of this outer IP header is this firewall and the destination
      address may be a firewall that forms the boundary to the other
      local network. This packet is now routed to the other host[’]s
      firewall with intermediate routers examining only the outer IP
      header. At the other host firewall, the outer IP header is stripped
      off and the inner packet is delivered to the other host.


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Ex. 1001, 3:47–62; see also Pet. 36, 43. In other words, this passage also
teaches that tunneling packets through a security gateway for two terminals
to communicate was well-known in the art at the time of the invention of the
’581 patent. Ex. 1001, 3:47–62. We also credit Dr. Goldschlag’s testimony
that it was well-known in the art for a security gateway, such as that
disclosed in Murakawa, to facilitate communication between a mobile
terminal and other terminals as this testimony is consistent with Murakawa’s
teachings. Ex. 1002 ¶ 66; Pet. 24.
      In summary, we find that (1) Ishiyama’s address changing
functionality employs tunnel mode, (2) tunnel mode was generally used
when at least one end of an SA was a security gateway, and (3) Murakawa
teaches a typical, prior art security gateway configuration. Based on these
findings, we find that one of ordinary skill in the art would have found it
obvious to employ Ishiyama’s address changing functionality with a security
gateway, such as taught in Murakawa. See PGS Geophysical AS v. Iancu,
891 F.3d 1354, 1365 (Fed. Cir. 2018) (“[T]he motivation to modify a
reference can come from the knowledge of those skilled in the art, from the
prior art reference itself, or from the nature of the problem to be solved.”)
(citation omitted).
      Put differently, based on these findings, Ishiyama’s use of tunnel
mode would have suggested to one of ordinary skill in the art using
Ishiyama’s address changing functionality with Murakawa’s security
gateway configuration. Id.; Pet. 18, 20, 22, 23, 25. We also credit Dr.
Goldschlag’s testimony that one of ordinary skill in the art “reading
Ishiyama would have understood that the use of tunnel mode suggests the
use of a security gateway that tunnels messages to an ‘other node.’”

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Ex. 1002 ¶ 61 (citing id. ¶¶ 33–36); Pet. 20. This testimony is consistent
with our findings discussed above.
      Additionally, we also credit the following testimony of Dr.
Goldschlag:
      [I]n view of Ishiyama’s stated goal of addressing a mobile
      terminal with a changing address, [one of ordinary skill in the
      art] would have understood that implementing Ishiyama’s
      correspondent host functionality with the security gateway
      described in Murakawa would be highly desirable in the
      telecommunication context. As Ishiyama explains, implementing
      its IPsec address updating algorithm allows a mobile terminal
      and a security gateway to maintain communication ‘without
      interrupting the session’ initially established even when the
      mobile terminal changes to another address.
Ex. 1002 ¶ 68 (citing Ex. 1004, 6:54–60); Pet. 25. We find that one of
ordinary skill in the art would have been motivated to incorporate
Ishiyama’s mobile address changing functionality with Murakawa’s security
gateway configuration “to maintain communication ‘without interrupting the
session’ initially established even when the mobile terminal changes to
another address.” Ex. 1002 ¶ 68; KSR, 550 U.S. 417 (“[I]f a technique has
been used to improve one device, and a person of ordinary skill in the art
would recognize that it would improve similar devices in the same way,
using the technique is obvious . . . .”). Moreover, we do not find this
testimony conclusory, as Patent Owner alleges (PO Resp. 50), because
Dr. Goldschlag explains why combining Ishiyama and Murakawa would
have been highly desirable (i.e., because it would maintain communication
without interrupting the session). Ex. 1002 ¶ 68 (citing Ex. 1004, 6:54–60).
We agree that having no interruption when the mobile terminal moves




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“would [have] be[en] highly desirable in the telecommunication context.”
Id.
      We are not persuaded by Patent Owner’s arguments that Petitioner
“fails to provide the requisite explanation as to how Ishiyama and Murakawa
are to be combined or what is the operation of the resulting
combination.” PO Resp. 51; see also id. at 59 (citing Ex. 2009 ¶ 152).
Rather, we agree with Petitioner and find that one of ordinary skill in the art
“could[10] have easily performed th[e] implementation” of combining
Ishiyama’s address changing functionality with the security gateway
described in Murakawa “in view of the security gateway suggestion from
Ishiyama’s tunnel mode operation.” Pet. 26 (citing Ex. 1002 ¶ 69). Simply
put, Ishiyama’s mobile computer 2 communicates with correspondent host 3
using IPSec tunnel mode just as Murakawa’s PC 101 communicates with
security gateway 103 using IPSec tunnel mode. E.g., Ex. 1004, 8:43–49,
11:9–16, Fig. 4; Ex. 1005, 1:61–63, 2:62–65, Fig. 5; Pet. 39. Ishiyama’s
address changing functionality utilizes the outer packet’s source address
with Ishiyama’s tunnel mode connection. E.g., 1004, 8:43–65, Fig. 4.
Petitioner’s combination likewise utilizes the outer packet’s source address
(as in Ishiyama) with Murakawa’s tunnel mode connection. E.g., 1004,


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   Although we consider whether one of ordinary skill in the art “could”
have combined Ishiyama’s and Murakawa’s relevant teachings with respect
to these arguments related to operability, we above find that one of ordinary
skill in the art “would” have combined Ishiyama’s and Murakawa’s relevant
teachings. See PGS Geophysical, 891 F.3d at 1365 (recognizing that
whether one of ordinary skill in the art “could” or “would” have combined
references are related, separate questions); see also supra Section VI(C)(7)
(finding that one of ordinary skill in the art would have combined the
references).

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8:43–65, Fig. 4.; Ex. 1005, 1:59–2:4, Fig. 5; Pet. 38–40; Pet. Reply 16–17
(citing Pet. 39–40; Ex. 1022 ¶¶ 48–56). Moreover, we do not find Dr.
Goldschlag’s testimony conclusory, as Patent Owner alleges (PO Resp. 59),
but rather Dr. Goldschlag explains that one of ordinary skill in the art could
have easily combined Ishiyama’s address changing functionality with the
security gateway described in Murakawa in light of Ishiyama’s tunnel mode
operation (i.e., both Murakawa and Ishiyama employ tunnel mode). See Ex.
1002 ¶ 68.
      We also are not persuaded by Patent Owner’s argument that “the
security gateway 103 and computer 106 illustrated in Murakawa’s Figure 5
could not be combined into the address changing system as of Ishiyama
illustrated in Figure 4.” PO Resp. 53. In particular, Patent Owner argues
“that Ishiyama’s security policy databases [(“SPDs”)] (Figures 8A–8B) and
the security association databases [(“SADs”)] (Figures 9A–9D) would not
operate if the components of Murakawa were inserted in place of Ishiyama’s
correspondent host.” Id. at 53–54 (citing Ex. 2009 ¶ 148). Contrary to
Patent Owner’s arguments, however, “it is not necessary that the inventions
of the references be physically combinable to render obvious the invention
under review.” In re Sneed, 710 F.2d 1544, 1550 (Fed. Cir. 1983). The
relevant inquiry is whether the claimed subject matter would have been
obvious to those of ordinary skill in the art in light of the combined
teachings of those references. See In re Keller, 642 F.2d 413, 425 (CCPA
1981). And, as we find above, one of ordinary skill in the art would have
found it obvious to combine Ishiyama’s address changing functionality with
Murakawa’s security gateway and other terminal. This does not mean that
Ishiyama’s specific SPD and SAD databases are used in that combination, as


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Patent Owner argues. In re Nievelt, 482 F.2d 965, 968 (CCPA 1973)
(“Combining the teachings of references does not involve an ability to
combine their specific structures.”); see also In re Mouttet, 686 F.3d 1322,
1332 (Fed. Cir. 2012) (“It is well-established that a determination of
obviousness based on teachings from multiple references does not require an
actual, physical substitution of elements.” (citing In re Etter, 756 F.2d 852,
859 (Fed. Cir. 1985) (en banc))). Rather, one of ordinary skill in the art
would have “be[en] able to fit the teachings of [Ishiyama and Murakawa] . . .
together like pieces of a puzzle” because the skilled artisan is “a person of
ordinary creativity, not an automaton.” KSR, 550 U.S. at 420–21. Likewise,
we are not persuaded by Patent Owner’s example that if a new terminal with
a new address was added, “the Ishiyama system would be unable to process
messages sent to or received from the new terminal” because the new
address would not be found in Ishiyama’s SPD. PO Resp. 53. Again,
combining the teachings of Ishiyama and Murakawa does not involve
woodenly combining their specific structures, and does not require using
Ishiyama’s specific SPD. Nievelt, 482 F.2d at 968. And, Murakawa’s
existing role in addressing packets between terminals (e.g., PC 101 and PC
106) also remains a part of Petitioner’s combination. See, e.g., infra Section
VI(G) (discussing Murakawa’s Figure 8, and accompanying text, concerning
addressing messages sent between terminals via a security gateway); Pet. 45.
      Likewise, we are not persuaded by Patent Owner’s argument that
“Petitioner fails to explain what modifications to Ishiyama’s . . . [SPDs and
SADs] would be required for Ishiyama to work with security gateway 103 as
the opposing endpoint instead of correspondent host 3.” PO Sur-Reply 20
(citing Ex. 1004, Figs. 8–9). Again, Ishiyama’s specific SPDs and SADs are


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not part of Petitioner’s combination. In re Nievelt, 482 F.2d at 968. In
addition, we agree with Petitioner and find that SADs and SPDs are
commonplace in IPSec communications, and security gateways are required
to have at least “one pair of SADs and one pair of SPDs.” See Pet. Reply 13
(citing Ex. 1011, 13; Ex. 1019, 89:8–15); see also Ex. 1022 ¶ 56. And, we
agree with Petitioner that Ishiyama’s description of SPDs and SADs “does
not preclude the operation of a security gateway also implementing these
components.” Pet. Reply 17 (citing Ex. 1022 ¶ 56). In other words, we find
that one of ordinary skill in the art would have understood that the address
changing functionality used with Ishiyama’s SPDs and SADs also can be
used with the SPDs and SADs of a common security gateway configuration,
such as described by Murakawa. See Ex. 1011, 13; Ex. 1019, 89:8–15;
Ex. 1022 ¶ 56. Accordingly, we find that one of ordinary skill in the art
would have found it obvious to combine the teachings of Ishiyama and
Murakawa to provide for Ishiyama’s address changing functionality being
incorporated into Murakawa’s security gateway configuration. See KSR,
550 U.S. at 420–21 (finding the skilled artisan would “be able to fit the
teachings of multiple patents together like pieces of a puzzle” because the
skilled artisan is “a person of ordinary creativity, not an automaton”). In
addition, we find misplaced Patent Owner’s focus on Petitioner’s use of the
word “preclude.” PO Sur-Reply 18 (arguing that Ishiyama “should be
interpreted for what it affirmatively teaches as opposed to what it does not
‘preclude’”) (citation omitted). In the context of Petitioner’s argument, it is
clear that Petitioner means that Murakawa’s security gateway’s SPDs and
SADs also can implement Ishiyama’s address changing functionality. See
Pet. Reply 17 (citing Ex. 1022 ¶ 56).


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      We also are not persuaded by Patent Owner’s argument that “[a]
person of ordinary skill in the art would not readily understand how
Ishiyama’s SA databases could be modified to accommodate Murakawa’s
components.” PO Resp. 53 (citing Ex. 2009 ¶ 148). Nor are we persuaded
that “[a] person of ordinary skill would not have a reasonable expectation of
success given that there is no explanation as to how the references would be
combined and how the resulting system would operate,” as Patent Owner
argues. Id. (citation omitted). Rather, as we find above, combining the
teachings of Ishiyama and Murakawa does not require using Ishiyama’s
specific SA databases. Nievelt, 482 F.2d at 968. And, as we find above, one
of ordinary skill in the art would and could have easily combined Ishiyama’s
address changing functionality with the security gateway described in
Murakawa. See Ex. 1002 ¶ 68.
      We also are not persuaded by Patent Owner’s argument that “a person
of ordinary skill would be taught away from combining Ishiyama and
Murakawa.” PO Resp. 54. We find that Patent Owner does not cite any
portion of Ishiyama that criticizes, discredits, or otherwise discourages
combining Ishiyama’s mobile address changing functionality with
Murakawa’s security gateway configuration. Id.; In re Fulton, 391 F.3d
1195, 1201 (Fed. Cir. 2004) (teaching away requires that a reference
“criticize, discredit, or otherwise discourage” investigation into the claimed
solution). To the contrary, as we find above, Ishiyama’s use of tunnel mode
suggests combining its address changing functionality with Murakawa’s
security gateway configuration. In re Urbanski, 809 F.3d 1237, 1243–44
(Fed. Cir. 2016) (finding that there was no teaching away as the prior art
references suggested the modification and did not teach that the modified


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process would be inoperable). We also do not credit Dr. Rouskas’ testimony
as it is contrary to our findings above. Ex. 2009 ¶ 148.
      Lastly, we agree with Patent Owner that only asserting that references
“could” be combined may be insufficient. PO Resp. 52–53 (citations
omitted). However, as we find above, Petitioner provides persuasive
articulated reasoning as to why one of ordinary skill in the art “would” have
combined Ishiyama’s address changing functionality with Murakawa’s
security gateway configuration. Thus, we are not persuaded that Petitioner
fails to show sufficient rationale for combining Ishiyama and Murakawa.
      Accordingly, for the reasons discussed above, we find that Petitioner
provides “some articulated reasoning with some rational underpinning to
support the legal conclusion of obviousness.” See In re Kahn, 441 F.3d 977,
988 (Fed. Cir. 2006) (citations omitted), cited with approval in KSR, 550
U.S. at 418.

          8. Alleged Security Flaw
      Patent Owner argues in its Sur-Reply11 that there is “a major security
flaw in Ishiyama that would prevent it from ever being used by . . . [one of
ordinary skill in the art] as a reference to construct a secure communication
system.” PO Sur-Reply 1. In particular, Patent Owner argues that “the new


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   Petitioner sought our authorization to file a motion to strike Patent
Owner’s Sur-Reply, or, in the alternative, to file a Sur-Sur-Reply to address
the new security flaw argument. Paper 34, 2. We denied the request,
finding that, as in most cases, we are “capable of identifying new issues . . .
when weighing the evidence at the close of trial, and disregarding any new
issues . . . that exceeds the proper scope of . . . sur-reply.” Id. at 3 (quoting
Patent Trial and Appeal Board Consolidated Trial Practice Guide 80
(“Consolidated Practice Guide”) (Nov. 2019) (available at
https://www.uspto.gov/TrialPracticeGuideConsolidated)).

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source address in the outer packet of Ishiyama’s . . . request message . . . is
unencrypted and sent in the clear.” Id. Because of this flaw, one of ordinary
skill in the art “would never use Ishiyama’s outer packet to change the
address definition for the mobile device in a secure connection because it
could easily be intercepted by a malicious intermediary and manipulated to
cause message traffic to be misdirected to an imposter device,” according to
Patent Owner. Id.; see also id. at 2–11 (arguing Ishiyama’s security flaw
defeats Petitioner’s unpatentability allegations).
       The security flaw argument, however, is new. Nowhere in its
Response does Patent Owner make this argument. See generally PO Resp.;
see also Tr. 48:11–25 (Patent Owner admitting that it did not address the
security flaw issue in its Response). Furthermore, Patent Owner admits that
“[n]either the Reply nor [Petitioner’s] expert’s supplemental declaration
address the security flaw.” PO Sur-Reply 5 n.1 (citing Ex. 1022).
Accordingly, we do not consider Patent Owner’s security flaw argument
because it was not made in the Patent Owner Response and is beyond the
proper scope of the Sur-Reply, and thus, is waived. See Paper 11
(Scheduling Order), 7 (“Patent Owner is cautioned that any arguments for
patentability not raised in the response may be deemed waived.”);
Consolidated Practice Guide 74 (citing 37 C.F.R. § 42.23) (“Generally, a
reply or sur-reply may only respond to arguments raised in the preceding
brief.”).




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      Additionally, we are not persuaded by Patent Owner’s arguments to
excuse the waiver.12 During the oral hearing, Patent Owner argued that the
Petition was unclear as to whether the request message was (i) “the message
containing the outer header where the source address of the outer header has
been changed from CoA1 to CoA2,” as shown in Figure 4 of Ishiyama, or
(2) “step 5, the SA gateway update operation, of Figure 7 of Ishiyama.”
Tr. 47:2–14. Patent Owner argued that it asked Dr. Goldschlag during his
deposition “to elaborate on what [Petitioner]’s position was as to what was
the claim’s request message.” Id. at 45:2–4. According to Patent Owner,
“Dr. Goldschlag clarified that the claimed request message was step 5 of
Figure 7 at the Ishiyama patent,” and not the outer header. Id. at 45:4–6,
48:19–49:10. Patent Owner argued that it did not address the security flaw
argument in its Response13 based on (i) the Petition not clearly identifying
that the request message includes the outer header, and (ii) Patent Owner’s
“reliance on Dr. Goldschlag’s testimony that the request message was step 5
and not the outer header.” Id. at 48:19–49:10.
      We are not persuaded by Patent Owner’s arguments for either reason.
First, as we discuss above, the Petition clearly sets forth that Ishiyama’s
request message includes the outer packet’s source address. See supra
Section VI(C)(4) (addressing, inter alia, Ishiyama’s Figure 4 and
accompanying text). For example, the Petition states:

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   We are not suggesting that providing reasons during the oral hearing for
why a new argument was made in a Sur-Reply is the appropriate procedural
mechanism, if any, to excuse waiver. Regardless, we address the merits of
Patent Owner’s reasons here.
13
   Patent Owner argued that it included its security flaw argument in its Sur-
Reply in light of Petitioner’s Reply, which explains that the request message
includes the outer packet. Tr. 47:18–48:7.

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              After the mobile terminal of Ishiyama moves from CoA1
      (i.e., first address) to CoA2 (i.e., second address), Ishiyama
      further describes the sending a request message to the gateway
      address of the correspondent node (i.e[.], security gateway) to
      change the security association definition from CoA1 to CoA2.
      This is shown below in Figure 4 (annotated). Specifically, “the
      mobile computer 2 changes the source address of the outer packet
      of the encapsulated packet to be transmitted to the IPSEC tunnel
      by the mobile computer 2 into ‘CoA2’. . . . [T]he encapsulated
      packet in which the outer packet has the source address =‘CoA2’
      will be transferred.” Ishiyama, 8:59–65.

Pet. 31. Moreover, in our Decision on Institution, when addressing the
claimed request message, we noted that:
      Petitioner argues that after changing addresses, mobile computer
      2 sends a message (having CoA2 for its outer packet’s source
      address) to correspondent host 3 via the IPSec tunnel, requesting
      that correspondent host 3 update to mobile computer 2’s new
      address. [Pet. 31–33] (citing Ex. 1004, 8:59–65, 11:39–45,
      12:66–13:5, Figs. 4, 7).
Dec. on Inst. 31 (emphasis added). Accordingly, we find that the Petition
clearly sets forth that Ishiyama’s request message includes the outer packet’s
source address.
      Second, we disagree with Patent Owner that Dr. Goldschlag testified
that “the request message is step 5 of Figure 7, not the outer header of the
message in Figure 4.” Tr. 45:10–13 (emphasis added). In support of its
argument, Patent Owner referenced the following deposition testimony
during the oral hearing:
           Q [D]o you recall that in the [P]etitioner’s analysis of
      Claim 1, the recited request was allegedly satisfied by the SA
      gateway update Operation 5 in Figure 7 of Ishiyama?




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            A Right. So I think that was the section that we were just
      looking through, that Paragraph 7[5] in my declaration[14] which
      walks through the address change operation.
Tr. 45:14–18 (quoting Ex. 2008, 219:12–19). 15 Patent Owner incorrectly
focused on only the first word of Dr. Goldschlag’s answer — “Right.” Id. at
45:10–18. Dr. Goldschlag clearly includes paragraph 75 of his declaration
in his answer to the question. Id. Paragraph 75, inter alia, annotates Figure
4 and states that it “depicts the change in the security association definition
from CoA1 to CoA2.” Ex. 1002 ¶ 75 (citing Ex. 1004, 8:59–65; annotating
Ex. 1004, Fig. 4). Thus, this deposition testimony clearly does not support
that Dr. Goldschlag testified that the request message does not include the
outer header of the message or Figure 4’s teachings.
      Patent Owner also cited additional deposition testimony of
Dr. Goldschlag during the oral hearing in support of its argument. Tr. 45:7–



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  Dr. Goldschlag was referring to his declaration submitted in IPR2019-
00819 (Ex. 1002), as Patent Owner had previously marked that declaration
during the deposition, placed it before Dr. Goldschlag, and questioned him
on it. Ex. 2008, 20:17–20, 189:15–19, 209:22–217:10. Dr. Goldschlag’s
declaration in IPR2019-00820 (Ex. 1002) was marked by Patent Owner later
in the deposition. Id. at 233:1–2, 233:10–13. This timing applies to all of
Dr. Goldschlag’s deposition testimony discussed in this section. Moreover,
paragraphs 74–76 of the IPR2019-00819 declaration appear in the IPR2019-
00820 declaration, but shifted by one paragraph number (i.e., 74–76
correspond to 75–77). We adjust the numbering in Dr. Goldschlag’s
testimony for clarity to refer to the correct paragraph in the IPR2019-00820
declaration.
15
  During the oral hearing, Patent Owner read this question and the first
word (“Right.”) of Dr. Goldschlag’s answer into the record, rather than
providing the specific cite. Tr. 45:14–18. We here provide
Dr. Goldschlag’s complete answer to the question posed.

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10 (citing Ex. 2008, 219:20–220:4, 228:1–9). For example, Patent Owner
identified the following testimony:
            Q So is it correct that the request recited in the claim is
      alleged to correspond to the SA update -- SA gateway update
      operation, Step 5 of Figure 7 of Ishiyama?
            I can refer you to the petition.
            A Right. So the SA update operation is in Operation 5 --
            Q Okay.
            A -- and that’s Paragraph 7[7] of my declaration.
Ex. 2008, 219:20–220:6. 16 This passage supports that operation 5 of Figure
7 teaches about the claimed request message, as cited in the Petition. See
id.; Pet. 36–37. It does not exclude, however, the teachings of Figure 4, and
its accompanying text. See Ex. 2008, 219:20–220:6. “F[igure] 4 is a
schematic diagram for explaining operations in the case where the mobile
computer changes a connected location in the mobile communication system
of F[igure] 2” while “F[igure] 7 is a sequence chart showing an exemplary
processing sequence in the case where the mobile computer initiates
communications at a visited site and then changes a location in the mobile
communication system of F[igure] 2.” Compare Ex. 1004, 5:11–13, with id.
at 5:21–24. In other words, Figure 4 and Figure 7 are not mutually
exclusive, but rather are complementary in teaching Ishiyama’s invention.
Id. Petitioner cites both figures in support of its arguments that Ishiyama
teaches the claimed request message. Pet. 35–37.
      Moreover, paragraph 77 of Dr. Goldschlag’s declaration (to which he
refers in his answer) begins “Ishiyama refers to this operation as an ‘SA
Gateway Update,’” referring to the previous declaration paragraph 76.

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   Patent Owner cited only a portion of Dr. Goldschlag’s answer (through
line 4) to the question posed, but we here provide his answer in its entirety.

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Ex. 1002 ¶ 77. Paragraph 76 recites that “the mobile computer 2 changes
the source address of the outer packet of the encapsulated packet to be
transmitted to the IPSEC tunnel by the mobile computer 2 into ‘CoA2’” and
that “the encapsulated packet in which the outer packet has the source
address =‘CoA2’ will be transferred.” Ex. 1002 ¶ 76 (citing Ex. 1004, 8:59–
65). Thus, this deposition testimony clearly does not exclude the outer
packet from the request message. Ex. 2008, 219:20–220:6. Likewise, the
third passage of deposition testimony cited by Patent Owner does not
exclude the outer header from the request message, but simply discusses
Figure 7’s teachings. Ex. 2008, 228:1–9.
      Lastly, we provide the following example from Dr. Goldschlag’s
deposition testimony, which Patent Owner did not cite during the oral
hearing but which provides further context for the cited testimony, where Dr.
Goldschlag testified that the request message included the teachings of
Figure 4.
             Q And in the claim, it indicates that the request is sent
      from the mobile terminal to the security gateway, and you’ve
      mapped that to Operation 5 in Figure 7[?]
             A Which is also from the mobile terminal to the security
      gateway, right. And if you go back to it picture, right, there is
      that IPsec tunnel. If you go back to Figure 4, if you don’t mind.
             Q Let’s just stick with Figure 7, please.
             A But Figure 4 will help sort of illustrate it. The mobile
      computer has a tunnel, and one of the purposes of the change of
      address is to use the same SA for the new tunnel, so it uses the
      new tunnel and it sends those messages over that tunnel.

Ex. 2008, 229:19–230:10.
      In summary, Dr. Goldschlag’s deposition testimony, taken as a whole,
does not support a finding that Dr. Goldschlag stated the request message


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excludes Figure 4’s teachings and the use of the outer header’s source
address. Ex. 2008, 219:12–220:6, 228:1–9.
      Additionally, we are not persuaded by Patent Owner’s argument that
“Petitioner was aware of the security flaw (see March 20, 2020, deposition
of Dr. Rouskas) well in advance of the Reply (filed April 1, 2020)” and
chose not to address it in its Reply. PO Sur-Reply 5 n.1; see also Tr. 49:24–
50:6. Again, Patent Owner does not address the security flaw argument in
its Response. See generally PO Resp. Thus, Petitioner correctly did not
address the security flaw argument in its Reply because doing so would have
been beyond the proper scope of the Reply. See 37 C.F.R. § 42.23(b) (“A
reply may only respond to arguments raised in the corresponding . . . patent
owner response.”); Consolidated Practice Guide 74.
      Lastly, Patent Owner certainly was aware of its security flaw
argument at least as early as March 20, 2020 when Patent Owner’s expert,
Dr. Rouskas, was deposed. During this deposition, Patent Owner on redirect
extensively questioned Dr. Rouskas on Ishiyama’s alleged security flaw.
See Ex. 1019, 184:6–197:22. This occurred more than ten days before
Petitioner filed its Reply on April 1, 2020. Nonetheless, Patent Owner did
not seek our authorization to supplement its Response (with a showing of
good cause) during that more than ten day period or afterwards.

       D. Challenged Claim 2
      Claim 2 depends from independent claim 1, and recites “[t]he method
of claim 1, wherein the secure connection is established in step a) by
forming a Security Association (SA).” Ex. 1001, 11:4–5. Patent Owner
does not raise any arguments specific to claim 2.




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We agree with Petitioner and find that Ishiyama teaches this additional
limitation. Pet. 47–48. We find that Ishiyama teaches that “mobile
computer 2 always uses the IPSEC in the tunnel mode at a time of making a
connection to the correspondent host 3, [and] the appropriate existing key
management protocol is followed at a time of exchanging the security
association with the correspondent host 3.” Ex. 1004, 11:9–17 (emphasis
added). Ishiyama also teaches that “a procedure for making agreement
regarding the contents of the security association with the correspondent is
carried out before the use of the IPSEC [tunnel].” Id. at 9:63–66 (emphasis
added). And, Ishiyama teaches that its “IPSEC processing is carried out
according to the contents described in the security association.” Id. at 9:50–
51 (emphasis added).
      Accordingly, based on a review of the entire record, we find that
Petitioner has demonstrated by a preponderance of the evidence that claim 2
would have been obvious over the combined teachings of Ishiyama and
Murakawa.

       E. Challenged Claim 4
      Claim 4 depends from independent claim 1, and recites “[t]he method
of claim 1, wherein the request message and/or a reply message is encrypted
and/or authenticated.” Ex. 1001, 11:9–10. Petitioner argues that Ishiyama
teaches that the request message is encrypted. Pet. 48–50. We disagree.
      Petitioner focuses on only a portion of Ishiyama’s request message
(i.e., the encapsulated packet) in arguing that Ishiyama teaches that the
request message is encrypted. See Pet. 48–50; Pet. Reply 18–19. For
example, Petitioner argues that “Ishiyama explains that the mobile
computer 2 includes ‘an encryption unit 114 for carrying out the


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encapsulation and encryption on transmission packets.’” Pet. 49 (quoting
Ex. 1004, 13:40–41; citing Ex. 1004, 13:33–35). “Indeed a main
requirement and pillar of IPsec is to encrypt messages,” according to
Petitioner. Id. (citing Ex. 1011, 4 at § 2.1, 6–7 at §§ 3.1–3.2). Moreover,
Petitioner argues that “Ishiyama explains that ‘[i]n the tunnel mode IPSEC
communications, the packet encapsulation and the encryption/decryption of
the inner packet are carried out and the IPSEC module 22 [of mobile unit 2]
has functions for realizing such encapsulation and encryption/decryption
processing.’” Pet. Reply 18 (quoting Ex. 1004, 7:56–60). “The mobile unit
then uses this IPSEC module to transmit an ‘encapsulated packet’ via the
IPSEC tunnel to update the address at the other endpoint,” according to
Petitioner. Id. (citing Ex. 1004, 8:55–9:10). Petitioner argues that “[b]y
using IPSec to perform the update, the packet and the request message are
encrypted.” Id. at 18–19 (citing Ex. 1022 ¶¶ 60–62; Ex. 1011, 4 at § 2.1, 6–
7 at §§ 3.1–3.2). Petitioner adds that Patent Owner’s expert, “Dr. Rouskas[,]
even confirmed this during his deposition.” Id. at 19 (citing Ex. 1019,
175:19–176:2 (Dr. Rouskas testifying “[s]o, yes, the payload of that packet
is encrypted”)).
      None of the passages that Petitioner cites for this limitation, however,
teach that the request message’s outer packet’s source address is encrypted.
Rather, Ishiyama only teaches that the encapsulated packet (payload) is
encrypted. E.g., Ex. 1004, 7:56–60. In fact, Petitioner admits that in
Ishiyama the request message’s outer packet’s source address is
unencrypted. See, e.g., Tr. 27:9–16. However, the outer packet’s source
address is a part of the request message in Ishiyama. See, e.g., Ex. 1004,
Fig. 4, 8:59–65. For example, Ishiyama teaches the following:


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      [W]hen the current location address of the mobile computer is
      changed to a new address, the mobile computer notifies the
      change of the own current location address to the correspondent
      by setting the new current location address as the source address
      of the outer packet of the encapsulated packet. Upon receiving
      this encapsulated packet, the correspondent can continue
      communications by changing only the destination address of the
      outer packet to the new current location address in the
      encapsulated packets to be transmitted thereafter.
Id. at 6:13–22. Thus, Ishiyama describes the request message as including
the outer packet, and that packet is unencrypted.
      Claim 4 recites that “the request message . . . is encrypted.” Ex. 1001,
11:9–10. Thus, the plain words of the claim state that the message is
encrypted—not that a portion of the message is encrypted. The ’581 patent
Specification likewise does not describe that only a portion of the request
message is encrypted. Id. at 9:60–10:5. Specifically, the Specification
discloses that, “[i]n signal 10a of [Figure 5],” which is sent from the mobile
terminal when a mobile terminal moves to address B, “a request for
registration (RREQ) of the new address is sent.” Id. at 9:63–66. The
Specification adds that “signal[] 10a . . . can be encrypted and/or
authenticated.” Id. at 10:1–2. Petitioner does not identify any description in
the ’581 patent of encrypting only a portion of the request message. See Pet.
Reply 18–19; Tr. 67:8–68:20. At the hearing, Petitioner argued that one of
ordinary skill in the art would have understood that only a portion of the
message need be encrypted. Tr. 67:8–68:20. Petitioner, however, fails to
provide any persuasive evidence in support of this reading of the claim in
view of the express claim language and the description in the Specification.
      Petitioner thus provides no basis to allow for a portion of the request
message to be unencrypted. See generally Pet. 48–50; Pet. Reply. 18–19.


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Claim 4 requires that the request message (not just a portion thereof) is
encrypted, and Petitioner fails to show that Ishiyama’s request message
(which includes the unencrypted outer packet’s source address) meets this
requirement. Ex. 1001, 11:6; see also In re Hiniker Co., 150 F.3d 1362,
1369 (Fed. Cir. 1998) (“[T]he name of the game is the claim.”).
      Furthermore, during the oral hearing, Petitioner repeated its argument
that Ishiyama’s request message is encrypted because the encapsulated
packet is encrypted, even though the outer packet’s header is unencrypted.
See Tr. 27:9–11, 30:3–11. Having an unencrypted outer packet “would be
just like [what] the claims would require, as well, because you can’t send a
request message without having an outer packet that’s unencrypted,”
according to Petitioner. Id. at 30:12–16. Put differently, Petitioner argued:
      [T]he request message that’s being sent is encrypted. The outer
      header isn’t encrypted, but the rest of the message is. And there’s
      a reason why the outer header isn’t encrypted: because it can’t
      be. If the outer header was encrypted, then the message wouldn’t
      be able to be sent because nobody would be able to know what
      the destination and source addresses are. So, of course, the outer
      header isn’t encrypted, but the rest of the message is, in fact,
      encrypted.

Id. at 27:9–16. We are not persuaded by Petitioner’s argument that Ishiyama
teaches this limitation because the outer header cannot be encrypted. First,
Petitioner does not point to any evidence to support this argument, and thus,
we do not credit it. See In re Geisler, 116 F.3d 1465, 1470 (Fed. Cir. 1997)
(explaining that attorney arguments and conclusory statements that are
unsupported by factual evidence are entitled to little probative value).
      Second, even if we consider this argument, Petitioner conflates a
request message that includes its unencrypted outer packet as a part of the


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request message (such as in Ishiyama) with a request message that does not
(e.g., a request message that is contained wholly within the encrypted
encapsulated packet), and Petitioner does not account for the latter. E.g., Tr.
27:9–16, 30:12–16. Nor does Petitioner provide any argument or evidence
to show that an example request message (i.e., “a registration request
(RREQ)”) disclosed in the ’581 patent is not wholly within the encrypted
encapsulated packet. See generally Pet.; Pet. Reply; see also Ex. 1001,
7:43–62.
      Accordingly, Petitioner has not demonstrated by a preponderance of
the evidence that claim 4 of the ’581 patent would have been obvious to one
of ordinary skill in the art in view of Ishiyama and Murakawa.

       F. Challenged Claims 6 and 7
      Claims 6 and 7 depend from claim 5. Ex. 1001, 11:15–21. Claim 5
recites “[t]he method of claim 1 wherein the method further comprises the
security gateway sending back a reply message to the mobile terminal at the
second address to confirm the address change.” Ex. 1001, 11:11–14
(emphasis added). The Petition does not address claim 5’s reply message in
its showing for claims 6 and 7. See Pet. 50–54. Nor does the Petition allege
that this asserted ground (Ishiyama and Murakawa) renders claim 5
unpatentable. Instead, the Petition challenges claim 5 based on another
ground (Ishiyama, Murakawa, and Ahonen), and relies on Ahonen to teach
claim 5’s reply message. Pet. 54–61; see also infra Section VII(B)
(discussing Petitioner’s challenge of claim 5 as obvious over Ishiyama,
Murakawa, and Ahonen). The Petition does not contend that claims 6 and 7
are obvious over Ishiyama, Murakawa, and Ahonen. See Pet. 54–61.




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      We agree with Patent Owner that “Petitioner’s assertion that claims 6–
7 are unpatentable under [Ishiyama and Murakawa] . . . fails because it does
not account for the limitations of intervening claim 5.” PO Resp. 63–64
(citing Pet. 50–54). Moreover, we disagree with Petitioner that Patent
Owner makes a “form-over-substance argument” and “improperly tak[es]
too stringent of a reading of the Petition.” Pet. Reply 22–23.
      The Petition guides the proceeding. See Koninklijke Philips N.V. v.
Google LLC, 948 F.3d 1330, 1335–36 (Fed. Cir. 2020). The Federal Circuit
explained that “Congress chose to structure a process in which it’s the
petitioner . . . who gets to define the contours of the proceeding,” and that
“the statute envisions that a petitioner will seek an inter partes review of a
particular kind—one guided by a petition describing ‘each claim challenged’
and ‘the grounds on which the challenge to each claim is based.’” Id. at
1335 (quoting SAS Inst. Inc. v. Iancu, 138 S. Ct. 1348, 1355 (2018) (quoting
35 U.S.C. § 312(a)(3))) (emphasis added). “Although the Board is not
limited by the exact language of the petition, . . . the Board does not ‘enjoy[]
a license to depart from the petition and institute a different inter partes
review of his own design.’” Id. at 1336 (quoting SAS, 138 S. Ct. at 1356)
(citing Sirona Dental Sys. GmbH v. Institut Straumann AG, 892 F.3d 1349,
1356 (Fed. Cir. 2018)).
      Here, the Petition alleges that claims 6 and 7 are obvious in view of
Ishiyama and Murakawa. Pet. 4, 50–54. In other words, the combination of
Ishiyama and Murakawa is “the grounds on which the challenge to [these]
. . . claim[s] is based.’” Koninklijke Philips, 948 F.3d at 1335. In view of
how the Petition is worded and the analysis provided for claims 6 and 7, we




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do not consider one of the challenged grounds to be whether claims 6 and 7
would have been obvious in view of Ishiyama, Murakawa, and Ahonen.
       We are not persuaded by Petitioner’s argument that “inter partes
reviews are notice based proceedings,” and that Patent Owner “had notice of
[Petitioner’s] arguments since the beginning of this proceeding.” Pet. Reply
25 (citing Sirona Dental, 892 F.3d at 1356; Pet. 50–54, 61–64). Nor are we
persuaded by Petitioner’s argument that if Patent Owner “believe[s] there is
a deficiency in the art relating to the limitations of claims 6-8 . . ., [Patent
Owner] ha[d] sufficient opportunity to address any purported deficiencies in
its sur-reply.” Id. (citing Sirona Dental, 892 F.3d at 1356). Again, it is the
Petition that guides the proceeding. See Koninklijke Philips, 948 F.3d at
1335–36. Furthermore, any statements in the Decision on Institution
regarding the sufficiency of Petitioner’s showings for claims 6 and 7 were
preliminary. See Trivascular, Inc. v. Samuels, 812 F.3d 1056, 1068 (Fed.
Cir. 2016) (“At th[e Institution] point, the Board is considering the matter
preliminarily without the benefit of a full record. The Board is free to
change its view of the merits after further development of the record . . . .”).
Upon a review of the full record, and in light of Koninklijke Philips, we find
that Petitioner’s showings for claims 6 and 7 are insufficient for the reasons
we provide herein.
       We also are not persuaded by Petitioner’s argument that “Ahonen is
not needed to show the unpatentability of the limitations recited in claims 6[
and 7] because claims 6[ and 7] do not further limit the elements recited in
claim 5 and instead only limit elements that appear in claim 1.” Pet. Reply
23. Rather, “[c]laims in dependent form shall be construed to include all the
limitations of the claim incorporated by reference into the dependent claim.”


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37 C.F.R. § 1.75(c). In other words, claims 6 and 7 include claim 5’s
requirements regarding the reply message. Id. The Petition fails to account
for the claimed reply message in its analysis of claims 6 and 7, and thus,
does not demonstrate their unpatentability. Pet. 50–54.
      We also are not persuaded that the Petition presents, “as an alternative
theory, [that claim 5 is] . . . unpatentable over the combination of Ishiyama
and Murakawa due to the well-known ‘ACK’ functionality used in the
TCP/IP protocol taught by Ishiyama.” Pet. Reply 22 (citing Pet. 54–55;
Ex. 1022 ¶¶ 63–65). Rather, the Petition provides that “in the TCP/IP
protocol, destination computers receiving data packets are required to
transmit positive acknowledgments (ACK) to source computers to provide a
reliable and secure IP connection.” Pet. 55. More specifically, Petitioner
argues that “[t]he TCP must recover from data that is damaged, lost,
duplicated, or delivered out of order by the internet communication system[,
and that t]his is achieved by assigning a sequence number to each octet
transmitted, and requiring a positive acknowledgment (ACK) from the
receiving TCP.” Id. at n.8 (quoting Ex. 1012, 4; citing Ex. 1002 ¶ 120).
      This argument — which appears in a separate ground (Ishiyama,
Murakawa, and Ahonen) — fails to show that Ishiyama teaches an ACK that
is sent to a mobile terminal’s second address to confirm an address change,
as required by claim 5. Nor does Petitioner tether this argument to any
specific portions of Ishiyama or Murakawa. Pet. 55. To the contrary,
Petitioner admits that “Ishiyama and Murakawa . . . do not explicitly
describe this reply message.” Id. Petitioner further admits that “after an
address update request message has been sent from a mobile terminal,
Ishiyama and Murakawa do not describe how a mobile terminal would be


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informed that the address was successfully updated before initiating
communications from the new address.” Id. at 55–56 (citing Ex. 1002
¶ 123). Petitioner’s analysis of claim 5 under this ground addresses what
Ahonen adds to the combination of Ishiyama and Murakawa. Id. at 55–61.
Petitioner does not assert that claim 5 is obvious over Ishiyama, Murakawa,
and the knowledge of ACK functionality in the TCP/IP protocol. Id. at 4
(summarizing ground as obviousness over Ishiyama, Murakawa, and
Ahonen), 54–61 (analyzing ground as including Ahonen).
       Nevertheless, even if we consider the Petition to include an assertion
that claim 5 is unpatentable as obvious over Ishiyama and Murakawa
(without adding Ahonen), we are not persuaded that Petitioner made such a
showing. Specifically, we are not persuaded by Petitioner’s argument that in
light of the TCP’s ACK that “the reply message as recited in claim[] . . . 5
was obvious as a concept in the prior art and would have been obvious in
view of Ishiyama and Murakawa.” Id. at 55; see also Ex. 1002 ¶ 122.
Although “[a] person of ordinary skill in the art is also a person of ordinary
creativity, not an automaton,” KSR, 550 U.S. at 421, there may be limits in a
particular case as to how much gap-filling may be based on such creativity.
See Arendi S.A.R.L. v. Apple Inc., 832 F.3d 1355, 1361–63 (Fed. Cir. 2016);
DSS Tech. Mgmt., Inc. v. Apple Inc., 885 F.3d 1367, 1374–75 (Fed. Cir.
2018) (reliance on ordinary creativity to supply a missing limitation requires
the same “searching” inquiry as reliance on common sense). We find that
Petitioner fails to provide persuasive evidence that one of ordinary skill in
the art would have found it obvious to send a reply message to a mobile
terminal’s second address to confirm an address change in view of TCP’s
ACK.


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      We do not credit Dr. Goldschlag’s declaration testimony that claim
5’s reply message “would be an obvious concept to confirm the successful
updating of the address at the security gateway,” and that “in view of the
well-known TCP/IP protocol, . . . [one of ordinary skill in the art] would
have understood that a reply message would be an obvious implementation
detail in view of Ishiyama and Murakawa.” Ex. 1002 ¶ 122. Dr.
Goldschlag’s discussion of TCP using ACKs to address data that is
damaged, lost, duplicated, or delivered out of order does not provide
sufficient factual corroboration for these opinions concerning using ACKs in
the context of address updating. Ex. 1002 ¶ 120 (citing Ex. 1012, 4); see
also In re Am. Acad. of Sci. Tech Ctr., 367 F.3d 1359, 1368 (Fed. Cir. 2004)
(“[T]he Board is entitled to weigh the declarations and conclude that the lack
of factual corroboration warrants discounting the opinions expressed in the
declarations.”); 37 C.F.R § 42.65(a). Dr. Goldschlag also opines that “a
mobile terminal that moves to a new address would expect to receive an
acknowledgment or confirmation message before transmitting packets from
its new address,” and that “[a] mobile terminal would likely not blindly
transmit data packets from its new address without first receiving
confirmation that the security gateway is ready to accept data packets from
the new address.” Ex. 1002 ¶ 120. We likewise do not credit this testimony,
as it too lacks sufficient factual corroboration, and is contrary to the ’581
patent’s teaching that a reply message is “optional.” See Ex. 1001, 9:66–
10:1, 10:6.
      We also disagree with Petitioner that Patent Owner’s Response
“explicitly recognized” Petitioner’s “alternative theory” that claim 5 was
obvious “due to the well-known ‘ACK’ functionality used in the TCP/IP


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protocol taught by Ishiyama.” Pet. Reply 22. Rather, the alternative theory
Patent Owner responds to is based on Ishiyama’s “message (7) from the
correspondent host to the mobile terminal in Ishiyama’s Figure 7.” PO
Resp. 72 (citing Pet. 59–61; Ex. 1004, Fig. 7). For this theory, Petitioner
argues that in operation 7 “the destination of the message is ‘CoA2’ and
confirms the updated address of the mobile computer.” Pet. 60 (citing Ex.
1004, 12:66–13:5). Petitioner argues that “[u]sing CoA2, the correspondent
host 3 may originate communications sent to the mobile computer 2 at the
updated Care-of address.” Id. (citing Ex. 1004, 13:6–9). We are not
persuaded by Petitioner’s arguments. Rather, we agree with Patent Owner
and find that “the message in step (7) is simply an encapsulated message
using the new care-of address CoA2 in the outer packet[, and] . . . is not a
[confirmatory] reply to a request for an address change from the mobile
terminal.” PO Resp. 72; see also Ex. 1004, Fig. 7, 12:66–13:5. Moreover,
Ishiyama does not teach that operation 7’s message is recognized as a
confirmation of the address change. Ex. 1004, Fig. 7, 12:66–13:9. Instead,
Ishiyama simply sends and receives messages at the second address (e.g.,
correspondent host sends a secure message to the mobile computer). Id. at
Fig. 7, 12:66–13:5; see also id. at 13:3–5 (“Consequently the session is
guaranteed even when the mobile computer 2 moves (the operations (6) and
(7) of FIG. 7).”); infra Section VI(G) (discussing Ishiyama teaching claim
9’s security gateway forwarding the message as an encrypted secure
message to the second address).
      Accordingly, Petitioner has not demonstrated by a preponderance of
the evidence that claims 6 and 7 of the ’581 patent would have been obvious
to one of ordinary skill in the art in view of Ishiyama and Murakawa.


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       G. Challenged Claim 9
      Claim 9 is an independent claim and shares some nearly identical
limitations with independent claim 1. Namely, claim 9’s preamble and first
four elements are nearly identical to those recited in claim 1. Compare Ex.
1001, 12:1–17, with id. at 10:50–67. As such, the parties rely on their
arguments from claim 1 for these limitations. Pet. 41–42; PO Resp. 65. As
these limitations are the same, and the parties rely on their same arguments,
our findings as to claim 1’s preamble and first four limitations apply equally
here. See supra Section VI(C)(1)–(5). Accordingly, we find that Petitioner
has demonstrated by a preponderance of the evidence that the combination
of Ishiyama and Murakawa teaches claim 9’s preamble and first four
limitations.
      In addition, claim 9 further recites “the other terminal sending a
message to the second address of the mobile terminal via the security
gateway, and the security gateway receiving the message from the other
terminal and forwarding the message as an encrypted secure message to the
second address.” Ex. 1001, 12:18–22. We agree with Petitioner and find
that the combination of Ishiyama and Murakawa teaches these limitations.
Pet. 41–47.
      We find that Ishiyama teaches sending a secure message from
Ishiyama’s correspondent host to the mobile computer’s second location, as
shown below in Figure 7’s operation (7), as annotated by Petitioner. See
Pet. 41–42 (annotating Ex. 1004, Fig. 7).




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                            (1 ) SA GENERATION BY KEY
                                 MANAGEMENT PROTOCOL

                          (2) Src: CoAJ
                              Dst : CN
                                            ESP
                                            SPl::cl     I Src : Haddr
                                                        . Dst : CN
                                                                           II
                                                                           __



                (3) Src : CN
                    Ost : CoAl
                                 ESP
                                 SPl=m I
                                           I   Src : CN
                                               Dst : Haddr
                                                               II
                 (MOVED TO N2 : CoA2 ACQUIRED)

                 (4) REGISTER CoA2 INTO DNS SERVER
                     USlNG Dynamic DNS Update
                        (5) SA Gateway Update Haddr: CoA l-+CoA2


                          (6) Src : CoA2
                              Dst : CN
                                            ESP
                                            SPJ=el      I. Dst : CN I__I
                                                             Src : Haddr




                 (7) Src : CN  ESP
                     Ost: CoA2 SPJ=ml
                                           I   Src : CN
                                               Dsf: Hadclr
                                                             II

      Annotated Figure 7 “is a sequence chart showing an exemplary
processing sequence in the case where the mobile computer initiates
communications at a visited site and then changes . . . location” with a green
box around the correspondent node (“CN”) identifier and a red box around
the mobile computer identifier (“MN”). Ex. 1004, 5:20–23; Pet. 42
(annotating Ex. 1004, Fig. 7). Ishiyama teaches that as a result of its CoA
update operations, “at the correspondent [host] currently communicating
with the mobile computer 2, the endpoint of the IPSEC tunnel is changed
from ‘CoA1’ to ‘CoA2’ as the destination of all the security associations,’”
and “[c]onsequently, the session is guaranteed even when the mobile
computer 2 moves . . . .” Ex. 1004, 12:66–13:5; Pet. 41–42. Put differently,
as Figure 7 illustrates, the secure message is sent to the second address of the
mobile terminal from Ishiyama’s correspondent host. Ex. 1004, Fig. 7



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(illustrating for operation (7) that the outer packet’s Src: has the value “CN”
and Dst: has the value “CoA2”).
      As to Murakawa, we agree with Petitioner and find that Murakawa
teaches an “other terminal” sending a secure message in a secure connection
to an address of a terminal via the security gateway, and that the security
gateway receives the message from the “other terminal” and forwards it as
an encrypted secure message to the terminal’s address. E.g., Ex. 1005, Fig.
5; Pet. 44–46. This is shown in Murakawa’s Figure 5, shown below as
annotated in the Petition. See Pet. 44 (providing annotated Figure 5).
                          FIG. 5      PRIOR ART

                                                             Mobile
                                                            Terminal




                                                              Security
                                                              Gateway
                                 Security gateway     103
                   104



                                                                          Other


                                          □□
                                                                         Terminals

                                         = -
                                           =-
                         105                   106             107


      Murakawa’s Figure 5, as annotated by Petitioner, shows a “prior art
typical network system” with (i) a red box around PC 101 and labeled
“Mobile Terminal,” (ii) a green box around security gateway 103 and
labeled “Security Gateway,” and (iii) a blue box around each of PC 106 and


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PC 107, and labeled “Other Terminals.” Ex. 1005, 4:32–33; Pet. 44
(annotating Ex. 1005, Fig. 5). As illustrated in Figure 5, Murakawa teaches
that an “other terminal” (PC 106) sends a secure message in the secure
connection (VPN 108) to the mobile terminal (PC 101) via security gateway
103. Id. at 1:61–2:4, 2:62–65, Fig. 5; see also supra Section VI(C)(1)
(discussing our findings regarding Figure 5’s teachings). Furthermore,
Figure 8, shown below as annotated in the Petition, also illustrates the
addressing of the secure message sent from PC 106 (other terminal) to the
PC 101 (mobile terminal) by security gateway 103.
                                      FIG. 8    PRIOR ART

                                                                       M o bile
               Security                          Encapsulating        Terminal
               Gateway
                                                                    IP address : A
                                          AC A           Data
                  IP address : B
                           Security
                           gateway



                                         104
                                                      108          Bo,
                                                                 lcl AI    Data


                                                 209

                     IP address : C     C A      Data
                           Other
                          Terminal


      Annotated Figure 8 “illustrates diagrammatically . . . prior art IPsec
communication in the tunnel mode” with (i) a red box around PC 101 and
labeled “Mobile Terminal,” (ii) a green box around security gateway 103
and labeled “Security Gateway,” and (iii) a blue box around PC 106, and
labeled “Other Terminal.” Ex. 1005, 4:41–42; Pet. 45 (annotating Ex. 1005,
Fig. 8). As illustrated, “IP addresses ‘A’, ‘B’, and ‘C’ are assigned to PC



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101, security gateway 103, and client PC 106, respectively.” Ex. 1005, Fig.
8, 3:4–6; Pet. 45. Murakawa teaches the following:
            When client PC 106 on LAN 104 transmits an IP packet
      to PC 101, which has established connection with PC 106 via
      VPN 108,
            1) client PC 106 generates IP packet 100 in which the
          sender’s IP address is “C” and the receiver’s IP address is
          “A”, then sends it to security gateway 103;
            2) received packet 100, gateway 103 identifies that the
          packet is the one to be sent to PC 101 which has established
          VPN 108;
            3) gateway 103 encapsulates IP packet 100 according to
          exchanged information during the IKE communication;
            4) the IP header including the sender’s IP address B and
          the receiver’s IP address “A” is added to outside the
          originally set IP address;
            5) authentication information is added to the encapsulated
          IP packet based on the exchanged information, then the IP
          packet is encrypted;
            6) received the encapsulated packet via VPN 108, PC 101
          retrieves encapsulated original IP packet 100 from the
          received packet, according to the exchanged information,
          then process[es] it.
Ex. 1005, 3:8–28; Pet. 45–46. In other words, Murakawa teaches an “other
terminal” (PC 106) sending a secure message in a secure connection to an
address of a mobile terminal via the security gateway. Ex. 1005, 3:8–28.
Furthermore, we credit Dr. Goldschlag’s testimony that one of ordinary skill
in the art would have understood that Murakawa teaches a well-known
IPSec tunnel mode configuration with a security gateway facilitating
communication between a mobile terminal and other terminals because this
testimony is consistent with our findings of Murakawa’s teachings. See Ex.
1002 ¶ 99.




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      Accordingly, we find that the combination of Ishiyama and Murakawa
teaches the “other terminal” (PC 106) sending a secure message in the
secure connection (VPN 108) to the second address (CoA2) of the mobile
terminal via security gateway 103, and that the security gateway 103
receives the message from other terminal (PC 106) and forwards the
message as an encrypted secure message (via VPN 108) to the second
address of the mobile terminal.
      We are not persuaded by Patent Owner’s arguments that Ishiyama’s
“operation (7) is an end-to-end, two-component secure communication from
correspondent terminal CN to mobile terminal MN,” and does not teach
“[t]he three-component communication called for by the claim (other
terminal-security gateway-first terminal).” PO Resp. 66–67 (citing Ex. 2009
¶¶ 157–159). Patent Owner focuses on Ishiyama’s teachings individually,
rather than the combined teachings of Ishiyama and Murakawa. See In re
Merck & Co., 800 F.2d 1091, 1097 (Fed. Cir. 1986) (“Non-obviousness
cannot be established by attacking references individually where the
rejection is based upon the teachings of a combination of references”).
Again, as to the second way Petitioner combines Ishiyama and Murakawa,
Ishiyama’s mobile address changing functionality is combined with
Murakawa’s security gateway configuration (e.g., security gateway 103 and
other terminal 106). See Pet. 11–53; Dec. on Inst. 25, 38–39 (noting the two
alternative ways). Hence, a mobile terminal securely communicates with
another terminal via Murakawa’s security gateway 103 rather than
Ishiyama’s correspondent host 3. See Pet. 11–53.
      In summary, we find combining Ishiyama’s mobile address changing
functionality with Murakawa’s security gateway and another terminal


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teaches “the other terminal sending a message to the second address of the
mobile terminal via the security gateway, and the security gateway receiving
the message from the other terminal and forwarding the message as an
encrypted secure message to the second address.”
      Lastly, we find that the parties’ arguments and our findings
concerning a rationale to combine Ishiyama and Murakawa discussed above
in the context of claim 1 apply equally here. See supra Section VI(C)(7)
(finding that one of ordinary skill in the art would have combined the
references). Accordingly, we find by a preponderance of the evidence that
Petitioner has provided persuasive reasoning showing that one of ordinary
skill in the art would have had reason to combine Ishiyama and Murakawa in
the manner claimed.
      Accordingly, based on a review of the entire record, we find that
Petitioner has demonstrated by a preponderance of the evidence that claim 9
would have been obvious over the combined teachings of Ishiyama and
Murakawa.

VII. ALLEGED OBVIOUSNESS OVER ISHIYAMA, MURAKAWA,
     AND AHONEN
      Petitioner argues that the combination of Ishiyama, Murakawa, and
Ahonen renders claims 3 and 5 of the ’581 patent obvious under 35 U.S.C.
§ 103(a). Pet. 54–61. We have reviewed the parties’ arguments and the
evidence of record. For the reasons that follow, we determine that Petitioner
shows by a preponderance of the evidence that claims 3 and 5 would have
been obvious to one of ordinary skill in the art in view of Ishiyama,
Murakawa, and Ahonen.




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       A. Summary of Ahonen
      Ahonen relates to a VPN “in which a mobile terminal establishes a
secure connection with a correspondent host located in an intranet, via a
[s]ecurity [g]ateway.” Ex. 1006, 1:5–7. Figure 1, shown below, illustrates
this network topology, in accordance with Ahonen’s invention. Id. at 3:30–
31, 3:57–61.
                                               2


                       6




                                                               5




                                7

                                                   4




                                    Figure 1

      Figure 1 illustrates mobile host 1 connected to correspondent host 4
via access network 6, Internet 2, firewall 3, and intranet 5. Id. at 3:57–63. A
secure connection is established between mobile host 1 and correspondent
host 4 over this path. Id. at 3:65–4:1.

       B. Challenged Claims 3 and 5
      Claims 3 and 5 depend from independent claim 1. Claim 3 recites
“[t]he method of claim 1, wherein in step c) a reply back to the mobile
terminal is sent from the security gateway after the request from the mobile
terminal to change the address.” Ex. 1001, 11:6–8. Claim 5 recites “[t]he


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method of claim 1 wherein the method further comprises the security
gateway sending back a reply message to the mobile terminal at the second
address to confirm the address change.” Id. at 11:11–14. We agree with
Petitioner and find that the combination of Ishiyama, Murakawa, and
Ahonen teaches the subject matter of claims 3 and 5. Pet. 54–61.
      First, for the reasons we explain above, we agree that the combination
of Ishiyama and Murakawa teaches the subject matter of claim 1, from
which claims 3 and 5 depend.
      Second, we agree with Petitioner and find that Ahonen teaches that a
mobile host moves to another address and sends a certificate to a security
gateway (also referred to as a firewall) using an IPsec protocol. Ex. 1006,
3:58–59, 9:29–30, 9:40; Pet. 57. Ahonen teaches that the certificate sent
from the mobile host may contain “the cryptographic identity of the mobile
host” and “the (New) Source and Destination IP addresses (if changed).”
Ex. 1006, 9:33–35; Pet. 57. The firewall then determines whether a
corresponding database includes a record matching the identification of the
mobile host. Ex. 1006, 9:52–61. Ahonen teaches that if a match is found,
the database is updated (e.g., “the Source and Destination IP addresses are
updated if they are changed”), and the firewall “send[s] an ‘ACK’
(acknowledgement) message back to the mobile host.” Id. at 9:62–65, 10:4–
6; Pet. 57. Ahonen teaches that after the mobile host has received the
“ACK” message from the firewall, the mobile host can begin to send
application traffic. Ex. 1006, 10:21–25.
      Third, we agree with Petitioner and find that one of ordinary skill in
the art would have found it obvious to implement Ahonen’s reply ACK
message with Ishiyama’s address changing functionality to aid in


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maintaining “mobility without interrupting the session” as in Ishiyama.
Pet. 58 (citing Ex. 1006, 6:54–60). We also agree with Petitioner that one of
ordinary skill in the art would have found it obvious to incorporate Ahonen’s
teachings to “inform the mobile computer whether the records stored at the
security gateway were successfully updated to allow the mobile computer to
begin transmitting data packets,” as taught in Ahonen. Id., Ex. 1006, 10:4–
7, 10:21–25. See PGS Geophysical, 891 F.3d at 1365 (“[T]he motivation to
modify a reference can come from the knowledge of those skilled in the art,
from the prior art reference itself, or from the nature of the problem to be
solved.”).
      We are not persuaded by Patent Owner’s argument that “Ahonen
cannot satisfy the ‘reply’ limitation” because Ahonen’s underlying request is
“for a new secure connection with a new SA that can accommodate an
address change,” rather than “for an existing secure connection with the
same SA to be modified to accommodate the change in the IP address of the
mobile terminal.” PO Resp. 71 (citing Ex. 2009 ¶¶ 181–183). Nor are we
persuaded by Patent Owner’s argument that Ahonen’s reply message follows
a request for changing a secure connection between a mobile terminal and a
correspondent host, rather than a secure connection between a mobile
terminal and a gateway. PO Resp. 71–72 (citing Ex. 1006, 8:33–36;
Ex. 2009 ¶ 183). For both of these arguments, Patent Owner incorrectly
focuses on Ahonen’s teachings individually, rather than the combined
teachings of Ishiyama, Murakawa, and Ahonen. See Merck, 800 F.2d at
1097 (“Non-obviousness cannot be established by attacking references
individually where the rejection is based upon the teachings of a
combination of references”). Again, Petitioner combines Ishiyama’s mobile


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address changing functionality with Murakawa’s security gateway
configuration (e.g., security gateway 103 and other terminal 106). See Pet.
12–54; Dec. on Inst. 24–25, 37–38 (noting the two alternative ways). And,
Ahonen’s reply message is incorporated into this combination where
(i) Ishiyama’s address changing functionality combined with Murakawa’s
security gateway configuration relates to an existing secure connection with
the same SA, and (ii) Murakawa’s security gateway sends the reply message
to the mobile terminal. Pet. 17–47, 54–58.
      Accordingly, Petitioner has demonstrated by a preponderance of the
evidence that claims 3 and 5 of the ’581 patent would have been obvious to
one of ordinary skill in the art in view of Ishiyama, Murakawa, and Ahonen.

VIII. ALLEGED OBVIOUSNESS OVER ISHIYAMA, MURAKAWA,
      AND FORSLÖW
      Petitioner argues that the combination of Ishiyama, Murakawa, and
Forslöw renders claim 8 of the ’581 patent obvious under 35 U.S.C.
§ 103(a). Pet. 61–64. Claim 8 is a dependent claim and depends from
claim 5. Ex. 1001, 11:22–23. As we discuss above, claim 5 recites, inter
alia, “a reply message,” which the Petition does not address in its showing
for claim 8. See supra Pet. 61–64. Again, the Petition alleges that claim 5 is
obvious in light of Ishiyama, Murakawa, and Ahonen, and relies on Ahonen
to teach claim 5’s reply message. Pet. 54–61; see also supra Section VII(B)
(discussing Petitioner’s challenge of claim 5 as obvious over Ishiyama,
Murakawa, and Ahonen). But this asserted ground for claim 8 does not
include Ahonen.
      As explained above, the Petition guides the proceeding. See
Koninklijke Philips, 948 F.3d at 1335–36. Here, the Petition alleges that



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claim 8 is obvious in view of Ishiyama, Murakawa, and Forslöw. Pet. 4, 61–
64. In other words, the combination of Ishiyama, Murakawa, and Forslöw is
“the ground[] on which the challenge to [the] . . . claim is based.’”
Koninklijke Philips, 948 F.3d at 1335. In view of how the Petition is worded
and the analysis provided for claim 8, we do not consider one of the
challenged grounds to be whether claim 8 would have been obvious in view
of Ishiyama, Murakawa, Forslöw, and Ahonen.
      Accordingly, as the Petition does not address claim 5’s requirements
regarding the “reply message” for this asserted ground, we find that
Petitioner has not demonstrated by a preponderance of the evidence that
claim 8 of the ’581 patent would have been obvious to one of ordinary skill
in the art in view of Ishiyama, Murakawa, and Forslöw.

IX.   CONCLUSION 17
      Based on the full record before us, we determine that Petitioner has
demonstrated by a preponderance of the evidence that (i) claims 1, 2, and 9
of the ’581 patent are unpatentable under 35 U.S.C. § 103(a) in view of
Ishiyama and Murakawa; and (ii) claims 3 and 5 are unpatentable under 35
U.S.C. § 103(a) in view of Ishiyama, Murakawa, and Ahonen. We also
determine that Petitioner has not demonstrated by a preponderance of the


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  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).

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evidence that (i) claims 4, 6, and 7 of the ’581 patent are unpatentable under
35 U.S.C. § 103(a) in view of Ishiyama and Murakawa; or (ii) claim 8 is
unpatentable under 35 U.S.C. § 103(a) in view of Ishiyama, Murakawa, and
Forslöw.

 Claim(s)      35        Reference(s)/Basis Claims              Claims Not
               U.S.C                        Shown               Shown
               §                            Unpatentable        Unpatentable
 1, 2, 4, 6,   103(a)    Ishiyama,          1, 2, 9             4, 6, 7
 7, 9                    Murakawa
 3, 5          103(a)    Ishiyama,          3, 5
                         Murakawa,
                         Ahonen
 8             103(a)    Ishiyama,                              8
                         Murakawa,
                         Forslöw
 Overall                                    1–3, 5, 9           4, 6–8
 Outcome

X.     ORDER
       In consideration of the foregoing, it is hereby
       ORDERED that, pursuant to 35 U.S.C. § 314(a), Petitioner has
shown by a preponderance of the evidence that claims 1–3, 5, and 9 of the
’581 patent are unpatentable;
       FURTHER ORDERED that Petitioner has not shown by a
preponderance of the evidence that claims 4 and 6–8 of the ’581 patent are
unpatentable; and
       FURTHER ORDERED that parties to the proceeding seeking judicial
review of this Final Written Decision must comply with the notice and
service requirements of 37 C.F.R. § 90.2.




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IPR2019-00820
Patent 7,937,581 B2

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(12)   United States Patent                                                            (10)   Patent No.:     US 7,620,810 B2
       Vaarala et al.                                                                  (45)   Date of Patent:     Nov. 17, 2009

(54)    METHOD AND NETWORK FOR ENSURING                                            (56)                      References Cited
        SECURE FORWARDING OF MESSAGES
                                                                                                     U.S. PATENT DOCUMENTS
(75)    Inventors: Sarni Vaarala, Helsinki (FI); Antti                                   6,170,057    Bl* 1/2001 Inoue et al .................. 713/153
                   Nuopponen, Espoo (FI)                                                 6,418,130    Bl* 7/2002 Cheng et al ................. 370/331
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(73)    Assignee: Mobility Patent Holding MPH Oy,                                        6,839,338    Bl * 1/2005 Amara et al. . .............. 370/338
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                  Espoo (FI)                                                             6,904,466    Bl * 6/2005 Ishiyama et al. . ........... 709/245
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(*)     Notice:      Subject to any disclaimer, the term of this                         7,146,428    B2 * 12/2006 Luo ........................... 709/237
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(21)    Appl.No.:           10/490,932                                               2002/0066036     Al* 5/2002 Makineni et al ............. 713/201

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(22)    PCT Filed:          Sep.27,2002
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                                                                                   IBM, "IP Mobility Support," Memo: Oct. 1996.
        § 371 (c)(l),                                                                                            (Continued)
        (2), (4) Date:      Nov. 22, 2004
                                                                                  Primary Examiner-Nasser G Moazz.ami
(87)    PCT Pub. No.: WO03/030487                                                 Assistant Examiner-Fikremariam Yalew
                                                                                  (7 4) Attorney, Agent, or Firm-Fasth Law Offices; RolfFasth
        PCT Pub. Date: Apr. 10, 2003
                                                                                   (57)                         ABSTRACT
(65)                      Prior Publication Data
                                                                                  The method and network ensure secure forwarding of a mes-
        US 2005/0083947 Al             Apr. 21, 2005                              sage in a telecommunication network that has at least one first
                                                                                  terminal and another terminal. The first terminal moves from
(30)              Foreign Application Priority Data                               a first address to a second address. A secure connection
  Sep. 28, 2001          (FI)   .................................. 20011910       between the first address of the first terminal and the other
                                                                                  terminal defining at least the addresses of the two terminals is
(51)    Int. Cl.                                                                  established. When the first terminal moves from the first
        H04L 9/00                   (2006.01)                                     address to a second address, the connection is changed to be
(52)    U.S. Cl. ....................... 713/161; 713/151; 380/247;               between the second address and to the other terminal by
                                        455/432.1; 455/436; 370/401               means of a request from the first terminal and preferably a
(58)    Field of Classification Search ................. 713/161;                 reply back to the first terminal.
                                                            380/247
        See application file for complete search history.                                             7 Claims, 5 Drawing Sheets



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     METHOD AND NETWORK FOR ENSURING                                      ties. Even if some applications already have built in security
      SECURE FORWARDING OF MESSAGES                                       protocols, the use of IPSec further enhances the security.
                                                                             IPSec can encrypt and/or authenticate traffic at IP level.
                   PRIOR APPLICATIONS                                     Traffic going in to a WAN is typically compressed and
                                                                          encrypted and traffic coming from a WAN is decrypted and
   This is a US national phase patent application that claims             decompressed. IPSec is defined by certain documents, which
priority from PCT/FI02/00770, filed 27 Sep. 2002, that                    contain rules for the IPSec architecture. The documents that
claims priority from Finnish Patent Application No.                       define IPSec, are, for the time being, the Request For Com-
20011910, filed 28 Sep. 2001.                                             ments (RFC) series of the Internet Engineering Task Force
                                                                     10   (IETF), in particular, RFCs 2401-2412.
                     TECHNICAL FIELD                                         Two protocols are used to provide security at the IP layer;
                                                                          an authentication protocol designated by the header of the
   The method and network of the invention is intended to                 protocol, Authentication Header (AH), and a combined
secure mobile connections in telecommunication networks.                  encryption/authentication protocol designated by the format
Especially, it is meant for IPSec connections.                       15   of the packet for that protocol, Encapsulating Security Pay-
   The invention provides a method for ensuring secure for-               load (ESP). AH and ESP are however similar protocols, both
warding of a message in a telecommunication network com-                  operating by adding a protocol header. Both AH and ESP are
prising at least one mobile terminal and another terminal,                vehicles for access control based on the distribution of cryp-
when the mobile terminal moves from a first address to a                  tographic keys and the management of traffic flows related to
second address and there is a secure connection established          20   these security protocols.
between the first address of the mobile terminal and the other               Security association (SA) is a key concept in the authenti-
terminal, which secure connection defines at least the                    cation and the confidentiality mechanisms for IP. A security
addresses of the two terminals. The invention also provides a             association is a one-way relationship between a sender and a
network for performing such a method.                                     receiver that offers security services to the traffic carried on it
                                                                     25   if a secure two way relationship is needed, then two security
               TECHNICAL BACKGROUND                                       associations are required. IfESP and AH are combined, or if
                                                                          ESP and/or AH are applied more than once, the term SA
   An internetwork is a collection of individual networks                 bundle is used, meaning that two or more SAs are used. Thus,
connected with intermediate networking devices and func-                  SA bundle refers to one or more SAs applied in sequence, e.g.
tions as a single large network. Different networks can be           30   by first performing an ESP protection, and then an AH pro-
interconnected by routers and other networking devices to                 tection. The SA bundle is the combination of all SAs used to
create an internetwork.                                                   secure a packet.
   A local area network (LAN) is a data network that covers a                The term IPsec connection is used in what follows in place
relatively small geographic area. It typically connects work-             of an IPSec bundle of one or more security associations, or a
stations, personal computers, printers and other devices A           35   pair ofIPSec bundles-one bundle for each direction----of one
wide area network (WAN) is a data communication network                   or more security associations. This term thus covers both
that covers a relatively broad geographic area. Wide area                 unidirectional and bidirectional traffic protection. There is no
networks (WANs) interconnect U-Ns across normal tele-                     implication of symmetry of the directions, i.e., the algorithms
phone lines and, for instance, optical networks; thereby inter-           and IPSec transforms used for each direction may be differ-
connecting geographically disposed users.                            40   ent.
   There is a need to protect data and resources from disclo-                A security association is uniquely identified by three
sure, to guarantee the authenticity of data, and to protect               parameters. The first one, the Security Parameters Index
systems from network based attacks. More in detail, there is              (SPI), is a bit string assigned to this St The SPI is carried inAH
a need for confidentiality (protecting the contents of data               and ESP headers to enable the receiving system to select the
from being read), integrity (protecting the data from being          45   SA under which a received packet will be processed. IP
modified, which is a property that is independent of confiden-            destination address is the second parameter, which is the
tiality), authentication (obtaining assurance about the actual            address of the destination end point of the SA, which may be
sender of data), replay protection (guaranteeing that data is             an end user system or a network system such as a firewall or
fresh, and not a copy of previously sent data), identity pro-             a router. The third parameter, the security protocol identifier
tection (keeping the identities of parties exchanging data           50   indicates whether the association is an AH or ESP security
secret from outsiders), high availability, i.e. denial-of-service         association.
protection (ensuring that the system functions even when                     In each IPSec implementation, there is a nominal security
under attack) and access control. IPSec is a technology pro-              association data base (SADB) that defines the parameters
viding most of these, but not all of them. (In particular, iden-          associated with each SA. A security association is normally
tity protection is not completely handled by IPSec, and nei-         55   defined by the following parameters. The Sequence Number
ther is denial-of-service protection.)                                    Counter is a 32-bit value used to generate the sequence num-
   The IP security protocols (IPSec) provides the capability to           ber field in AH or ESP-headers. The Sequence Counter Over-
secure communications between arbitrary hosts, e.g. across a              flow is a flag indicating whether overflow of the sequence
LAN, across private and public wide area networks (WANs)                  number counter should generate an auditable event and pre-
and across the internet IPSec can be used in different ways,         60   vent further transmission of packets on this SA. An Anti-
such as for building secure virtual private networks, to gain a           Replay Window is used to determine whether an inbound AH
secure access to a company network, or to secure communi-                 or ESP packet is a replay. AH information involves informa-
cation with other organisations, ensuring authentication and              tion about the authentication algorithm, keys and related
confidentiality and providing a key exchange mechanism.                   parameters being used with AH. ESP information involves
IPSec ensures confidentiality integrity, authentication, replay      65   information of encryption and authentication algorithms,
protection, limited traffic flow confidentiality, limited identity        keys, initialisation vectors, and related parameters being used
protection, and access control based on authenticated identi-             with IPSec. The sixth parameter, Lifetime of this Security



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Association, is a time-interval and/or byte-count after which            ISAKMP/Oakley and consists of the Oakley key determina-
a SA must be replaced with a new SA (and: new SPI) or                    tion protocol and Internet Security Association and Key Man-
terminated plus an indication of which of these actions should           agement Protocol (ISAKMP). Internet key exchange (IKE) is
occur. IPSec Protocol Mode is either tunnel or transport                 a newername for the ISAKMP/Oakley protocol. IKE is based
mode. Path MTU, which is an optional feature, defines the           5    on the Diffie-Hellman algorithm and supports RSA signature
maximum size of a packet that can be transmitted without                 authentication among other modes. IKE is an extensible pro-
fragmentation.                                                           tocol, and allows future and vendor-specific features to be
   Both AH and ESP support two modes used, transport and                 added without compromising functionality.
tunnel mode.                                                                IPSec has been designed to provide confidentiality, integ-
   Transport mode provides protection primarily for upper           10   rity, and replay protection for IP packets. However, IPSec is
layer protocols and extends to the payload of an IP packet.              intended to work with static network topology, where hosts
Typically, transport mode is used for end-to-end communi-                are fixed to certain subnetworks. For instance, when an IPSec
cation between two hosts. Transport mode may be used in                  tunnel has been formed by using Internet Key Exchange
conjunction with a tunnelling protocol (other that IPSec tun-            (IKE) protocol, the tunnel endpoints are fixed and remain
nelling).                                                           15   constant If IPSec is used with a mobile host the IKE key
   Tunnel mode provides protection to the entire IP packet               exchange will have to be redone from every new visited
and is generally used for sending messages through more than             network. This is problematic, because IKE key exchanges
two components, although tunnel mode may also be used for                involve computationally expensive Diffie-Hellman key
end-to-end communication between two hosts. Tunnel mode                  exchange algorithm calculations and possibly RSA calcula-
is often used when one or both ends of a SA is a security           20   tions. Furthermore, the key exchange requires at least three
gateway, such as a firewall or a router that implements IPSec.           round trips (six messages) if using the IKE aggressive mode
With tunnel mode, a number of hosts on networks behind                   followed, by IKE quick mode, and nine messages if using
firewalls may engage in secure communications without                    IKE main mode followed by IKE quick mode. This may be a
implementing IPSec. The unprotected packets generated by                 big problem in high latency networks, such as General Packet
such hosts are tunnelled through external networks by tunnel        25   Radio Service (GPRS) regardless of the computational
mode SAs set up by the IPSec software in the firewall or                 expenses.
secure router at boundary of the local network.                             In this text, the term mobility and mobile terminal does not
   To achieve this, after the AH or ESP fields are added to the          only mean physical mobility, instead the term mobility is in
IP packet, the entire packet plus security fields are treated as         the first hand meant moving from one network to another,
the payload of a new outer IP packet with a new outer IP            30   which can be performed by a physically fixed terminal as
header. The entire original, or inner, packet travels through a          well.
tunnel from one point of an IP network to another no routers
                                                                            The problem with standard IPSec tunnel end points are that
along the way are able to examine the inner IP packet.
                                                                         they are fixed. A SA is bound to a certain IP address, and if it
Because the original packet is encapsulated, the new larger
                                                                         is changed, the existing IPSec SA becomes useless because it
packet may have totally different source and destination            35
                                                                         has been established by using different endpoint addresses.
addresses, adding to the security. In other words, the first step
                                                                         The problem has been discussed in the IETF standardisation
in protecting the packet using tunnel mode is to add a new IP
                                                                         forum, www.IETF.org, wherein an idea to support mobility
header to the packet; thus the "IPlpayload" packet becomes
                                                                         for IPSec ESP tunnels by means of signalling to update the
"IPIIPlpayload". The next step is to secure the packet using
                                                                         address of one end after a movement was mentioned by Fran-
ESP and/or AH. In case of ESP, the resulting packet is              40
                                                                         cis Dupont. No solutions have however been presented until
"IPIESPIIPlpayload". The whole inner packet is covered by
                                                                         this date.
the ESP and/or AH protection. AH also protects parts of the
                                                                            The standard Mobile IP protocol provides a mobile termi-
outer header, in addition to the whole inner packet.
   The IPSec tunnel mode operates e.g. in such a way that if a           nal with a mobile connection, and defines mechanisms for
host on a network generates an IP packet with a destination         45
                                                                         performing efficient handovers from one network to another.
address of another host on another network, the packet is                However, Mobile IP has several disadvantages. The security
routed from the originating host to a security gateway (SGW),            of Mobile IP is very limited. The mobility signalling mes-
firewall or other secure router at the boundary of the first             sages are authenticated, but not encrypted, and user data
network. The SGW or the like filters all outgoing packets to             traffic is completely unprotected. Also, there is no key,
determine the need for IPSec processing. If this packet from        50
                                                                         exchange mechanism for establishing the cryptographic keys
the first host to another host requires IPSec, the firewall per-         required for authenticating the mobility signalling. Such keys
forms IPSec processing and encapsulates the packet in an                 need to be typically distributed manually. Finally, the current
outer IP header. The source IP address of this outer IP header           Mobile IP protocol does not define a method for working
is this firewall and the destination address may be a firewall           through Network Address Translation (NAT) devices.
that forms the boundary to the other local network. This            55      A way to solve this problem is to use e.g. Mobile IP to
packet is now routed to the other hosts firewall with interme-           handle the mobility of the host, and use IPSec on top of the
diate routers examining only the outer IP header. At the other           static IP address provided by the Mobile IP. Thus, the IPSec
host firewall, the outer IP header is stripped off and the inner         SAs are bound to static addresses, and the IPSec SAs can
packet is delivered to the other host.                                   survive mobility of the host. However, this approach suffers
   ESP in tunnel mode encrypts and optionally authenticates         60   from packet size overhead of both Mobile IP and IPSec tun-
the entire inner IP packet, including the inner IP header. AH in         nels, which can affect performance considerably when using
tunnel mode authenticates the entire inner IP packet including           links with small throughput.
the inner IP header, and selected portions of the outer IP                  The documents that define IP in general are the RFC stan-
header.                                                                  dards RFC 768, RFC 791, RFC 7933, RFC 826 and RFC
   The key management portion ofIPSec involves the deter-           65   2460. RFC2002, RFC2003, RFC 2131, RFC 3115, MOBILE
mination and distribution of secret keys. The default auto-              Ipv4 and IPv6, and DHCPV6 define Mobile IP, IP-IP and
mated key management protocol for IPSec is referred to as                DHCP.



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     ber 1996. ftp://ftp.isi.edu/in-notes/rfc2003.txt                   P. Shisuresh, K. Egevang, Traditional IP Network Address
[RFC2131]                                                                   Translator (Traditional NAT), RFC 3022, January 2001
  R. Drams, Dynamic Host Configuration Protocol, RFC                       ftp:!/ftp .isi .edu/in-notes/rfc3022 .txt
                                                                 45
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                                                                                  THE OBJECT OF THE INVENTION
[RFC3115]
  G. Dommety, and K. Leung, Mobile IP Vendor/Organiza-
                                                                        The object of the invention is to ensure secure forwarding
     tion-specific Extensions, RFC 3115, April 2001. ftp://
                                                                      of messages from and to mobile terminals by avoiding the
     ftp.isi.edu/in-notes/rfc3115.txt
                                                                 50   problems of prior art.
[MOBILEIPv6]
  D. B. Johnson, C. Perkins, Mobility Support in IPv6, Work                        SUMMARY OF THE INVENTION
     in progress (Internet-Draft is available), July 2000.
[DHCPV6]                                                                 The method and network of the invention is to ensure
  J. Bound, M. Carney, C. Perking, R. Drams, Dynamic Host        55   secure forwarding of a message in a telecommunication net-
     Configuration Protocol for IPv6 (DHCPv6), Work in                work, comprising at least one first terminal and another ter-
     progress (Internet-Draft is available), June 2001.               minal. In the method, the first terminal moves from a first
IPsec Standards:                                                      address to a second address. A secure connection between the
[RFC2401]                                                             first address of the first terminal and the other terminal defin-
  S. Kent, and R. Atkinson, Security Architecture for the        60   ing at least the addresses of the two terminals is established.
     Internet Protocol, RFC 2401, November 1998. ftp://ft-            The first terminal moves from the first address to a second
     p.isi.edu/in-notes/rfc2401.txt                                   address. The connection is changed to be between the second
[RFC2402]                                                             address and the other terminal by means of a request from the
  S. Kent, and R. Atkinson, IP Authentication Header, RFC             first terminal and preferably, a reply back to the first terminal.
     2402, November. 1998. ftp://ftp.isi.edu/in-notes/           65      In the invention, the first terminal is movable from one
     rfc2402.txt                                                      network to another. Such a terminal can physically be a
[RFC2403]                                                             mobile terminal or a fixed terminal.



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                                                         Appx136
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   The secure connection is an IPSec connection established               IPSec connections. The latter may be important if separate
by forming one or more Security Associations (SAs) using                  IPSec connections are used for different kinds of traffic. A
the IPSec protocols. The request and/or the reply message can             single request message can then update all (or a certain set) of
be protected e.g. by IPSec encryption and/or authentication,              such connections to a new address, instead of requiring sepa-
possibly using the same IPSec SA that is used for traffic                 rate requests for each IPSec connection. In the following, the
protection purposes.                                                      case of updating a single IPSec connection is discussed, with-
   In general, registration request and registration reply are            out limiting the invention to this behaviour.
Mobile IP terms while the invention is not bound to Mobile IP.               Another method of performing the signalling is to use a
In the invention, the terms request and reply are used in the             separate protocol. The protocol should preferably provide
generic sense, and may or may not be related to Mobile IP.           10   encryption and/or authentication of the signalling messages.
   The method of the invention can be used in different kinds             The IKE protocol already has messages defined for e.g. delet-
of networks. If the first terminal and the other terminal form            ing IPSec SAs. One method of providing the necessary sig-
an end-to-end connection, the secure connection may be an                 nalling would be by adding a new IKE notification message
IPSec tunnel mode or transport mode connection. Further-                  type that requests a change in an existing IPSec SA Such a
more, one of or both of the first terminal and the other terminal    15   message should provide its own encryption and/or authenti-
can be a security gateway protecting one or more computers,               cation to avoid requiring an IKE connection set up from the
whereby IPSec tunnel mode, or IPSec transport mode                        new address, which would require extra messaging.
together with a tunnelling protocol (such as Layer 2 Tunnel-                 IP version 4 (IPv4) is the currently widely deployed Inter-
ling Protocol, L2TP), is used for the secure connection                   net Protocol version. Its major disadvantage is the small num-
between the first terminal and the other terminal.                   20   ber of unique, public IP addresses. IP version 6 (IPv6) has a
   If both terminals are mobile, a special solution is required           much larger address space, which fixes the most important
for the situation when both terminals move simultaneously in              IPv4 problem known today. IPv6 also changes some other
case of a so called "double jump" situation. This solution can            things in the Internet Protocol, for example, how fragmenta-
be implemented e.g. by using a centralised registry of current            tion of packets is done, but these changes are quite small.
locations of hosts, although other solutions exist for the prob-     25   Most protocols have separate definitions on how they are used
lem. However, the "changeable" IPSec tunnel or transport                  within the IPv4 and the IPv6 context.
mode SAs of the invention could be used in that case, too.                   For instance, there are separate versions of IPSec and
   The applicant has solved the above problems of prior art by            Mobile IP for use with IPv4 and IPv6. However, such modi-
defining a signalling mechanism that allows an existing IPSec             fications to protocols are quite small, and do not usually
security association, that is, the symmetric encryption and          30   change the essentials of the protocols significantly. The
authentication algorithms used for packet processing, along               invention can be applied to both IPv4 and IPv6.
with their keys and other parameters, to be moved from one                   In the following, the invention is further described by
network to another. To be more precise, an existing IPSec                 means of figures and some examples. The intention is not to
tunnel endpoint can be moved in the invention from one point              restrict the invention to the details of the following descrip-
of attachment to another. For instance, an IPSec tunnel estab-       35   tion or to the details of protocols such as the IPSec and IKE
lished between addresses A and X tunnel can be changed by                 protocols which might be changed in the future.
using the defined signalling to be between addresses B and X
using only a single round trip for signalling (2 messages), or                                      FIGURES
half a round trip (1 message, if a reply message is not used) for
signalling. The solution requires minimal computational              40     FIG. 1 illustrates an example of a telecommunication net-
overhead compared to Diffie-Helman or strong authentica-                  work to be used in the invention.
tion calculations.                                                          FIG. 2 illustrates a second example ofa telecommunication
   The signalling mechanism is preferably similar to the one              network to be used in the invention.
in Mobile IP, i.e. a registration request (RREQ) is sent to the             FIG. 3 illustrates a third example of a telecommunication
other end of the SA followed by a registration reply (RREP)          45   network to be used in the invention.
back to the sender of the RREQ message, both of which are                   FIG. 4 describes the prior art solution to enable mobility for
extensible for future features and optional attributes. The               IPSec connections.
RREQ/RREP message pair is sent from the new network, and                    FIG. 5 describes the method of the invention to enable
once properly authenticated, the sender IPSec tunnel end-                 mobility for IPSec connections.
point is updated from the old network to the now network.            50
   In case the security association used for protecting user                              DETAILED DESCRIPTION
traffic is also used for signalling purposes, the reception of the
RREQ message by the other end of the SA requires a change                    FIG. 1 illustrates an example of a telecommunication net-
in a normal IPSec implementation to accept a packet that                  work to be used in the invention. Thus, in FIG. 1, computer 1
appears to belong to a certain IPSec tunnel, but comes from a        55   may be a client computer and computer 2 a destination com-
wrong address (i.e. the tunnel is currently between A and X,              puter, to which the secure messages are sent in the invention
and the RREQ comes from address B). This is only necessary                by means of an IPSec tunnel established between computer 1
for the RREQ message. Such an implementation is provided                  and computer 2. Computer 2 might be a security gateway for
by the invention; it is necessary to modify IPSec if IPSec is             a third computer 3. Then, the messages sent from computer 2
used for the RREQ/RREP signalling. In that case, it is               60   to computer 3 are sent in plaintext. The security gateway can
required specifically for processing of the RREQ and RREP                 be a common security gateway for e.g. a company LAN,
messages, if the reply message is to be used.                             whereby there are several computers in the LAN protected by
   The request message may update a set of security associa-              computer 2. The other protected computers are not shown in
tions, for instance, a single security association, a security            FIG. 1, but naturally, the invention covers also such networks.
association bundle, an IPSec connection, a group of IPSec            65      The network of FIG. 2 otherwise corresponds to that of
connections, or any combinations of these. In practice, it is             FIG. 1, but in FIG. 2 also computer 1 is a security gateway,
useful to update either a single IPSec connection or a group of           e.g. for computer 4. Also here, the security gateway 1 can be



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a common security gateway for e.g. a company LAN,                        tunnel when it has moved to address B, a request for registra-
whereby there are several computers in the LAN protected by              tion (RREQ) of the new address is sent. Preferably, a reply
computer 1. The other protected computers are not shown in               message (RREP) is sent (step lla) from the host to confirm
FIG. 2 But naturally, the invention covers also such networks.           the address change. Both signals 10a and lla can be
The messages between security gateway 1 and the computers                encrypted and/or authenticated. The encryption and/or
it protects are sent in plaintext as the IPSec tunnel only exist         authentication is preferably performed by using IPSec, in
between computers 1 and 2.                                               which case it is preferable to use the same IPSec SA for
   The network of FIG. 3 is a network wherein the IPSec                  protecting both data and registration traffic.
messages are sent between an end-to-end connection between                  lla is optional in the invention. The preferable encryption
two computers 1, 2 only whereby IPSec transport mode can            10   method is IPSec, preferably with the modified reception pro-
be used instead of tunnel mode.                                          cessing described previously. However, the exact method of
   FIG. 4 describes the prior art solution to enable mobility for        signalling is not important, the essence is to carry over the
IPSec connections. As a diagram, this is the standard IPSec              IPSec SA to the new connection point.
procedure when establishing a tunnel between addresses A                    The SA that existed between addresses A and X has now
and X, and then B and X.                                            15   been changed to be between addresses B and X and is now
   The protocol begins with the IKE main mode requiring 6                complete. The next time the mobile terminal sends a message,
messages in total, see steps la-6a in FIG. 4. The protocol               host 2 in FIG.1-3 is able to properly handle IPSec packets that
involves strong user authentication, policy negotiation and              come from address B and vice versa. Traffic can now flow
the use of the Diffie-Hellman algorithm. Any other IKE phase             inside the tunnel as normal with IPSec.
1 mode might of course be used as an alternative. Another           20      Any further movement from network to another can
approach to minimise the number of message exchanges                     be accomplished with a similar exchange of signalling mes-
would be to avoid IKE phase 1 and perform only the IKE                   sage( s). The IPSec SA does not need to be re-established until
quick mode (3 messages). However, IKE phase 1 is associ-                 the lifetime of the SA has been exhausted.
ated with IP addresses (along with other identifying informa-               The invention requires half a roundtrip if only a request
tion). A modified implementation might ignore IP addresses          25   message is used without a reply, and one roundtrip of the reply
when processing IKE messages, and thus be able to maintain               message is used.
IKE phase 1 state between connection points.                                The example describes the tunnel mode ofIPSec, but trans-
   The protocol then continues with IKE quick mode requir-               port mode can also be used. IPSec transport mode connec-
ing 3 messages in total (steps 7a-9a in FIG. 4). Quick mode              tions in examples can be replaced with IPSec tunnel mode
includes IPSec policy negotiation and optionally the use of         30   connections and vice versa. IPSec transport mode combined
the Diffie-Helman algorithm. An alternative IKE phase 2                  with an external tunnelling protocol, such as the Layer 2
exchange could of course be used instead of quick mode.                  Tunnelling Protocol (L2TP), is a replacement for IPSec tun-
   At this point the tunnel has been established between                 nel mode with regards to functionality.
addresses A and X. 9 messages have been used along with the                 The implementation may optimise the start of traffic flows
computational expense (each Diffie-Hellman computation              35   with regard to message 10a (and optionally lla); e.g. after
may take hundreds of milliseconds, for instance, depending               sending 10a, the client may directly send IPSec-protected
on the host), also the roundtrip times being considerable                traffic. This essentially makes the handover latency zero,
(9/2=4.5 roundtrips, with a roundtrip time of 500 ms this is             although it requires more complicated processing if the mes-
2.25 seconds for latency alone).                                         sage lOa is lost while being delivered. However, the essential
   The movement of the mobile terminal to address B causes          40   part of the invention is that it is possible to make the invention
full re-negotiation and again IKE main mode requires 6 mes-              provide essentially zero-latency handover for client-to-server
sages in total (steps lb-6b in FIG. 4), strong user authentica-          traffic, and half a roundtrip latency for server-to client traffic.
tion, policy negotiation, and optionally the use of the Diffie-             Different network topologies can, of course, be used in the
Helman algorithm.                                                        invention. For instance in FIG. 1, the connection between
   The use of the protocol continues with IKE quick mode            45   hosts 2 and 3 may use IPSec transport or tunnel mode, instead
requiring 3 messages total (steps 7b-9b).                                of being plaintext, etc.
   The tunnel between addresses B and X is now complete.                    The invention claimed is:
   FIG. 5 describes the method of the invention. To establish               1. A method for ensuring secure forwarding of a message in
the tunnel been address A and host X, IKE main mode is again             a telecommunication network, having at least one mobile
used requiring 6 messages in total (steps la-6a in FIG. 5) as       50   terminal and another terminal and a security gateway ther-
in FIG. 4 including strong user authentication, policy nego-             ebetween, the method comprising:
tiation and the use of the Diffie-Hellman algorithm.                        a) establishing a secure connection between a first address
   Then IKE quick mode is again used requiring 3 messages                      of the mobile terminal and an address of the security
in total (steps 7a-9 in FIG. 5). The quick mode includes IPSec                 gateway, the secure connection defined by at least the
policy negotiation, and optionally the use of the Diffie-Hell-      55         addresses of the mobile terminal and the security gate-
man algorithm.                                                                 way,
   Again, IKE main mode may be replaced by any other IKE                    b) the mobile terminal changing from the first address to a
phase 1 mode, and IKE quick mode by any other IKE phase 2                      second address,
mode.                                                                       c) while at the second address, the mobile terminal sending
   At this point the tunnel has been established between            60         a request message to the address of the security gateway
addresses A and X. 9 messages have been used along with the                    to request the security gateway to change the secure
computational expense.                                                         connection to be defined between the second address
   In the invention, movement to address B requires only a                     and the address of the security gateway,
single round trip, when using registration request messages to              in response to the request message from the mobile termi-
be sent from the mobile terminal, when it moves from address        65         nal, the security gateway changing an address definition
A to address B. In signal 10a of FIG. 5, which is sent from the                of the secure connection from the first address to the
mobile terminal to the other end of the established IPSec                      second address, the mobile terminal sending a secure



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      message in the secure connection from the second                   7. A method for ensuring secure forwarding of a message in
      address of the mobile terminal to the other terminal via         a telecommunication network, having at least one mobile
      the security gateway,                                            terminal and another terminal and a security gateway ther-
   the secure connection being established by forming a Secu-          ebetween, the method comprising:
      rity Association (SA) using IPSec protocols, and the                a) establishing a secure connection between a first address
      request message and/or a reply message being encrypted                 of the mobile terminal and an address of the security
      and/or authenticated by using the same SA already                      gateway,
      established.                                                        the secure connection defined by at least the addresses of
   2. The method of claim 1, wherein in step c) a reply back to              the mobile terminal and the security gateway,
the mobile terminal is sent from the security gateway after the   10      b) the mobile terminal moving from the first address to a
request from the mobile terminal to change the address.                      second address,
   3. The method of claim 1 wherein the method further                    c) while at the second address, the mobile terminal sending
comprises the security gateway sending back a reply message                  a request message to the address of the security gateway
to the mobile terminal at the second address to confirm the                  to request the security gateway to change the secure
address change.                                                   15         connection to be defined between the second address
   4. The method of claim 3, wherein the mobile terminal and                 and the address of the security gateway,
the other terminal form an end-to-end connection whereby                  the security gateway changing an address definition of the
the secure connection is an IPSec transport connection or                    secure connection from the first address to the second
IPSec tunnel connection.                                                     address, and
   5. The method of claim 3, wherein a tunneling protocol is      20      the other terminal sending a secure message in the secure
used for the secure connection between the mobile terminal                   connection to the second address of the mobile terminal
and the security gateway.                                                    via the security gateway.
   6. The method of claim 3, wherein the other terminal is a
mobile terminal.                                                                             * * * * *




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(12)   United States Patent                                                         (10)    Patent No.:     US 7,937,581 B2
       Vaarala et al.                                                               (45)    Date of Patent:     *May 3, 2011

(54)   METHOD AND NE1WORK FOR ENSURING                                           (52)    U.S. Cl. ........ 713/153; 713/151; 713/161; 380/247;
       SECURE FORWARDING OF MESSAGES                                                                        709/228; 370/401; 370/338; 455/436
                                                                                 (58)    Field of Classification Search ................... 713/161
(75)   Inventors: Sami Vaarala, Helsinki (FI); Antti
                                                                                         See application file for complete search history.
                  Nuopponen, Espoo (FI)

(73)   Assignee: MPH Technologies OY, Espoo (FI)                                 (56)                      References Cited

(*)    Notice:      Subject to any disclaimer, the term of this                                    U.S. PATENT DOCUMENTS
                    patent is extended or adjusted under 35                             6,170,057 Bl* l/2001 Inoue et al. ................... 713/153
                    U.S.C. 154(b) by O days.                                            6,976,177 B2 • 12/2005 Ahonen ............................ 726/3
                                                                                 * cited by examiner
                    This patent is subject to a terminal dis-
                    claimer.
                                                                                 Primary Examiner - Nasser Moazzami
(21)   Appl. No.: 12/560,481                                                     Assistant Examiner Fikremariam Yalew
                                                                                 (74) Attorney, Agent, or Firm -Fasth Law Offices; Rolf
(22)   Filed:       Sep.16, 2009                                                 Fasth

(65)                   Prior Publication Data                                    (57)                         ABSTRACT
       US 2010/0049967 Al              Feb. 25, 2010                             The method and network ensure secure forwarding of a mes-
                                                                                 sage in a telecommunication network that has at least one first
                 Related U.S. Application Data                                   terminal and another terminal. The first terminal moves from
(63)   Continuation of application No. 10/490,932, filed as                      a first address to a second address. A secure connection
       application No. PCT/FI02/00770 on Sep. 27, 2002,                          between the first address of the first terminal and the other
       now Pat. No. 7,620,810.                                                   terminal defining at least the addresses of the two terminals is
                                                                                 established. When the first terminal moves from the first
(30)              Foreign Application Priority Data                              address to a second address, the connection is changed to be
                                                                                 between the second address and to the other terminal by
  Sep. 28, 2001       (FI) ...................................... 20011910       means of a request from the first terminal and preferably a
                                                                                 reply back to the first terminal.
(51)   Int. Cl.
       H04L 9/00                   (2006.01)                                                          9 Claims, 5 Drawing Sheets



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                                                               IPsec tunnel




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    METHOD AND NETWORK FOR ENSURING                                      protection, limited traffic flow confidentiality, limited identity
     SECURE FORWARDING OF MESSAGES                                       protection, and access control based on authenticated identi-
                                                                         ties. Even if some applications already have built in security
                  PRIOR APPLICATIONS                                     protocols, the use of IPSec further enhances the security.
                                                                            IPSec can encrypt and/or authenticate traffic at IP level.
   This is a continuation patent application that claims prior-          Traffic going in to a WAN is typically compressed and
ity from U.S. patent application Ser. No. 10/490,932, filed 22           encrypted and traffic coming from a WAN is decrypted and
Nov. 2004, now U.S. Pat. No. 7,620,810 that claims priority              decompressed. IPSec is defined by certain documents, which
from PCT/FI02/00770, filed 27 Sep. 2002, that claims prior-              contain rules for the IPSec architecture. The documents that
ity from Finnish Patent Application No. 20011910, filed 28          10   define IPSec, are, for the time being, the Request For Com-
Sep. 2001.                                                               ments (RFC) series of the Internet Engineering Task Force
                                                                         (IETF), in particular, RFCs 2401-2412.
                    TECHNICAL FIELD                                         Two protocols are used to provide security at the IP layer;
                                                                         an authentication protocol designated by the header of the
   The method and network of the invention is intended to           15   protocol, Authentication Header (AH), and a combined
secure mobile connections in telecommunication networks.                 encryption/authentication protocol designated by the format
Especially, it is meant for IPSec connections.                           of the packet for that protocol, Encapsulating Security Pay-
   The invention provides a method for ensuring secure for-              load (ESP). AH and ESP are however similar protocols, both
warding of a message in a telecommunication network com-                 operating by adding a protocol header. Both AH and ESP are
prising at least one mobile terminal and another terminal,          20   vehicles for access control based on the distribution of cryp-
when the mobile terminal moves from a first address to a                 tographic keys and the management of traffic flows related to
second address and there is a secure connection established              these security protocols.
between the first address of the mobile terminal and the other              Security association (SA) is a key concept in the authenti-
terminal, which secure connection defines at least the                   cation and the confidentiality mechanisms for IP. A security
addresses of the two terminals. The invention also provides a       25   association is a one-way relationship between a sender and a
network for performing such a method.                                    receiver that offers security services to the traffic carried on it.
                                                                         If a secure two-way relationship is needed, then two security
               TECHNICAL BACKGROUND                                      associations are required. IfESP and AH are combined, or if
                                                                         ESP and/or AH are applied more than once, the term SA
   An internetwork is a collection of individual networks           30   bundle is used, meaning that two or more SAs are used. Thus,
connected with intermediate networking devices and func-                 SA bundle refers to one or more SAs applied in sequence, e.g.
tions as a single large network. Different networks can be               by first performing an ESP protection, and then an AH pro-
interconnected by routers and other networking devices to                tection. The SA bundle is the combination of all SAs used to
create an internetwork.                                                  secure a packet.
   A local area network (LAN) is a data network that covers a       35      The term IPsec connection is used in what follows in place
relatively small geographic area. It typically connects work-            of an IPSec bundle of one or more security associations, or a
stations, personal computers, printers and other devices. A              pair ofIPSec bundles-one bundle for each direction----of one
wide area network (WAN) is a data communication network                  or more security associations. This term thus covers both
that covers a relatively broad geographic area. Wide area                unidirectional and bi-directional traffic protection. There is
networks (WANs) interconnect LANs across normal tele-               40   no implication of symmetry of the directions, i.e., the algo-
phone lines and, for instance, optical networks; thereby inter-          rithms and IPSec transforms used for each direction may be
connecting geographically disposed users.                                different.
   There is a need to protect data and resources from disclo-               A security association is uniquely identified by three
sure, to guarantee the authenticity of data, and to protect              parameters. The first one, the Security Parameters Index
systems from network based attacks. More in detail, there is        45   (SPI), is a bit string assigned to this SA. The SPI is carried in
a need for confidentiality (protecting the contents of data              AH and ESP headers to enable the receiving system to select
from being read), integrity (protecting the data from being              the SA under which a received packet will be processed. IP
modified, which is a property that is independent of confiden-           destination address is the second parameter, which is the
tiality), authentication (obtaining assurance about the actual           address of the destination end point of the SA, which may be
sender of data), replay protection (guaranteeing that data is       50   an end user system or a network system such as a firewall or
fresh, and not a copy of previously sent data), identity pro-            a router. The third parameter, the security protocol identifier
tection (keeping the identities of parties exchanging data               indicates whether the association is an AH or ESP security
secret from outsiders), high availability, i.e. denial-of-service        association.
protection (ensuring that the system functions even when                    In each IPSec implementation, there is a nominal security
under attack) and access control. IPSec is a technology pro-        55   association data base (SADB) that defines the parameters
viding most of these, but not all of them. (In particular, iden-         associated with each SA. A security association is normally
tity protection is not completely handled by IPSec, and nei-             defined by the following parameters. The Sequence Number
ther is denial-of-service protection.)                                   Counter is a 32-bit value used to generate the sequence num-
   The IP security protocols (IPSec) provides the capability to          ber field in AH or ESP headers. The Sequence Counter Over-
secure communications between arbitrary hosts, e.g. across a        60   flow is a flag indicating whether overflow of the sequence
LAN, across private and public wide area networks (WANs)                 number counter should generate an auditable event and pre-
and across the internet. IPSec can be used in different ways,            vent further transmission of packets on this SA. An Anti-
such as for building secure virtual private networks, to gain a          Replay Window is used to determine whether an inbound AH
secure access to a company network, or to secure communi-                or ESP packet is a replay. AH information involves informa-
cation with other organisations, ensuring authentication and        65   tion about the authentication algorithm, keys and related
confidentiality and providing a key exchange mechanism.                  parameters being used with AH. ESP information involves
IPSec ensures confidentiality integrity, authentication, replay          information of encryption and authentication algorithms,



                                                                    0007

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keys, initialisation vectors, and related parameters being used             The key management portion of IPSec involves the deter-
with IPSec. The sixth parameter, Lifetime of this Security               mination and distribution of secret keys. The default auto-
Association, is a time-interval and/or byte-count after which            mated key management protocol for IPSec is referred to as
a SA must be replaced with a new SA (and new SPI) or                     ISAKMP/Oakley and consists of the Oakley key determina-
terminated plus an indication of which of these actions should      5    tion protocol and Internet Security Association and Key Man-
occur. IPSec Protocol Mode is either tunnel or transport                 agement Protocol (ISAKMP). Internet key exchange (IKE) is
mode. Path MTU, which is an optional feature, defines the                a newername for the ISAKMP/Oakley protocol. IKE is based
maximum size of a packet that can be transmitted without                 on the Diffie-Hellman algorithm and supports RSA signature
fragmentation.                                                           authentication among other modes. IKE is an extensible pro-
                                                                    10
   Both AH and ESP support two modes used, transport and                 tocol, and allows future and vendor-specific features to be
tunnel mode.                                                             added without compromising functionality.
   Transport mode provides protection primarily for upper                   IPSec has been designed to provide confidentiality, integ-
layer protocols and extends to the payload of an IP packet.              rity, and replay protection for IP packets. However, IPSec is
Typically, transport mode is used for end-to-end communi-           15
                                                                         intended to work with static network topology, where hosts
cation between two hosts. Transport mode may be used in                  are fixed to certain subnetworks. For instance, when an IPSec
conjunction with a tunnelling protocol (other that IPSec tun-            tunnel has been formed by using Internet Key Exchange
nelling).                                                                (IKE) protocol, the tunnel endpoints are fixed and remain
   Turmel mode provides protection to the entire IP packet               constant. If IPSec is used with a mobile host, the IKE key
and is generally used for sending messages through more than        20   exchange will have to be redone from every new visited
two components, although turmel mode may also be used for                network. This is problematic, because IKE key exchanges
end-to-end communication between two hosts. Turmel mode                  involve computationally expensive Diffie-Hellman key
is often used when one or both ends of a SA is a security                exchange algorithm calculations and possibly RSA calcula-
gateway, such as a firewall or a router that implements IPSec.           tions. Furthermore, the key exchange requires at least three
With turmel mode, a number of hosts on networks behind              25   round trips (six messages) if using the IKE aggressive mode
firewalls may engage in secure communications without                    followed by IKE quick mode, and nine messages if using IKE
implementing IPSec. The unprotected packets generated by                 main mode followed by IKE quick mode. This may be a big
such hosts are turmelled through external networks by tunnel             problem in high latency networks, such as General Packet
mode SAs set up by the IPSec software in the firewall or                 Radio Service (GPRS) regardless of the computational
secure router at boundary of the local network.                     30   expenses.
   To achieve this, after the AH or ESP fields are added to the             In this text, the term mobility and mobile terminal does not
IP packet, the entire packet plus security fields are treated as         only mean physical mobility, instead the term mobility is in
the payload of a new outer IP packet with a new outer IP                 the first hand meant moving from one network to another,
header. The entire original, or inner, packet travels through a          which can be performed by a physically fixed terminal as
tunnel from one point of an IP network to another: no routers       35   well.
along the way are able to examine the inner IP packet.                      The problem with standard IPSec turmel end points are that
Because the original packet is encapsulated, the new larger              they are fixed. A SA is bound to a certain IP address, and if it
packet may have totally different source and destination                 is changed, the existing IPSec SA becomes useless because it
addresses, adding to the security. In other words, the first step        has been established by using different endpoint addresses.
in protecting the packet using tunnel mode is to add a new IP       40   The problem has been discussed in the IETF standardisation
header to the packet; thus the "IPlpayload" packet becomes               forum, www.IETF.org, wherein an idea to support mobility
"IPIIPlpayload". The next step is to secure the packet using             for IPSec ESP tunnels by means of signalling to update the
ESP and/or AH. In case of ESP, the resulting packet is                   address of one end after a movement was mentioned by Fran-
"IPIESPIIPlpayload". The whole inner packet is covered by                cis Dupont. No solutions have however been presented until
the ESP and/or AH protection. AH also protects parts of the         45   this date.
outer header, in addition to the whole inner packet.                        The standard Mobile IP protocol provides a mobile termi-
   The IPSec tunnel mode operates e.g. in such a way that if a           nal with a mobile connection, and defines mechanisms for
host on a network generates an IP packet with a destination              performing efficient handovers from one network to another.
address of another host on another network, the packet is                However, Mobile IP has several disadvantages. The security
routed from the originating host to a security gateway (SGW),       50   of Mobile IP is very limited. The mobility signalling mes-
firewall or other secure router at the boundary of the first             sages are authenticated, but not encrypted, and user data
network. The SGW or the like filters all outgoing packets to             traffic is completely unprotected. Also, there is no key
determine the need for IPSec processing. If this packet from             exchange mechanism for establishing the cryptographic keys
the first host to another host requires IPSec, the firewall per-         required for authenticating the mobility signalling. Such keys
forms IPSec processing and encapsulates the packet in an            55   need to be typically distributed manually. Finally, the current
outer IP header. The source IP address of this outer IP header           Mobile IP protocol does not define a method for working
is this firewall and the destination address may be a firewall           through Network Address Translation (NAT) devices.
that forms the boundary to the other local network. This                    A way to solve this problem is to use e.g. Mobile IP to
packet is now routed to the other host's firewall with inter-            handle the mobility of the host, and use IPSec on top of the
mediate routers examining only the outer IP header. At the          60   static IP address provided by the Mobile IP. Thus, the IPSec
other host firewall, the outer IP header is stripped off and the         SAs are bound to static addresses, and the IPSec SAs can
inner packet is delivered to the other host.                             survive mobility of the host. However, this approach suffers
   ESP in tunnel mode encrypts and optionally authenticates              from packet size overhead of both Mobile IP and IPSec tun-
the entire inner IP packet, including the inner IP header. AH in         nels, which can affect performance considerably when using
tunnel mode authenticates the entire inner IP packet, includ-       65   links with small throughput.
ing the inner IP header, and selected portions of the outer IP              The documents that define IP in general are the RFC stan-
header.                                                                  dards RFC 768, RFC 791, RFC 793, RFC 826 and RFC 2460.



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RFC 2002, RFC 2003, RFC 2131, RFC 3115, MOBILE Ipv4                   [RFC2405]
and IPv6, and DHCPV6 define Mobile IP, IP-IP and DHCP.                C. Madson, N. Doraswamy, The ESP DES-CBC Cipher
                                                                         Algorithm With Explicit IV, RFC 2405, November 1998.
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                                                                 5    S. Kent, and R. Atkinson, IP Encapsulating Security Payload
   The following is a list of useful references of standards             (ESP), RFC 2406, November 1998.
mentioned.                                                            ftp ://ftp.isi.edu/in-notes/rfc2406 .txt
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[RFC768]                                                              D. Piper, The internet IP Security Domain of Interpretation
J. Postel, User Datagram Protocol, RFC 768, August 1980.         10      forISAKMP, RFC 2407, November 1998.
ftp ://ftp.isi.edu/in-notes/rfc7 68 .bet                              ftp ://ftp.isi.edu/in-notes/rfc2407 .txt
[RFC791]                                                              [RFC2408]
J. Postel, Internet Protocol, RFC 791, September 1981.                D. Maughan, M. Schneider, M. Schertler, andJ. Turner, Inter-
ftp://ftp.isi.edu/in-notes/rfc79 l .bet                                  net Security Association and Key Management Protocol
[RFC792]                                                         15      (ISAKMP), RFC 2408, November 1998.
J. Postel, Internet Control Message Protocol, RFC 792, Sep-           ftp ://ftp.isi.edu/in-notes/rfc2408 .txt
   tember 1981.                                                       [RFC2409]
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[RFC793]                                                                 RFC 2409, November 1998.
J. Postel, Transmission Control Protocol, RFC 793, Septem-       20   ftp ://ftp.isi.edu/in-notes/rfc2409 .txt
   ber 1981.                                                          [RFC2410]
ftp ://ftp.isi.edu/in-notes/rfc7 93 .bet                              R. Glenn, S. Kent, The NULL Encryption Algorithm and Its
[RFC826]                                                                 Use With IPsec, RFC 2410, November 1998.
D. C. Plummer, An Ethernet Address Resolution Protocol,               [RFC2411]
   RFC 826, November 1982.                                       25   R. Thayer, N. Doraswamy, R. Glenn, IP Security Document
ftp ://ftp.isi.edu/in-notes/rfc826 .bet                                  Roadmap, RFC 2411, November 1998.
[RFC2460]                                                             [RFC2412]
S. Deering, R. Hinden, Internet Protocol, Version 6 (IPv6)            H. Orman, The OAKLEY Key Determination Protocol, RFC
   Specification, RFC 2460, December 1998.                               2412, November 1998.
Mobile IP; IP-IP; DHCP:                                          30   NAT:
[RFC2002]                                                             [RFC2694]
C. Perkins, IP Mobility Support, RFC 2002, October 1996.              P. Srisuresh, G. Tsirtsis, P. Akkiraju, and A. Heffernan, DNS
ftp ://ftp.isi.edu/in-notes/rfc2002. bet                                 extensions to Network Address Translators (DNS_ALG),
[RFC2003]                                                                RFC 2694, September 1999.
C. Perkins, IP Encapsulation Within IP, RFC 2003, October        35   [RFC3022]
   1996.                                                              P. Shisuresh, K. Egevang, Traditional IP Network Address
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[RFC2131]                                                             ftp ://ftp.isi.edu/in-notes/rfc3022 .txt
R. Drams, Dynamic Host Configuration Protocol, RFC 2131,
   March 1997.                                                   40               THE OBJECT OF THE INVENTION
ftp://ftp.isi.edu/in-notes/rfc213 l .bet
[RFC3115]                                                               The object of the invention is to ensure secure forwarding
G. Dommety, and K. Leung, Mobile IPVendor/Organization-               of messages from and to mobile terminals by avoiding the
   specific Extensions, RFC 3115, April 2001.                         problems of prior art.
ftp://ftp.isi.edu/in-notes/rfc3115.bet                           45
[MOBILEIPv6]                                                                       SUMMARY OF THE INVENTION
D. B. Johnson, C. Perkins, Mobility Support in IPv6, Work in
   progress (Internet-Draft is available), July 2000.                    The method and network of the invention is to ensure
[DHCPV6]                                                              secure forwarding of a message in a telecommunication net-
J. Bound, M. Camey, C. Perking, R. Drams, Dynamic Host           50   work, comprising at least one first terminal and another ter-
   Configuration Protocol for IPv6 (DHCPv6), Work in                  minal. In the method, the first terminal moves from a first
   progress (Internet-Draft is available), June 2001.                 address to a second address. A secure connection between the
IPsec Standards:                                                      first address of the first terminal and the other terminal defin-
[RFC2401]                                                             ing at least the addresses of the two terminals is established.
S. Kent, and R. Atkinson, Security Architecture for the Inter-   55   The first terminal moves from the first address to a second
   net Protocol, RFC 2401, November 1998.                             address. The connection is changed to be between the second
ftp ://ftp.isi.edu/in-notes/rfc2401. bet                              address and the other terminal by means of a request from the
[RFC2402]                                                             first terminal and preferably, a reply back to the first terminal.
S. Kent, and R. Atkinson, IP Authentication Header, RFC                  In the invention, the first terminal is movable from one
   2402, November 1998.                                          60   network to another. Such a terminal can physically be a
ftp ://ftp.isi.edu/in-notes/rfc2402. bet                              mobile terminal or a fixed terminal.
[RFC2403]                                                                The secure connection is an IPSec connection established
C. Madson, R. Glenn, The Use of HMAC-MD5-96 within                    by forming one or more Security Associations (SAs) using
   ESP and AH, RFC 2403, November 1998.                               the IPSec protocols. The request and/or the reply message can
[RFC2404]                                                        65   be protected e.g. by IPSec encryption and/or authentication,
C. Madson, R. Glenn, The Use ofHMAC-SHA-1-96 within                   possibly using the same IPSec SA that is used for traffic
   ESP and AH, RFC 2404, November 1998.                               protection purposes.



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   In general, registration request and registration reply are            case of updating a single IPSec connection is discussed, with-
Mobile IP terms while the invention is not bound to Mobile IP.            out limiting the invention to this behaviour.
In the invention, the terms request and reply are used in the                Another method of performing the signalling is to use a
generic sense, and may or may not be related to Mobile IP.                separate protocol. The protocol should preferably provide
   The method of the invention can be used in different kinds             encryption and/or authentication of the signalling messages.
of networks. If the first terminal and the other terminal form            The IKE protocol already has messages defined for e.g. delet-
an end-to-end connection, the secure connection may be an                 ing IPSec SAs. One method of providing the necessary sig-
IPSec tunnel mode or transport mode connection. Further-                  nalling would be by adding a new IKE notification message
more, one of or both of the first terminal and the other terminal         type that requests a change in an existing IPSec SA. Such a
                                                                     10
can be a security gateway protecting one or more computers,               message should provide its own encryption and/or authenti-
whereby IPSec tunnel mode, or IPSec transport mode                        cation to avoid requiring an IKE connection set up from the
together with a tunnelling protocol (such as Layer 2 Tunnel-              new address, which would require extra messaging.
ling Protocol, L2TP), is used for the secure connection                      IP version 4 (IPv4) is the currently widely deployed Inter-
between the first terminal and the other terminal.                   15   net Protocol version. Its major disadvantage is the small num-
   If both terminals are mobile, a special solution is required           ber of unique, public IP addresses. IP version 6 (IPv6) has a
for the situation when both terminals move simultaneously in              much larger address space, which fixes the most important
case of a so called "double jump" situation. This solution can            IPv4 problem known today. IPv6 also changes some other
be implemented e.g. by using a centralised registry of current            things in the Internet Protocol, for example, how fragmenta-
locations of hosts, although other solutions exist for the prob-     20   tion of packets is done, but these changes are quite small.
lem. However, the "changeable" IPSec tunnel or transport                  Most protocols have separate definitions on how they are used
mode SAs of the invention could be used in that case, too.                within the IPv4 and the IPv6 context. For instance, there are
   The applicant has solved the above problems of prior art by            separate versions of IPSec and Mobile IP for use with IPv4
defining a signalling mechanism that allows an existing IPSec             and IPv6. However, such modifications to protocols are quite
security association, that is, the symmetric encryption and          25   small, and do not usually change the essentials of the proto-
authentication algorithms used for packet processing, along               cols significantly. The invention can be applied to both IPv4
with their keys and other parameters, to be moved from one                and IPv6.
network to another. To be more precise, an existing IPSec                    In the following, the invention is further described by
tunnel endpoint can be moved in the invention from one point              means of figures and some examples. The intention is not to
of attachment to another. For instance, an IPSec tunnel estab-       30
                                                                          restrict the invention to the details of the following descrip-
lished between addresses A and X tunnel can be changed by
                                                                          tion or to the details of protocols such as the IPSec and IKE
using the defined signalling to be between addresses Band X,
                                                                          protocols which might be changed in the future.
using only a single round trip for signalling (2 messages), or
half a round trip (1 message, if a reply message is not used) for
                                                                                                    FIGURES
signalling. The solution requires minimal computational              35
overhead compared to Diffie-Hellman or strong authentica-
                                                                            FIG. 1 illustrates an example of a telecommunication net-
tion calculations.
   The signalling mechanism is preferably similar to the one              work to be used in the invention.
in Mobile IP, i.e. a registration request (RREQ) is sent to the             FIG. 2 illustrates a second example ofa telecommunication
other end of the SA followed by a registration reply (RREP)          40   network to be used in the invention.
back to the sender of the RREQ message, both of which are                   FIG. 3 illustrates a third example of a telecommunication
extensible for future features and optional attributes. The               network to be used in the invention.
RREQ/RREP message pair is sent from the new network, and                    FIG. 4 describes the prior art solution to enable mobility for
once properly authenticated, the sender IPSec tunnel end-                 IPSec connections.
point is updated from the old network to the new network.            45     FIG. 5 describes the method of the invention to enable
   In case the security association used for protecting user              mobility for IPSec connections.
traffic is also used for signalling purposes, the reception of the
RREQ message by the other end of the SA requires a change                                 DETAILED DESCRIPTION
in a normal IPSec implementation to accept a packet that
appears to belong to a certain IPSec tunnel, but comes from a        50      FIG. 1 illustrates an example of a telecommunication net-
wrong address (i.e. the tunnel is currently between A and X,              work to be used in the invention. Thus, in FIG. 1, computer 1
and the RREQ comes from address B). This is only necessary                may be a client computer and computer 2 a destination com-
for the RREQ message. Such an implementation is provided                  puter, to which the secure messages are sent in the invention
by the invention; it is necessary to modify IPSec if IPSec is             by means of an IPSec tunnel established between computer 1
used for the RREQ/RREP signalling. In that case, it is               55   and computer 2. Computer 2 might be a security gateway for
required specifically for processing of the RREQ and RREP                 a third computer 3. Then, the messages sent from computer 2
messages, if the reply message is to be used.                             to computer 3 are sent in plaintext. The security gateway can
   The request message may update a set of security associa-              be a common security gateway for e.g. a company LAN,
tions, for instance, a single security association, a security            whereby there are several computers in the LAN protected by
association bundle, an IPSec connection, a group of IPSec            60   computer 2. The other protected computers are not shown in
connections, or any combinations of these. In practice, it is             FIG. 1, but naturally, the invention covers also such networks.
useful to update either a single IPSec connection or a group of              sent in plaintext as the IPSec tunnel only exist between
IPSec connections. The latter may be important if separate                computers 1 and 2.
IPSec connections are used for different kinds of traffic. A                 The network of FIG. 3 is a network, wherein the IPSec
single request message can then update all (or a certain set) of     65   messages are sent between an end-to-end connection between
such connections to a new address, instead of requiring sepa-             two computers 1, 2 only whereby IPSec transport mode can
rate requests for each IPSec connection. In the following, the            be used instead of tunnel mode.



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   FIG. 4 describes the prior art solution to enable mobility for        the address change. Both signals 10a and lla can be
IPSec connections. As a diagram, this is the standard IPSec              encrypted and/or authenticated. The encryption and/or
procedure when establishing a tunnel between addresses A                 authentication is preferably performed by using IPSec, in
and X, and then B and X.                                                 which case it is preferable to use the same IPSec SA for
   The protocol begins with the IKE main mode requiring 6                protecting both data and registration traffic.
messages in total, see steps la-6a in FIG. 4. The protocol                   lla is optional in the invention. The preferable encryption
involves strong user authentication, policy negotiation and              method is IPSec, preferably with the modified reception pro-
the use of the Diffie-Hellman algorithm. Any other IKE phase             cessing described previously. However, the exact method of
1 mode might of course be used as an alternative. Another                signalling is not important, the essence is to carry over the
approach to minimise the number of message exchanges                10   IPSec SA to the new connection point.
would be to avoid IKE phase 1 and perform only the IKE                       The SA that existed between addresses A and X has now
quick mode (3 messages). However, IKE phase 1 is associ-                 been changed to be between addresses B and X and is now
ated with IP addresses (along with other identifying informa-            complete. The next time the mobile terminal sends a message,
tion). A modified implementation might ignore IP addresses               host 2 in FIG.1-3 is able to properly handle IPSec packets that
when processing IKE messages, and thus be able to maintain          15   come from address B and vice versa. Traffic can now flow
IKE phase 1 state between connection points.                             inside the tunnel as normal with IPSec.
   The protocol then continues with IKE quick mode requir-                   Any further movement from network to another can be
ing 3 messages in total (steps 7a-9a in FIG. 4). Quick mode              accomplished with a similar exchange of signalling message
includes IPSec policy negotiation and optionally the use of              (s ). The IPSec SA does not need to be re-established until the
the Diffie-Hellman algorithm. An alternative IKE phase 2            20   lifetime of the SA has been exhausted.
exchange could of course be used instead of quick mode.                      The invention requires half a roundtrip if only a request
   At this point the tunnel has been established between                 message is used without a reply, and one roundtrip of the reply
addresses A and X. 9 messages have been used along with the              message is used.
computational expense (each Diffie-Hellman computation                       The example describes the tunnel mode ofIPSec, but trans-
may take hundreds of milliseconds, for instance, depending          25   port mode can also be used. IPSec transport mode connec-
on the host), also the roundtrip times being considerable                tions in examples can be replaced with IPSec tunnel mode
(9/2=4.5 roundtrips, with a roundtrip time of 500 ms this is             connections and vice versa. IPSec transport mode combined
2.25 seconds for latency alone).                                         with an external tunnelling protocol, such as the Layer 2
   The movement of the mobile terminal to address B causes               Tunnelling Protocol (L2TP), is a replacement for IPSec tun-
full re-negotiation and again IKE main mode requires 6 mes-         30   nel mode with regards to functionality.
sages in total (steps lb-6b in FIG. 4), strong user authentica-              The implementation may optimise the start of traffic flows
tion, policy negotiation, and optionally the use of the Diffie-          with regard to message 10a (and optionally lla); e.g. after
Hellman algorithm.                                                       sending 10a, the client may directly send IPSec-protected
   The use of the protocol continues with IKE quick mode                 traffic. This essentially makes the handover latency zero,
requiring 3 messages total (steps 7b-9b). The network of FIG.       35   although it requires more complicated processing if the mes-
2 otherwise corresponds to that of FIG. 1, but in FIG. 2 also            sage lOa is lost while being delivered. However, the essential
computer 1 is a security gateway, e.g. for computer 4. Also              part of the invention is that it is possible to make the invention
here, the security gateway 1 can be a common security gate-              provide essentially zero-latency handover for client-to-server
way for e.g. a company LAN, whereby there are several                    traffic, and half a roundtrip latency for server-to client traffic.
computers in the LAN protected by computer 1. The other             40       Different network topologies can, of course, be used in the
protected computers are not shown in FIG. 2. But naturally,              invention. For instance in FIG. 1, the connection between
the invention covers also such networks. The messages                    hosts 2 and 3 may use IPSec transport or tunnel mode, instead
between security gateway 1 and the computers it protects are             of being plaintext, etc.
   The tunnel between addresses B and X is now complete.                     While the present invention has been described in accor-
   FIG. 5 describes the method of the invention. To establish       45   dance with preferred compositions and embodiments, it is to
the tunnel between address A and host X, IKE main mode is                be understood that certain substitutions and alterations may
again used requiring 6 messages in total (steps la-6a in FIG.            be made thereto without departing from the spirit and scope of
5) as in FIG. 4 including strong user authentication, policy             the following claims.
negotiation and the use of the Diffie-Hellman algorithm.                     We claim:
   Then IKE quick mode is again used requiring 3 messages           50       1. A method for ensuring secure forwarding of a message in
in total (steps 7a-9a in FIG. 5). The quick mode includes                a telecommunication network, having at least one mobile
IPSec policy negotiation, and optionally the use of the Diffie-          terminal and another terminal and a security gateway ther-
Hellman algorithm.                                                       ebetween, the method comprising:
   Again, IKE main mode may be replaced by any other IKE                     a) establishing a secure connection having a first address of
phase 1 mode, and IKE quick mode by any other IKE phase 2           55          the mobile terminal as a first end-point and a gateway
mode.                                                                           address of the security gateway as a second end-point,
   At this point the tunnel has been established between                     b) the mobile terminal changing from the first address to a
addresses A and X. 9 messages have been used along with the                     second address,
computational expense.                                                       c) while at the second address, the mobile terminal sending
   In the invention, movement to address B requires only a          60          a request message to the gateway address of the security
single round trip, when using registration request messages to                  gateway to request the security gateway to change the
be sent from the mobile terminal, when it moves from address                    secure connection to be defined between the second
A to address B. In signal 10a of FIG. 5, which is sent from the                 address and the gateway address of the security gateway,
mobile terminal to the other end of the established IPSec                    in response to the request message from the mobile termi-
tunnel when it has moved to address B, a request for registra-      65          nal, the security gateway changing an address definition
tion (RREQ) of the new address is sent. Preferably, a reply                     of the secure connection from the first address to the
message (RREP) is sent (step lla) from the host to confirm                      second address, and



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                             11                                                                      12
   the mo bile terminal sending a secure message in the secure           9. A method for ensuring secure forwarding of a message in
      connection from the second address of the mobile ter-            a telecommunication network, having at least one mobile
      minal to the other terminal via the security gateway.            terminal and another terminal and a security gateway ther-
   2. The method of claim 1, wherein the secure connection is          ebetween, the method comprising:
established in step a) by forming a Security Association (SA).            a) establishing a secure connection having a first address of
   3. The method of claim 1, wherein in step c) a reply back to              the mobile terminal as a first end-point and a gateway
the mobile terminal is sent from the security gateway after the              address of the security gateway as a second end-point,
request from the mobile terminal to change the address.                   b) the mobile terminal moving from the first address to a
   4. The method of claim 1, wherein the request message
                                                                             second address,
                                                                  10      c) while at the second address, the mobile terminal sending
and/or a reply message is encrypted and/or authenticated.
                                                                             a request message to the gateway address of the security
   5. The method of claim 1 wherein the method further
                                                                             gateway to request the security gateway to change the
comprises the security gateway sending back a reply message
                                                                             secure connection to be defined between the second
to the mobile terminal at the second address to confirm the                  address and the gateway address of the security gateway,
address change.                                                   15      the security gateway changing an address definition of the
   6. The method of claim 5, wherein the mobile terminal and                 secure connection from the first address to the second
the other terminal form an end-to-end connection whereby                     address,
the secure connection is an IPSec transport connection or                 the other terminal sending a message to the second address
IPSec tunnel connection.                                                     of the mobile terminal via the security gateway, and
   7. The method of claim 5, wherein a tunneling protocol is      20      the security gateway receiving the message from the other
used for the secure connection between the mobile terminal                   terminal and forwarding the message as an encrypted
and the security gateway.                                                    secure message to the second address.
   8. The method of claim 5, wherein the other terminal is a
mobile terminal.                                                                              * * * * *




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                        CERTIFICATE OF COMPLIANCE

       This brief complies with the type-volume limitations of Federal Circuit

Rules 28.1(b) and 32(b) because it contains 10,024 words, excluding the parts of

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Dated: May 21, 2021                                  /s/ Joseph R. Palmore

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